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                                                                1    HUNTON ANDREWS KURTH LLP
                                                                     Ann Marie Mortimer (State Bar No. 169077)
                                                                2
                                                                     amortimer@HuntonAK.com
                                                                3    Jason J. Kim (State Bar No. 221476)
                                                                4    kimj@HuntonAK.com
                                                                     Jeff R. R. Nelson (State Bar No. 301546)
                                                                5    jnelson@HuntonAK.com
                                                                6    550 South Hope Street, Suite 2000
                                                                     Los Angeles, California 90071-2627
                                                                7    Telephone: (213) 532-2000
                                                                8    Facsimile: (213) 532-2020

                                                                9    Attorneys for Plaintiffs
                                                                10   FACEBOOK, INC. and INSTAGRAM, LLC

                                                                11
                           Los Angeles, California 90071-2627




                                                                                         UNITED STATES DISTRICT COURT
                           550 South Hope Street, Suite 2000
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                                                                12
                                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                       OAKLAND/SAN FRANCISCO DIVISION
                                                                14
                                                                     FACEBOOK, INC., a Delaware             CASE NO.: 3:20-cv-07348
                                                                15   corporation and INSTAGRAM, LLC, a
                                                                16   Delaware limited liability company,    COMPLAINT; DEMAND FOR JURY
                                                                                                            TRIAL
                                                                17                    Plaintiffs,
                                                                18         v.
                                                                19
                                                                     LAILA ABOU TRABI, and
                                                                20   ROBIN ABOU TRABI,
                                                                21
                                                                22                    Defendants.
                                                                23
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                                                                1          Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”) allege
                                                                2    the following:
                                                                3                                      INTRODUCTION
                                                                4          1.      Since at least January 2017, Defendants Laila Abou Trabi and Robin Abou
                                                                5    Trabi have operated an unlawful business using the website instant-fans.com.
                                                                6    Defendants’ business artificially inflated the “likes,” “followers,” “comments,”
                                                                7    “views,” and other interactions of Instagram accounts (a practice known as “fake
                                                                8    engagement”).     Defendants’ business also offered fake engagement services for
                                                                9    Facebook, Twitter, TikTok, YouTube, LinkedIn, Pinterest, and other web services.
                                                                10   Defendants provide fake engagement services to both individual customers and
                                                                11   commercial resellers of fake engagement. Defendants used a network of computers or
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                                                                12   “bots,” Instagram accounts they controlled, and automation software to deliver fake
                                                                13   engagement to their customers’ Instagram accounts, in violation of Instagram’s Terms
                                                                14   of Use, Community Guidelines, and Platform Policy, and state and federal laws.
                                                                15         2.      Defendants interfered with and continue to interfere with the Instagram
                                                                16   service, created an inauthentic experience for Instagram users, and attempted to
                                                                17   fraudulently influence Instagram users for their own enrichment.       Facebook and
                                                                18   Instagram bring this action to stop Defendants’ ongoing and future misuse of their
                                                                19   platforms by Defendants. Facebook and Instagram also bring this action to obtain
                                                                20   compensatory and punitive damages under the California Comprehensive Computer
                                                                21   Data Access and Fraud Act, Section 502, the Computer Fraud and Abuse Act, 18 U.S.C.
                                                                22   § 1030, and for breach of contract, and disgorgement of illicit profits for unjust
                                                                23   enrichment.
                                                                24                                         PARTIES
                                                                25         3.      Plaintiff Facebook is a Delaware corporation with its principal place of
                                                                26   business in Menlo Park, California.
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                                                                1          4.     Plaintiff Instagram is a Delaware limited liability company with its
                                                                2    principal place of business in Menlo Park, California. Instagram is a subsidiary of
                                                                3    Facebook.
                                                                4          5.     Defendant Laila Abou Trabi (“Defendant Laila”) is a Lebanese national
                                                                5    and resident of Dubai, United Arab Emirates.            Defendant Robin Abou Trabi
                                                                6    (“Defendant Robin”) is a Lebanese national and resident of Dubai, United Arab
                                                                7    Emirates. Defendants Laila and Robin are married to each other. Since at least January
                                                                8    2017, Defendants Laila and Robin used the website, instant-fans.com, to promote and
                                                                9    provide fake engagement services. Exs. 1-2.
                                                                10                              JURISDICTION AND VENUE
                                                                11         6.     This Court has supplemental jurisdiction over the state law causes of action
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                                                                12   alleged in this Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out
                                                                13   of the same nucleus of operative facts as Facebook’s and Instagram’s federal claim.
                                                                14         7.     In addition, this Court has jurisdiction over all the causes of action alleged
                                                                15   in this Complaint pursuant to 28 U.S.C. § 1332 because complete diversity between
                                                                16   Plaintiffs and each of the named Defendants exists, and because the amount in
                                                                17   controversy exceeds $75,000.
                                                                18         8.     The Court has personal jurisdiction over Defendants because each
                                                                19   Defendant personally used Instagram, their business used thousands of Instagram
                                                                20   accounts, and, accordingly, they agreed to Instagram’s Terms of Use. Instagram’s
                                                                21   Terms of Use require Defendants to submit to the personal jurisdiction of this Court for
                                                                22   litigating any claim, cause of action, or dispute with Instagram.
                                                                23         9.     This Court also has personal jurisdiction over Defendants because they
                                                                24   knowingly and intentionally directed their actions at the United States and California,
                                                                25   and at Facebook and Instagram, which have their principal places of business in
                                                                26   California. Defendants’ business model depended on accessing and using Instagram in
                                                                27   order to artificially manipulate Instagram accounts in exchange for money. Defendants
                                                                28   transacted business and engaged in commerce in the U.S. and California by, among

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                                                                1    other things, knowingly using U.S. and California-based computer networking
                                                                2    infrastructure and hundreds of U.S. and California-based user accounts to provide fake
                                                                3    engagement services.
                                                                4          10.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), as the
                                                                5    threatened and actual harm to Facebook and Instagram occurred in this District. Venue
                                                                6    is also proper with respect to each Defendant pursuant to 28 U.S.C. §1391(c)(3) because
                                                                7    neither Defendant resides in the United States.
                                                                8          11.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                                9    Francisco or Oakland Division because Facebook and Instagram are located in San
                                                                10   Mateo County.
                                                                11                               FACTUAL ALLEGATIONS
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                                                                12         A.     Background on Instagram and Facebook
                                                                13         12.    Facebook is a social networking website and mobile application that
                                                                14   enables its users to create their own personal profiles and connect with each other on
                                                                15   their personal computers and mobile devices. As of August 2020, Facebook daily active
                                                                16   users averaged 1.79 billion and monthly active users averaged 2.7 billion. Facebook
                                                                17   has several products, including Instagram. Facebook owns and operates the Instagram
                                                                18   service, platform, and computers.
                                                                19         13.    Instagram is a photo and video sharing service, mobile application, and
                                                                20   social network. Instagram users can post photos and videos to their profile and share
                                                                21   them with their followers or a select group of friends. Instagram users can also view,
                                                                22   comment on, and “like” posts shared by others on Instagram.
                                                                23         14.    Instagram users can gain followers, views, and likes, but only from other
                                                                24   registered Instagram users. If a visitor to Instagram does not have an Instagram account
                                                                25   and tries to “like” a post, the visitor is redirected to the Instagram login page to enter
                                                                26   their Instagram credentials or to create an Instagram account.
                                                                27         15.    When an Instagram user posts a photo to their account, other Instagram
                                                                28   users can view the photo, and choose to “like” it and add a comment to the post. For

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                                                                1    private accounts, followers of the private account can see the post. For public accounts,
                                                                2    anyone with an Instagram account can see the post. When a photo is liked or a comment
                                                                3    about the post is added, that like and comment can be seen by anyone who can see the
                                                                4    post. An Instagram user can also choose to “follow” another Instagram user. Instagram
                                                                5    users can see the total number of users following an Instagram account. For marketing
                                                                6    and other commercial purposes, certain Instagram users strive to increase the number
                                                                7    of followers, views, comments, and likes they receive to increase their visibility and
                                                                8    popularity on Instagram.
                                                                9          B.     Instagram’s Terms of Use, Community Guidelines, and Platform
                                                                10                Policies
                                                                11         16.    Everyone who uses Instagram agrees to Instagram’s Terms of Use
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                                                                12   (“Terms”)1 and other rules that govern access to and use of Instagram, including
                                                                13   Instagram’s Community Guidelines and Platform Policy (collectively, “Terms and
                                                                14   Policies”).2 Since April 2018, the Instagram Terms have stated that because Instagram
                                                                15   is a Facebook product, the Instagram Terms constitute an agreement between the
                                                                16   Instagram users and Facebook.3
                                                                17         17.    Since at least April 2018, Instagram’s Terms have prohibited users from
                                                                18   (a) “do[ing] anything unlawful, misleading, or fraudulent or for an illegal or
                                                                19   unauthorized purpose”; (b) “interfer[ing] with or impair[ing] the intended operation of
                                                                20   [Instagram]”; (c) “attempt[ing] to buy, [or] sell . . . any aspect of [an Instagram]
                                                                21   account”; (d) “access . . . information in unauthorized ways” including “in an automated
                                                                22   way without our express permission”; (e) “violate (or help or encourage others to
                                                                23   violate) [Instagram] Terms or [Instagram] policies . . . including . . . the Instagram
                                                                24   Community Guidelines[, and] Instagram Platform Policy.”
                                                                25
                                                                26   1
                                                                       Instagram Terms of Use can be found at
                                                                     https://help.instagram.com/581066165581870.
                                                                27   2
                                                                       Instagram Community Guidelines can be found at
                                                                28   https://help.instagram.com/477434105621119.
                                                                     3
                                                                       See https://help.instagram.com/581066165581870.
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                                                                1             18.     Instagram’s Community Guidelines prohibit users from artificially
                                                                2    collecting likes, followers, and comments.
                                                                3             C.     Facebook and Instagram’s Past Enforcement Actions against
                                                                4                    Defendants
                                                                5             19.    Since September 2017, in order to protect Instagram users and the
                                                                6    Instagram platform, Facebook and Instagram have taken multiple enforcement actions
                                                                7    against Defendants for violating Instagram’s Terms and Policies, including sending
                                                                8    cease and desist letters and disabling Instagram and Facebook accounts associated with
                                                                9    Defendants.
                                                                10            20.    On September 22, 2017, Facebook and Instagram sent a cease and desist
                                                                11   letter to Defendants for marketing and providing fake engagement through instant-
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                                                                12   fans.com.4 Ex. 3. At that time, Facebook and Instagram also disabled multiple
                                                                13   Instagram and Facebook accounts associated with Defendants.
                                                                14            21.    In the September 2017 cease and desist letter, Plaintiffs demanded that
                                                                15   Defendants stop violating Instagram’s Terms and Policies, including:
                                                                16                 Misleading Facebook and Instagram users;
                                                                17                 Creating false or duplicate profiles;
                                                                18                 Using personal profiles for commercial gain;
                                                                19                 Unauthorized automated access to either website or API; and
                                                                20                 Facilitating or encouraging others to violate terms of service.
                                                                21            22.    The September 2017 cease and desist letter informed Defendants that
                                                                22   Facebook revoked their access to use and access Facebook and Instagram services. The
                                                                23   September 2017 cease and desist letter also notified Defendants that their fake
                                                                24   engagement service interfered with Facebook and Instagram, and that Defendants’
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                                                                         The September 22, 2017 cease and desist letter also directs Defendants to stop
                                                                27       providing fake engagement on allrealfans.com. Since at least January 2020, the
                                                                28       homepage of allrealfans.com is accessible, but none of the links on the homepage
                                                                         have been functional.
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                                                                1    actions may have violated state and federal laws, including the Computer Fraud and
                                                                2    Abuse Act, 18 U.S.C. § 1030, and the California Comprehensive Computer Data Access
                                                                3    and Fraud Act, Cal. Penal Code § 502(c).
                                                                4          23.    In response to the September 2017 cease and desist letter, Defendants
                                                                5    Robin and Laila responded by email to Facebook’s counsel. Defendants refused to
                                                                6    comply with the cease and desist letter. Both Defendants falsely claimed they had no
                                                                7    ability to take down the website, and only designed the website.
                                                                8          24.    On July 24, 2018, Facebook and Instagram sent another letter notifying
                                                                9    Defendant Robin that his access to Facebook and Instagram remained revoked and
                                                                10   continuing to operate instant-fans.com violated Facebook’s and Instagram’s Terms and
                                                                11   Policies.
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                                                                12         25.    Despite Facebook’s enforcement efforts, Defendants resumed and
                                                                13   continued to access and use the Instagram service.
                                                                14         D.     Defendants Used Automation Software, Bots, and Instagram
                                                                15                Accounts to Artificially Increase Instagram Users’ Likes, Followers,
                                                                16                Comments, and Views of Instagram Users and Interfered with
                                                                17                Instagram’s Service and Computer Network
                                                                18         26.    Since at least January 2017, and continuing to the present, Defendants have
                                                                19   marketed and provided fake engagement for Instagram, and conducted financial
                                                                20   transactions with their customers on their website instant-fans.com. Exs. 1-2 and 4. On
                                                                21   their website, Defendants described themselves as the “World’s #1 Automated Social
                                                                22   Media Services Provider.” Exs. 1-2.
                                                                23         27.    On their website, Defendants offered and continue to offer their customers
                                                                24   the ability to automate artificial actions on Facebook and Instagram, including: (a) likes
                                                                25   on a Facebook or Instagram post; (b) comments on a Facebook or Instagram post; (c)
                                                                26   views for a Facebook or Instagram post; (d) followers of a Facebook Page or Instagram
                                                                27   account; (e) membership for a Facebook Group; and (f) emoji reactions (“wow,” “love,”
                                                                28   “haha,” “sad,” and “angry”) to a Facebook post. Ex. 4.

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                                                                1             28.   According to their website, Defendants provided fake engagement services
                                                                2    to both commercial “direct customers and resellers [of fake engagement].” Ex. 2.
                                                                3    Defendants offered an Application Programming Interface (commonly referred to an as
                                                                4    an “API”), which enabled commercial resellers to deliver fake engagement by “linking
                                                                5    [their] . . . website directly to [instantfans.com].” Exs. 2 and 5
                                                                6             29.   As shown below in Figures 1 – 35, Defendants charged different prices for
                                                                7    fake engagement based on the type of fake engagement (e.g., likes, comments,
                                                                8    followers, or views), the quantity of fake engagement provided, the service being
                                                                9    targeted (e.g., Instagram, Facebook, Twitter), and the speed at which the fake
                                                                10   engagement was provided. Ex. 4.
                                                                11                      Figure 1: Instant-Fans Pricing – Instagram Likes
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                                                                         In Figures 1-3, the center columns, from left to right, represent the cost per 1,000
                                                                27       actions, the minimum purchase amount allowed, and the maximum purchase amount
                                                                28       allowed. For example, in Figure 1, the cost per 1,000 likes was $1.155, the minimum
                                                                         order was 50 likes and the maximum quantity was 10,000 likes.
                                                                                                                 7                          3:20-cv-07348
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                                                                1                  Figure 2: Instant-Fans Pricing - Instagram Comments
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                                                                8
                                                                             Figure 3: Instant-Fans Pricing - Facebook Posts Like & Reactions
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                                                                           30.    Defendants used a network of bots and Instagram accounts that they
                                                                17
                                                                     controlled to deliver millions of automated likes and follows per day to their customers’
                                                                18
                                                                     accounts on Instagram. This conduct was not authorized by Facebook or Instagram.
                                                                19
                                                                           31.    For example, on February 22, 2020, after purchasing 2,500 likes, 1,000
                                                                20
                                                                     followers, and 500 positive comments on instant-fans.com, an Instagram user posted a
                                                                21
                                                                     photo of food to their Instagram account. At the time of the post, the Instagram account
                                                                22
                                                                     had no followers. Within approximately 48 hours, the post received approximately
                                                                23
                                                                     2,398 likes, 501 comments, and the account gained 1,040 followers. As shown below
                                                                24
                                                                     in Figure 4, the comments to the post were random phrases unrelated to the actual post.
                                                                25
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                                                                1                          Figure 4: Instant-Fans Fake Comments
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                                                                12
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                                                                14         32.    Between March 2, 2020 and March 3, 2020, after purchasing 1,000 likes
                                                                15   from instant-fans.com, an Instagram user posted a photo to their Instagram account. A
                                                                16   short time later, the post received approximately 1,005 likes.
                                                                17         33.    All of the likes described in paragraphs 32 and 33 came from Defendants’
                                                                18   network of Instagram accounts using thousands of IP addresses associated with service
                                                                19   providers located in, among other places, the United States.
                                                                20         E.     Defendants Unjustly Enriched Themselves and Their Unlawful Acts
                                                                21                Have Caused Damage and a Loss to Facebook and Instagram
                                                                22         34.    Defendants continued breaches of Instagram’s Terms and Policies have
                                                                23   caused Facebook and Instagram substantial harm. Defendants interfered with and
                                                                24   continue to interfere with Instagram’s service. Defendants created and continue to
                                                                25   create an inauthentic experience for Instagram users who used, viewed, and relied on
                                                                26   Defendants’ fake engagement.
                                                                27         35.    Facebook and Instagram have suffered damages attributable to the efforts
                                                                28   and resources it has used to address the wrongdoings identified in this complaint,

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                                                                1    investigate and mitigate Defendants’ illegal conduct, and identify, analyze, and stop
                                                                2    their fraudulent and injurious activities.
                                                                3          36.    Since at least September 2017, Defendants have unjustly enriched
                                                                4    themselves at the expense of Facebook and Instagram in an amount to be determined at
                                                                5    trial. Facebook and Instagram are entitled to an accounting by Defendants and a
                                                                6    disgorgement of all unlawful profits gained from their unlawful conduct on Instagram,
                                                                7    which allowed them to receive a benefit that they otherwise would not have achieved.
                                                                8                                 FIRST CAUSE OF ACTION
                                                                9                                       (Breach of Contract)
                                                                10         37.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                11         38.    Each Defendant created an Instagram account and agreed to Instagram’s
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                                                                12   Terms and Policies.
                                                                13         39.    Since at least September 2017, Defendants used and controlled thousands
                                                                14   of Instagram accounts, which were governed by Instagram’s Terms and Policies, to
                                                                15   provide fake engagement to Instagram users. Because Defendants’ unlawful business
                                                                16   used and controlled thousands of Instagram user accounts, each Defendant agreed to
                                                                17   Instagram’s Terms and Policies.
                                                                18         40.    Defendants, through the instant-fans.com website, continually used the
                                                                19   Instagram service and caused it to be accessed and used to conduct their fraudulent
                                                                20   business.
                                                                21         41.    Despite Defendants agreeing to Instagram’s Terms and Policies, they
                                                                22   repeatedly breached them. Defendants breached Instagram’s Terms and Policies by
                                                                23   taking the actions described above, all in an attempt to fraudulently influence other
                                                                24   Instagram users and enrich themselves while damaging Facebook and Instagram. Not
                                                                25   only did Defendants’ fake engagement service violate Instagram’s Terms and Policies,
                                                                26   they encouraged and helped others to violate Instagram’s Terms and Policies, which
                                                                27   itself was a violation. Similarly, Defendants violated Instagram’s Terms and Policies
                                                                28

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                                                                1    because they accessed Instagram and information on Instagram in an unauthorized
                                                                2    automated way without Instagram or Facebook’s express permission.
                                                                3          42.    Facebook and Instagram have performed all conditions, covenants, and
                                                                4    promises required of them in accordance with their agreements with Defendants.
                                                                5          43.    Defendants’ many breaches have caused Facebook and Instagram to incur
                                                                6    damages in an amount to be determined at trial, but in an amount exceeding $75,000.
                                                                7                              SECOND CAUSE OF ACTION
                                                                8                                (California Penal Code § 502)
                                                                9          44.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                10         45.    Since at least September 2017, Defendants violated California Penal Code
                                                                11   § 502 by operating their fake engagement service after Facebook and Instagram sent a
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                                                                12   cease and desist letter to Defendants, revoked Defendants’ access to Facebook and
                                                                13   Instagram, and disabled their user accounts.
                                                                14         46.    Defendants knowingly accessed and, without permission, used Facebook
                                                                15   and Instagram’s data, computers, computer system, and computer network in order to
                                                                16   (A) devise or execute a scheme or artifice to defraud and deceive, and (B) to wrongfully
                                                                17   control or obtain money, property, or data, in violation of California Penal Code §
                                                                18   502(c)(1).
                                                                19         47.    Defendants knowingly and without permission used or caused to be used
                                                                20   Facebook and Instagram’s computer services in violation of California Penal Code
                                                                21   § 502(c)(3) by accessing and using Instagram after Facebook and Instagram sent them
                                                                22   a cease and desist letter revoking their access to Instagram and disabled their user
                                                                23   accounts.
                                                                24         48.    By artificially inflating likes, followers, and comments for certain
                                                                25   Instagram posts and accounts and impairing the intended operation of Instagram,
                                                                26   Defendants knowingly and without permission disrupted or caused the disruption of
                                                                27   Facebook and Instagram’s computer services, computers, computer systems, and/or
                                                                28   computer networks in violation of California Penal Code § 502(c)(5).

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                                                                1          49.    Defendants knowingly and without permission accessed and caused to be
                                                                2    accessed Facebook and Instagram’s computers, computer systems, and/or computer
                                                                3    networks in violation of California Penal Code § 502(c)(7). Defendants accessed
                                                                4    Facebook’s and Instagram’s computer network after Facebook and Instagram disabled
                                                                5    their Instagram accounts, and sent a cease and desist letter to Defendants revoking their
                                                                6    access.
                                                                7          50.    Because Facebook and Instagram suffered damages and a loss as a result
                                                                8    of Defendants’ actions and continue to suffer damages as a result of Defendants’
                                                                9    actions, Facebook and Instagram are entitled to compensatory damages, in an amount
                                                                10   of at least $75,000, attorneys’ fees, and any other amount of damages proven at trial, as
                                                                11   well as injunctive relief under California Penal Code § 502(e)(1) and (2).
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                                                                12         51.    Because Defendants willfully violated California Penal Code § 502, and
                                                                13   there is clear and convincing evidence that Defendants committed “fraud” as defined
                                                                14   by Section 3294 of the Civil Code, Facebook is entitled to punitive and exemplary
                                                                15   damages under California Penal Code § 502(e)(4).
                                                                16                               THIRD CAUSE OF ACTION
                                                                17                    (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                                18         52.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                19         53.    Since at least September 2017, Defendants have violated 18 U.S.C. § 1030
                                                                20   by operating their fake engagement service after Facebook and Instagram sent
                                                                21   Defendants a cease and desist letter, revoked Defendants’ access to Facebook and
                                                                22   Instagram, and disabled their user accounts.
                                                                23         54.    Facebook and Instagram computers and servers are protected computers as
                                                                24   defined by 18 U.S.C. § 1030(e)(2).
                                                                25         55.    Defendants’ access and use of Facebook and Instagram’s computers and
                                                                26   computer systems was unauthorized because Defendants accessed Facebook and
                                                                27   Instagram’s computer network after Facebook and Instagram disabled their Instagram
                                                                28

                                                                                                               12                         3:20-cv-07348
                                                                                            COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-07348-SK Document 1 Filed 10/20/20 Page 14 of 111



                                                                1    accounts and sent cease and desist letters to Defendants unequivocally revoking their
                                                                2    limited license to access.
                                                                3          56.    Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and
                                                                4    with intent to defraud accessed Facebook and Instagram protected computers by
                                                                5    sending unauthorized commands and signals to Facebook and Instagram computers and
                                                                6    by means of such conduct furthered the intended fraud and obtained something of
                                                                7    value. Defendants sent the commands and signals to Facebook and Instagram
                                                                8    computers to manipulate Instagram’s service by fraudulently inflating likes, followers,
                                                                9    and comments of certain Instagram posts and accounts. Defendants did these acts in
                                                                10   exchange for profit.
                                                                11         57.    Defendants violated 18 U.S.C. § 1030(b) by conspiring or attempting to
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                                                                12   commit the violation alleged in the preceding paragraph.
                                                                13         58.    Defendants’ conduct has caused a loss to Facebook and Instagram during
                                                                14   a one-year period in excess of $5,000.
                                                                15         59.    Defendants’ actions caused Facebook and Instagram to incur losses and
                                                                16   other economic damages, including, among other things, the expenditure of resources
                                                                17   to investigate, mitigate, and respond to Defendants’ fraudulent scheme. Facebook and
                                                                18   Instagram are entitled to be compensated for losses and damages in an amount of at
                                                                19   least $75,000, and any other amount proven at trial.
                                                                20         60.    Facebook and Instagram have no adequate remedy at law that would
                                                                21   prevent Defendants from continuing their fraudulent scheme. Permanent injunctive
                                                                22   relief is therefore warranted.
                                                                23                                FOURTH CAUSE OF ACTION
                                                                24                                    (Unjust Enrichment)
                                                                25         61.    Facebook and Instagram incorporate all preceding paragraphs here.
                                                                26         62.    Defendants’ acts as alleged herein constitute unjust enrichment by
                                                                27   Defendants at Facebook’s and Instagram’s expense.
                                                                28

                                                                                                               13                        3:20-cv-07348
                                                                                            COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-07348-SK Document 1 Filed 10/20/20 Page 15 of 111



                                                                1          63.    Defendants accessed and used, without authorization or permission,
                                                                2    Facebook’s and Instagram’s service, platform, and computer network, all of which
                                                                3    belong to Facebook and Instagram.
                                                                4          64.    Defendants used Facebook’s and Instagram’s service, platform, and
                                                                5    computer network to, among other things, defraud and deceive Instagram users,
                                                                6    artificially inflate likes, followers, and comments for certain Instagram posts and
                                                                7    accounts, impair the intended operation of Instagram, interfere with Instagram’s
                                                                8    service, platform, and computer network, and wrongfully obtain money from the
                                                                9    operation of their unlawful business.
                                                                10         65.    Defendants received a benefit by profiting off of their unauthorized use of
                                                                11   Facebook and Instagram’s service, platform, and computer network.                    But for
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                                                                12   Defendants’ illegal use of Instagram, they would not have received the profits they
                                                                13   achieved.
                                                                14         66.    Defendants’ retention of the profits derived from their unlawful and
                                                                15   unauthorized use of Instagram’s service, platform, and computer network would be
                                                                16   unjust.
                                                                17         67.    Facebook and Instagram seek an accounting and disgorgement of
                                                                18   Defendants’ ill-gotten profits in an amount to be determined at trial.
                                                                19                                 REQUEST FOR RELIEF
                                                                20         WHEREFORE, Facebook and Instagram are entitled to judgment against
                                                                21   Defendants on each of Plaintiffs’ causes of action awarding Facebook and Instagram:
                                                                22         1.     Compensatory damages in an amount to be determined at trial;
                                                                23         2.     Punitive damages in an amount to be determined at trial;
                                                                24         3.     Interest, costs, and expenses incurred in this action;
                                                                25         4.     An accounting of each Defendant’s profits resulting from their fake
                                                                26   engagement service;
                                                                27         5.     Disgorgement of Defendants’ profits resulting from their fake engagement
                                                                28   service;

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                                                                1          6.    A permanent injunction enjoining and restraining Defendants and their
                                                                2    agents, servants, employees, successors, and assigns, and all other persons acting in
                                                                3    concert or participation with any of them from:
                                                                4                a. accessing or attempting to access Facebook and Instagram’s service,
                                                                5                   platform, and computer systems;
                                                                6                b. creating or maintaining any Instagram or Facebook accounts in violation
                                                                7                   of Instagram’s Terms and Policies;
                                                                8                c. engaging in any activity that disrupts, diminishes the quality of,
                                                                9                   interferes with the performance of, or impairs the functionality of
                                                                10                  Facebook and Instagram’s service, platform, and computer systems; and
                                                                11               d. engaging in any activity, or facilitating others to do the same, that
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                                                                12                  violates Instagram’s Terms and Policies; and
                                                                13         7.    All such other and further relief as this Court may deem just and proper.
                                                                14
                                                                15   Dated: October 20, 2020                     HUNTON ANDREWS KURTH LLP
                                                                16
                                                                17                                                 By:      /s/ Jason J. Kim
                                                                18                                                           Ann Marie Mortimer
                                                                                                                             Jason J. Kim
                                                                19                                                           Jeff R. R. Nelson
                                                                20                                                       Attorneys for Plaintiffs
                                                                                                                         FACEBOOK, INC. and
                                                                21                                                       INSTAGRAM, LLC
                                                                22
                                                                                                                            Platform Enforcement and
                                                                23                                                          Litigation
                                                                24                                                          Facebook, Inc.
                                                                                                                            Jessica Romero
                                                                25                                                          Michael Chmelar
                                                                26                                                          V. RaShawn Woodley

                                                                27
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                                                                                           COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:20-cv-07348-SK Document 1 Filed 10/20/20 Page 17 of 111



                                                                1                                       DEMAND FOR JURY TRIAL
                                                                2            Plaintiffs hereby demand a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: October 20, 2020                       HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6
                                                                                                                        By:      /s/ Jason J. Kim
                                                                7                                                                 Ann Marie Mortimer
                                                                8                                                                 Jason J. Kim
                                                                                                                                  Jeff R. R. Nelson
                                                                9                                                             Attorneys for Plaintiffs
                                                                10                                                            FACEBOOK, INC. and
                                                                                                                              INSTAGRAM, LLC
                                                                11
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                               Platform Enforcement and
                                                                                                                                 Litigation
                                                                13                                                               Facebook, Inc.
                                                                14                                                               Jessica Romero
                                                                                                                                 Michael Chmelar
                                                                15                                                               V. RaShawn Woodley
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                                                                                                    COMPLAINT; DEMAND FOR JURY TRIAL
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                        EXHIBIT 1



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                                                 Password




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                        lnstagram - Instant lnstagram Followers/Likes/Comments/Mentions/Automatic Likes
                        Twitter• Instant HQ Twitter Followers/Likes
                        YouTube • YouTube Views/Likes
                        Plnterest • Plnterest Followers/Board Followers/Likes
                        Linked In• Followers/Connections/Group Joins
                        Reverbnation • SongN/deo Plays/Page Views
                        Snapchat • Followers/Likes
                        Periscope - Followers/Likes
                        Vine• Vine Followers/Likes/Revines/Loops/Comments
                        Mixcloud, Radlojavan, Shazam, Spotify, Soundcloud, Tumb/r, Vimeo, and more services
                        available too!




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                        EXHIBIT 2



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                                                                                                                Business

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       our direct customers and
                                                                                                            and t hey all love our SMM
     resellers wit hout sacrificing
      the quality of our services.
                                                                                                                   Panel services.
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            API Support                                                                                            Support
     Resellers can f ulf ill orders                                                                         Connect with our live staff
      on autopilot by Ii nking                                                                               at any hour through our
        your SM M Panel or                                                                                     ticketing system and
      website directly to ours.                                                                              eceive a quick response.




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                               Automated Social Media Services Provider



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                                           Linkedin                                                          Youtube




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                                                                                                                           lnstagram Followers/likes:
                                                                                                                           We can help you gain access to

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                                                                                                                                    You Tube Views/Subscribers:
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                                                                                                                                    your channel.

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                        EXHIBIT 3



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PeRKINSCOie                                                       1201 Third Avenue
                                                                  Suite4900                    G + 1.206.359.9000
                                                                  Seattle, WA 9B101-3099          perkinscoie.com




September 22, 2017                                                Catherine M. del Fierro
                                                                  CdelFierro@perkinscoie.com
                                                                  D. (206) 359-3507


VIA EMAIL

Robin Abou Trabi
Dubai, United Arab Emirates
organic_guy@hotmail.co.uk

Leila Abou Trabi
Dubai, United Arab Emirates
organic-girl@live.com

Re:           Cease and Desist Abuse of Facebook and Instagram - AllRealFans

Dear Mr. Trabi and Ms. Trabi:

We represent Facebook, Inc., based in Menlo Park, California, and Instagram, Inc. It has come
to our attention that you are selling Facebook and Instagram Likes and Followers on your
websites, including AllRealFans.com and Instant-Fans.com. These activities violate Facebook’s
and Instagram’s terms of service and are illegal.

Facebook and Instagram demand that these activities stop immediately.

Facebook and Instagram take the protection of the user experience very seriously, and are
committed to keeping their sites safe for users to interact and share information. They have
developed their terms of service to protect their users and facilitate these goals.

Facebook’s and Instagram’s terms of service prohibit, among other things:

             Misleading Facebook and Instagram users;

             Creating false or duplicate profiles;

             Using personal profiles for commercial gain;

             Unauthorized automated access to either website or API; and

             Facilitating or encouraging others to violate terms of service.

See Facebook Statement of Rights and Responsibilities, http://www.facebook.com/terms.php;
Facebook Platform Policies, https://developers.facebook.com/policy/; Instagram Terms of Use,



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http://instagram.com/about/legal/terms/; and Instagram API Terms of Use,
http://instagram.com/about/legal/terms/api/.

In addition to violating the terms of service, your activities may violate the federal Computer
Fraud and Abuse Act, 18 U.S.C. § 1030; the California Comprehensive Computer Data Access
and Fraud Act, Cal. Penal Code § 502(c); the United States Lanham Act, 15 U.S.C. §§ 1114,
1125(a), & 1125(c); and state laws prohibiting interference with Facebook’s and Instagram’s
business expectations and interests.

Facebook and Instagram have taken technical steps to deactivate your Facebook and Instagram
accounts, and your limited license to access or use the Facebook and Instagram websites and/or
services has been revoked. This means that you, your agents, your employees and/or anyone
acting on your behalf (collectively “You” or “Your”) may not access the Facebook or
Instagram websites, use the Facebook or Instagram APIs, or use any of the services offered
by Facebook or Instagram for any reason whatsoever. Facebook and Instagram will treat
further activity by You on their websites or services as unauthorized access to their protected
computer networks.

Please respond to me in writing WITHIN 48 HOURS confirming that You:

             Have preserved and will continue to preserve in the future all information related to Your
              offering and/or sale of Facebook and Instagram services;

             Have stopped and will not in the future sell or offer to sell any services related to
              Facebook and Instagram;
              
             Have shut down all websites You operate that are used to sell Facebook or Instagram
              services, and have removed all advertisements or postings on external websites
              advertising or describing Your Facebook or Instagram services;

             Have removed all references to Facebook and Instagram from any and all websites that
              You own or have the ability to control;

             Have stopped and will not in the future access Facebook’s or Instagram’s websites and/or
              services for any reason whatsoever; and

             Will account for and disgorge any and all revenue earned from Your unauthorized
              activities related to Facebook and Instagram.




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Along with your response, we demand that you provide:

           A complete list of any and all Facebook and Instagram accounts You have created,
            developed, maintained, or controlled;

           A complete list of domain names that You own, maintain, or control;

           A complete accounting of each and every customer who purchased your Facebook or
            Instagram services, including an accounting of all compensation or revenue received by
            You, and the URLs for each profile and/or Page for which You rendered those services;
            and

           A complete description of the methods you use to acquire Facebook and Instagram Fans
            and Likes.

If you ignore this letter or continue your improper conduct, Facebook and Instagram will take
necessary measures to enforce their rights, maintain the quality of their websites, and protect
their users.

This letter is not intended by us, and should not be construed by you, as a relinquishment or
waiver of any of Facebook’s or Instagram’s rights or remedies. Facebook and Instagram
specifically reserve all such rights and remedies whether at law or in equity.

Sincerely,



Catherine M. del Fierro
CMD:cmd




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                        EXHIBIT 4



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                                            2020-07-16 - Instant-fans.com Services


          ID     Service                                    Rate per 1000   Min order   Max order                           Description



                             Instant                      � Instagram Comments From Verified Accounts

          2859   Random Comments From Verified Accounts                                                                 � Start Time: 0-12 hours
                                                                3000.00          1             10                       � Speed per Day: 5-10
                                                                                                                         � Refill Time: 30 Days
                                                                                                                         � Minimum Order: 1
                                                                                                                        � Maximum Order: 10

          2860   Custom Comments From Verified Accounts                                                                 � Start Time: 0-12 hours
                                                                4500.00          1             10                       � Speed per Day: 5-10
                                                                                                                         � Refill Time: 30 Days
                                                                                                                         � Minimum Order: 1
                                                                                                                        � Maximum Order: 10

                                                                                                         *No offensive/sexual/negative comments will be accepted



                             Instant                      ♛ Instagram Followers - Refill Guaranteed

          2881   Real Instagram Followers - 5k Max                                                                       � Start Time: Instant
                                                                 2.52           100           5000                  � Speed per Day: 5,000 Followers
                                                                                                                        � Refill Time: 30 Days
                                                                                                                        � Minimum Order: 100
                                                                                                                       � Maximum Order: 5,000

          2882   Real Instagram Followers - 10k Max                                                                     � Start Time: Instant
                                                                 2.70           100          10000                 � Speed per Day: 10,000 Followers
                                                                                                                        � Refill Time: 30 Days
                                                                                                                       � Minimum Order: 100
                                                                                                                      � Maximum Order: 10,000

          181    Instagram Followers - 15k Max                                                                           � Start Time: Instant
                                                                 3.60            50          15000               � Speed per Day: 2,000-5,000 Followers
                                                                                                                        � Refill Time: 30 Days
                                                                                                                        � Minimum Order: 50
                                                                                                                      � Maximum Order: 15,000

          2707   ♛ Real Instagram Followers - 30k Max                                                                 � Start Time: 0-30 Minutes
                                                                 4.35           100          30000                  � Speed per Day: 3,000 Followers
                                                                                                                      � Refill Time: 15 Days Refill
                                                                                                                        � Minimum Order: 50
                                                                                                                       � Maximum Order: 3,000

          299    Instagram Followers - 20k Max                                                                          � Start Time: 0-1 Hour
                                                                 5.25           100          20000                � Speed per Day: 500-5,000 Followers
                                                                                                                        � Refill Time: 15 Days
                                                                                                                        � Minimum Order: 20
                                                                                                                      � Maximum Order: 20,000

          2423   Instagram Followers - 15k Max - ♻                                                                       � Start Time: Instant
                                                                 5.30           100          15000               � Speed per Day: 2,000-5,000 Followers
                                                                                                                        � Refill Time: 15 Days
                                                                                                                       � Minimum Order: 100
                                                                                                                      � Maximum Order: 15,000

          188    European Instagram Followers - 100k Max                                                                 � Start Time: Instant
                                                                 6.00           100          100000              � Speed per Day: 2,000-5,000 Followers
                                                                                                                        � Refill Time: 30 Days
                                                                                                                       � Minimum Order: 100
                                                                                                                      � Maximum Order: 100,000

          2418   Instagram Followers - 200k Max - ♻                                                                    � Start Time: 0-12 Hours
                                                                 6.00           100          200000              � Speed per Day: 5,000-7,000 Followers
                                                                                                                      � Refill Time: 15 Days Refill
                                                                                                                       � Minimum Order: 100
                                                                                                                      � Maximum Order: 200,000

          2688   ♛ Real Instagram Followers - 100k Max                                                                  � Start Time: Instant
                                                                 8.20            50          100000             � Speed per Day: 5,000-20,000 Followers
                                                                                                                     � Refill Time: 20 Days Refill
                                                                                                                        � Minimum Order: 10
                                                                                                                     � Maximum Order: 100,000

          2333   Real Instagram Followers - 3k Max                                                                     � Start Time: 0-24 Hours
                                                                 7.84            50          15000               � Speed per Day: 1,500-3,000 Followers
                                                                                                                        � Refill Time: 30 Days
                                                                                                                       � Minimum Order: 100
                                                                                                                      � Maximum Order: 10,000




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Services                         Case 3:20-cv-07348-SK Document 1 Filed 10/20/20 Page 28 of 111
                                                                                         https://instant-fans.com/services



           ID     Service                                          Rate per 1000   Min order    Max order               Description



                               Instant                           Instagram Organic Followers

           2831   Instagram Organic Followers from Ads - 20k                                                       � Start Time: 0-48 Hours
                  Max                                                   10.00          5000         50000         � Speed per Day: 2,000-3,000
                                                                                                                     � No Refill/No Refund
                                                                                                                   � Minimum Order: 5,000
                                                                                                                   � Maximum Order: 20,000

           2826   Arab Instagram Organic Followers from Ads -                                                      � Start Time: 0-48 Hours
                  30k Max                                               7.00           5000         30000         � Speed per Day: 2,000-5,000
                                                                                                                     � No Refill/No Refund
                                                                                                                   � Minimum Order: 5,000
                                                                                                                   � Maximum Order: 30,000



                               Instant                           Instagram Followers - No Refill

           2880   Real Instagram Followers - 2k Max - No Refill                                                      � Start Time: Instant
                                                                        1.20            20           2000       � Speed per Day: 2,000 Followers
                                                                                                                    � No Refill/No Refund
                                                                                                                    � Minimum Order: 100
                                                                                                                   � Maximum Order: 2,000

           2891   Real Instagram Followers - 2k Max - No Refill                                                   � Start Time: 0-10 Minutes
                                                                        1.20            20           2000     � Speed per Day: 1000-2000 Followers
                                                                                                                    � No Refill/No Refund
                                                                                                                    � Minimum Order: 50
                                                                                                                   � Maximum Order: 2000

           2883   Instagram Followers - 10k Max - No Refill                                                          � Start Time: Instant
                                                                        1.65            10          10000    � Speed per Day: 5,0-10,00000 Followers
                                                                                                                    � No Refill/No Refund
                                                                                                                     � Minimum Order: 20
                                                                                                                   � Maximum Order: 10,000

           1138   Arab Instagram Followers                                                                          � Start Time: 0-1 hours
                                                                        5.32            50           5000       � Speed per Day: 2,000 Followers
                                                                                                                    � No Refill/No Refund
                                                                                                                    � Minimum Order: 100
                                                                                                                   � Maximum Order: 2,000

           2421   Real Instagram Followers - 5k Max - No Refill                                                    � Start Time: 0-2 hours
                                                                        5.50           100           5000    � Speed per Day: 1,000-2,000 Followers
                                                                                                                    � No Refill/No Refund
                                                                                                                    � Minimum Order: 50
                                                                                                                   � Maximum Order: 5,000

           198    � Iranian Instagram Followers                                                                    � Start Time: 0-2 hours
                                                                        5.50           100           2000    � Speed per Day: 1,000-2,000 Followers
                                                                                                                    � No Refill/No Refund
                                                                                                                   � Minimum Order: 100
                                                                                                                   � Maximum Order: 2,000



                               Instant                           � Brazilian Instagram Services

           207    � Brazilian Instagram Followers - 25k Max                                                          � Start Time: Instant
                                                                        8.26           100          100000   � Speed per Day: 5,000-10,000 Followers
                                                                                                                     � Refill Time: 30 Days
                                                                                                                     � Minimum Order: 50
                                                                                                                   � Maximum Order: 25,000

           2563   � Brazilian Instagram Followers - 5k Max                                                         � Start Time: 0-48 Hours
                                                                        6.60           100          15000     � Speed per Day: 500-1,000 Followers
                                                                                                                    � Refill Time: 30 Days
                                                                                                                    � Minimum Order: 50
                                                                                                                   � Maximum Order: 3,000

           2736   � Brazilian Male Instagram Followers - 20k Max                                                     � Start Time: Instant
                                                                        12.04          100          20000    � Speed per Day: 5,000-10,000 Followers
                                                                                                                     � Refill Time: 30 Days
                                                                                                                     � Minimum Order: 50
                                                                                                                   � Maximum Order: 20,000




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           ID     Service                                          Rate per 1000   Min order   Max order               Description


           2735   � Brazilian Female Instagram Followers - 20k                                                      � Start Time: Instant
                  Max                                                  12.04           100          20000   � Speed per Day: 5,000-10,000 Followers
                                                                                                                    � Refill Time: 30 Days
                                                                                                                    � Minimum Order: 50
                                                                                                                  � Maximum Order: 20,000

           2712   � Brazilian Male Instagram Followers - 2k Max                                                   � Start Time: 0-24 Hours
                  - No Refill                                          16.10           100          10000     � Speed per Day: 300-500 Followers
                                                                                                                   � No Refill/No Refund
                                                                                                                   � Minimum Order: 100
                                                                                                                  � Maximum Order: 2,000

           2711   � Brazilian Female Instagram Followers - 2k                                                     � Start Time: 0-24 Hours
                  Max - No Refill                                      16.10           100          10000     � Speed per Day: 300-500 Followers
                                                                                                                   � No Refill/No Refund
                                                                                                                   � Minimum Order: 100
                                                                                                                  � Maximum Order: 2,000

           2737   � Brazilian Instagram Likes - 30k Max                                                              � Start Time: Instant
                                                                        5.04           100          40000        � Speed per Day: 20,000 Likes
                                                                                                                    � Lifetime Guaranteed
                                                                                                                    � Minimum Order: 50
                                                                                                                  � Maximum Order: 20,000

           2738   � Brazilian Male Instagram Likes - 15k Max                                                         � Start Time: Instant
                                                                        6.44           100          25000        � Speed per Day: 15,000 Likes
                                                                                                                    � Lifetime Guaranteed
                                                                                                                    � Minimum Order: 50
                                                                                                                  � Maximum Order: 15,000

           2739   � Brazilian Female Instagram Likes - 15k Max                                                       � Start Time: Instant
                                                                        6.44           100          25000        � Speed per Day: 15,000 Likes
                                                                                                                    � Lifetime Guaranteed
                                                                                                                    � Minimum Order: 50
                                                                                                                  � Maximum Order: 15,000

           855    � Brazilian Instagram Comments                                                                  � Start Time: 0-15 Minutes
                                                                       47.25            5           1000            � Speed per Day: 50
                                                                                                                   � Lifetime Guaranteed
                                                                                                                    � Minimum Order: 5
                                                                                                                   � Maximum Order: 50



                              Instant                            �Korean Instagram Services

           2872   � Real Korean Instagram Likes + Impressions +                                                   � Start Time: 0-5 Minutes
                  Reach                                                20.30            10          10000        � Speed per Day: 3000 Likes
                                                                                                                   � Lifetime Guaranteed
                                                                                                                   � Minimum Order: 10
                                                                                                                 � Maximum Order: 10,000

           2873   � Real Korean Instagram Likes + Impressions +                                                   � Start Time: 0-5 Minutes
                  Reach S2                                             29.40            10          2000       � Speed per Day: 1000-2000 Likes
                                                                                                                   � Lifetime Guaranteed
                                                                                                                    � Minimum Order: 10
                                                                                                                   � Maximum Order: 2000

           2874   � Real Korean Instagram Likes + Impressions +                                                   � Start Time: 0-5 Minutes
                  Reach S3                                             29.40            10          2000       � Speed per Day: 1000-2000 Likes
                                                                                                                   � Lifetime Guaranteed
                                                                                                                    � Minimum Order: 10
                                                                                                                   � Maximum Order: 2000

           2875   �Real Korean Instagram Followers                                                                � Start Time: 0-5 Minutes
                                                                       147.00           10          5000     � Speed per Day: 1000-3000 Followers
                                                                                                                   � No Refill/No Refund
                                                                                                                   � Minimum Order: 10
                                                                                                                  � Maximum Order: 5000

                                                                                                                        �Enter full link

           2876   �Real Korean Instagram Followers S2                                                             � Start Time: 0-5 Minutes
                                                                       147.00           10          10000    � Speed per Day: 1000-3000 Followers
                                                                                                                   � No Refill/No Refund
                                                                                                                   � Minimum Order: 10
                                                                                                                  � Maximum Order: 5000

                                                                                                                        �Enter full link




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           ID     Service                                      Rate per 1000    Min order   Max order                                   Description


           2877   �Real Korean Instagram Comments                                                                                � Start Time: 0-5 Minutes
                                                                   336.00            5            100                       � Speed per Day: 100-500 Comments
                                                                                                                                  � No Refill/No Refund
                                                                                                                                   � Minimum Order: 5
                                                                                                                                 � Maximum Order: 5000

           2878   � Real Automatic Korean Instagram Likes +
                  Impressions + Reach                               20.30            10          10000




                               Instant                       Instagram Likes

           373    ♛ NEW - FAST Instagram Likes - 2.5k Max                                                                          � Start Time: Instant
                                                                    2.145            50          2500                        � Speed per hour: 3,000-5,000 Likes
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                  � Minimum Order: 10
                                                                                                                                � Maximum Order: 100.000

           2879   Real Instagram Likes - 3k Max                                                                                    � Start Time: Instant
                                                                    1.20             50          3000                           � Speed per hour: 3,000 Likes
                                                                                                                                   � Lifetime Guaranteed
                                                                                                                                   � Minimum Order: 50
                                                                                                                                 � Maximum Order: 3,000

           2371   Instagram Likes - 10k Max S2                                                                                      � Start Time: Instant
                                                                    1.155            50          10000                         � Speed per Hour: 10,000 Likes
                                                                                                                               � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 50
                                                                                                                                � Maximum Order: 10,000

           374    Instagram Likes - 5k Max                                                                                         � Start Time: Instant
                                                                    1.36             50          2000                        � Speed per hour: 3,000-5,000 Likes
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                  � Minimum Order: 10
                                                                                                                                � Maximum Order: 100.000

           2491   Instagram Likes - 10k Max                                                                                        � Start Time: Instant
                                                                    1.37             50          75000                        � Speed per hour: 10,000 Likes
                                                                                                                � No Refill/No Refund for orders made after the 10th of April
                                                                                                                                  � Minimum Order: 20
                                                                                                                                � Maximum Order: 100,000

           1257   Instagram Power Likes                                                                  � Likes are from Real User profiles with lots of activity, posts and followers!
                                                                    1.50             50          20000
                                                                                                                                     � Start Time: Instant
                                                                                                                                � Speed per Hour: 7,000 Likes
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 50
                                                                                                                                 � Maximum Order: 20,000

           401    ♛ NEW - HQ Instagram Likes - 20k Max                                                                              � Start Time: Instant
                                                                    1.575            20          20000                         � Speed per Hour: 10,000 Likes
                                                                                                                               � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 20
                                                                                                                                � Maximum Order: 20,000

           2564   Instagram Likes - 50k Max                                                                                        � Start Time: Instant
                                                                    1.95            100          30000                         � Speed per hour: 3,000 Likes
                                                                                                                � No Refill/No Refund for orders made after the 10th of April
                                                                                                                                  � Minimum Order: 20
                                                                                                                                 � Maximum Order: 3,000

           2471   ♛ Real Instagram Likes - 20k Max                                                                                   � Start Time: Instant
                                                                    2.25            100          5000                           � Speed per Hour: 2,000 Likes
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                 � Maximum Order: 20,000

           476    Instagram Saves - �                                                                                                � Start Time: Instant
                                                                    0.30            100          25000                           � Speed per Hour: 50,000
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                 � Maximum Order: 50,000

           1117   Ultrafast Instagram Likes - 20k Max                                                                               � Start Time: Instant
                                                                    2.85             50          20000                         � Speed per hour: 20,000 Likes
                                                                                                                               � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 50
                                                                                                                                � Maximum Order: 20,000




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           ID     Service                                  Rate per 1000   Min order     Max order                                      Description


           359    Instagram Auto Likes - 100k Max                                                                                    � Start Time: Instant
                                                                1.30           100          100000                              � Speed per Hour: 1,000 Likes
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 50
                                                                                                                                 � Maximum Order: 500,000

           2473   Instagram Auto Likes - 25k Max                                                                                     � Start Time: Instant
                                                                2.20           100          25000                               � Speed per day: 10,000 Likes
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                 � Maximum Order: 10,000

           2490   Fast Instagram Auto Likes                                                                                         � Start Time: Instant
                                                                3.50            50          20000                              � Speed per hour: 10,000 Likes
                                                                                                                               � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 50
                                                                                                                                � Maximum Order: 10,000

           2364   Ultrafast Instagram Auto Likes                                                                                     � Start Time: Instant
                                                                3.65            50          20000                               � Speed per day: 20,000 Likes
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 50
                                                                                                                                 � Maximum Order: 20,000

           1328   ♛ Instagram Auto Power Likes                                                           � Likes are from Real User profiles with lots of activity, posts and followers!
                                                                4.00            50          20000
                                                                                                                                     � Start Time: Instant
                                                                                                                                � Speed per Hour: 7,000 Likes
                                                                                                                                � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 50
                                                                                                                                  � Maximum Order: 7,000

           652    Instagram Auto Saves                                                                                              � Start Time: Instant
                                                                0.50           100          50000                              � Speed per Hour: 50,000 Saves
                                                                                                                               � Lifetime non drop guarantee
                                                                                                                                  � Minimum Order: 100
                                                                                                                                 � Maximum Order: 50,000



                               Instant                   Instagram Likes - Per Minute

           157    Instagram Likes - 2 Likes Per Minute                                                                               � Start Time: Instant
                                                                2.50            50           5000                               � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 20
                                                                                                                                 � Maximum Order: 10,000

                                                                                                      � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                     For example, an order of 1000 likes would have 2 likes sent every minute, so it would
                                                                                                                            take around 500 minutes to complete.

           158    Instagram Likes - 5 Likes Per Minute                                                                               � Start Time: Instant
                                                                2.50            50           5000                               � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 20
                                                                                                                                 � Maximum Order: 10,000

                                                                                                      � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                     For example, an order of 1000 likes would have 5 likes sent every minute, so it would
                                                                                                                            take around 200 minutes to complete.

           159    Instagram Likes - 10 Likes Per Minute                                                                              � Start Time: Instant
                                                                2.50            50           5000                               � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 20
                                                                                                                                 � Maximum Order: 10,000

                                                                                                     � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                      For example, an order of 1000 likes would have 10 likes sent every minute, so it
                                                                                                                        would take around 100 minutes to complete.

           160    Instagram Likes - 25 Likes Per Minute                                                                              � Start Time: Instant
                                                                2.50            50           5000                               � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 20
                                                                                                                                 � Maximum Order: 10,000

                                                                                                     � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                      For example, an order of 1000 likes would have 25 likes sent every minute, so it
                                                                                                                        would take around 40 minutes to complete.




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           ID       Service                                   Rate per 1000   Min order   Max order                                      Description


           161      Instagram Likes - 50 Likes Per Minute                                                                             � Start Time: Instant
                                                                   2.50            50          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 50 likes sent every minute, so it
                                                                                                                          would take around 20 minutes to complete.

           162      Instagram Likes - 75 Likes Per Minute                                                                             � Start Time: Instant
                                                                   2.50           100          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 75 likes sent every minute, so it
                                                                                                                          would take around 13 minutes to complete.

           163      Instagram Likes - 100 Likes Per Minute                                                                            � Start Time: Instant
                                                                   2.50           100          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 100 likes sent every minute, so it
                                                                                                                          would take around 10 minutes to complete.

           154      Instagram Likes - 125 Likes Per Minute                                                                            � Start Time: Instant
                                                                   2.50           100          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 125 likes sent every minute, so it
                                                                                                                           would take around 8 minutes to complete.

           145      Instagram Likes - 150 Likes Per Minute                                                                            � Start Time: Instant
                                                                   2.50           100          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 150 likes sent every minute, so it
                                                                                                                           would take around 7 minutes to complete.

           144      Instagram Likes - 175 Likes Per Minute                                                                            � Start Time: Instant
                                                                   2.50           100          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 175 likes sent every minute, so it
                                                                                                                           would take around 6 minutes to complete.

           143      Instagram Likes - 200 Likes Per Minute                                                                            � Start Time: Instant
                                                                   2.50           100          5000                              � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 20
                                                                                                                                  � Maximum Order: 10,000

                                                                                                       � Likes are sent each minute in a drip feed fashion, instead of all at the same time.
                                                                                                        For example, an order of 1000 likes would have 200 likes sent every minute, so it
                                                                                                                           would take around 5 minutes to complete.



                                 Instant                    Instagram Likes - Country Targeted

           40       Arab Instagram Likes                                                                                              � Start Time: Instant
                                                                   5.50           100          10000                             � Speed per day: 1,500 Likes
                                                                                                                                 � Lifetime non drop guarantee
                                                                                                                                     � Minimum Order: 50
                                                                                                                                   � Maximum Order: 1,500

           2479     Arab Instagram Auto Likes                                                                                         � Start Time: Instant
                                                                   5.50           100          10000                             � Speed per day: 1,500 Likes
                                                                                                                                 � Lifetime non drop guarantee
                                                                                                                                    � Minimum Order: 100
                                                                                                                                  � Maximum Order: 10,000



                                 Instant                    Instagram Views & Story Views




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           ID     Service                                       Rate per 1000   Min order   Max order                             Description


           2824   Instagram Story Swipe Ups - Link Clicks                                                                   � Start Time: Instant Start
                                                                     2.80           100           100000                 � Speed per Minute: 1,000 Swipes
                                                                                                                          � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 100
                                                                                                                           � Maximum Order: 100,000

                                                                                                                      �Only add the story Link don't add username
                                                                                                            https://instagram.com/stories/username/2290770508189607857/

           180    Instagram Views - �                                                                                           � Start Time: Instant
                                                                     0.14           100          10000000                 � Speed per Hour: 500,000 Views
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           43     Instagram Views S2 - �                                                                                       � Start Time: Instant
                                                                     0.10           100          10000000                 � Speed per Hour: 5,000 Views
                                                                                                                          � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           1364   Ultrafast Instagram Views                                                                                     � Start Time: Instant
                                                                     0.15           200          2500000                  � Speed per Hour: 700,000 Views
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 200
                                                                                                                          � Maximum Order: 100,000,000

           400    Instagram Auto Views                                                                                         � Start Time: Instant
                                                                     0.40           100          10000000                 � Speed per Hour: 5,000 Views
                                                                                                                          � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           213    � USA Instagram Views HQ - �                                                                                 � Start Time: Instant
                                                                     0.55           200          1000000                  � Speed per Hour: 5,000 Views
                                                                                                                          � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           216    Arab Instagram Views HQ - �                                                                                  � Start Time: Instant
                                                                     0.55           100       100000000                   � Speed per Hour: 5,000 Views
                                                                                                                          � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           479    Instagram Views + Impressions - �                                                                            � Start Time: Instant
                                                                     0.20           100       100000000                   � Speed per Hour: 2,000 Views
                                                                                                                          � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           1157   Instagram Views + Impressions From Explore                                                                    � Start Time: Instant
                                                                     0.20           100          10000000                 � Speed per Hour: 500,000 Views
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                           � Maximum Order: 10,000,000

           1158   Instagram Views + Impressions From Home                                                                       � Start Time: Instant
                                                                     0.20           100       100000000                   � Speed per Hour: 500,000 Views
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           1159   Instagram Views + Impressions From Location                                                                   � Start Time: Instant
                                                                     0.20           100          10000000                 � Speed per Hour: 500,000 Views
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                           � Maximum Order: 10,000,000

           1156   Instagram Views + Impressions From                                                                            � Start Time: Instant
                  Explore/Home/Location/Profile                      0.20           100       100000000                   � Speed per Hour: 500,000 Views
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000




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           ID     Service                                             Rate per 1000   Min order   Max order                           Description


           723    Instagram Story Views - All Stories                                                                             �Enter username only
                                                                           1.40           100           100000
                                                                                                                                   � Start Time: Instant
                                                                                                                             � Speed per Hour: 100,000 Views
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                               � Maximum Order: 100,000

           2464   Instagram Story Views - All Stories S2                                                                          �Enter username only
                                                                           1.00           100           150000
                                                                                                                                  � Start Time: Instant
                                                                                                                              � Speed per Hour: 10,000 Views
                                                                                                                                  � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 80,000

           512    Instagram Story Views - Last story                                                                              �Enter username only
                                                                           0.50           100            5000
                                                                                                                                  � Start Time: Instant
                                                                                                                              � Speed per Hour: 10,000 Views
                                                                                                                                  � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 20,000

           2576   Instagram Story Poll Vote S2                                                                                    � Start Time: Instant
                                                                           2.40           100            2000                  � Speed per Hour: 100 Votes
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 2,000

                                                                                                                      �Link Example for Option 1: USERNAME?vote=1
                                                                                                                      �Link Example for Option 2: USERNAME?vote=2

           726    Instagram Story Poll Vote                                                                                       � Start Time: Instant
                                                                           6.50           100           30000                 � Speed per Hour: 30,000 Votes
                                                                                                                                  � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 30,000

                                                                                                                      �Link Example for Option 1: USERNAME?vote=1
                                                                                                                      �Link Example for Option 2: USERNAME?vote=2

           1160   Instagram Story Views - Male                                                                                    �Enter username only
                                                                           2.00            20           30000
                                                                                                                                   � Start Time: Instant
                                                                                                                              � Speed per Hour: 30,000 Views
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                  � Minimum Order: 20
                                                                                                                                � Maximum Order: 30,000

           1161   Instagram Story Views - Female                                                                                  �Enter username only
                                                                           2.00            20           30000
                                                                                                                                   � Start Time: Instant
                                                                                                                              � Speed per Hour: 30,000 Views
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                  � Minimum Order: 20
                                                                                                                                � Maximum Order: 30,000

           2480   Instagram Impressions + Profile Visit + Discover                                                                 � Start Time: Instant
                                                                           0.20           100       100000000                 � Speed per Hour: 1000-10000
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                              � Maximum Order: 10,000,000

           2869   Video Views + Impressions + Profile Visits                                                                      � Start Time: Instant
                                                                          0.028           100          10000000              � Speed per Hour: 100,000 views
                                                                                                                             � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                              � Maximum Order: 10,000,000



                               Instant                              ♛ Instagram Impressions & Reach

           1150   Instagram Photo Reach - �                                                                                        � Start Time: Instant
                                                                           1.00           100           15000                  � Speed per Hour: 15,000
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                               � Maximum Order: 15,000

                                                                                                                  �Stats will update within 30 minutes of order completion




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           ID     Service                                            Rate per 1000   Min order   Max order                          Description


           1151   Instagram Video Reach - �                                                                                      � Start Time: Instant
                                                                          1.00           100           15000                 � Speed per Hour: 15,000
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                               � Minimum Order: 100
                                                                                                                             � Maximum Order: 15,000

                                                                                                                �Stats will update within 30 minutes of order completion

           1152   Instagram Auto Photo Reach                                                                                     � Start Time: Instant
                                                                          1.00           100           30000                 � Speed per Hour: 30,000
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                               � Minimum Order: 100
                                                                                                                             � Maximum Order: 30,000

                                                                                                                �Stats will update within 30 minutes of order completion

           197    Instagram Impressions + Profile Visits                                                                      � Start Time: 0-24 hours
                                                                          0.70           100           50000                � Lifetime non drop guarantee
                                                                                                                               � Minimum Order: 250
                                                                                                                             � Maximum Order: 250,000

           336    Fast Instagram Impressions + Profile Visits - �                                                                � Start Time: Instant
                                                                          0.76           100           50000                 � Speed per Hour: 500,000
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                               � Minimum Order: 250
                                                                                                                             � Maximum Order: 250,000

           1153   Instagram Video Reach                                                                                          � Start Time: Instant
                                                                          1.00           100           30000                 � Speed per Hour: 30,000
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                               � Minimum Order: 100
                                                                                                                             � Maximum Order: 30,000

                                                                                                                �Stats will update within 30 minutes of order completion

           2565   Instagram Profile Visits                                                                                      � Start Time: Instant
                                                                          0.28           100          100000             � Speed per Hour: 2,000 Profile Visits
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                             � Maximum Order: 100,000

           2858   Instagram Auto Impressions
                                                                          0.30           100          1000000




                               Instant                             Instagram Comments

           381    Custom HQ Instagram Comments                                                                             �Do not use @ in the comments*
                                                                          70.00           5            1000
                                                                                                                                � Start Time: Instant
                                                                                                                          � Speed per Day: 1,000 Comments
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 5
                                                                                                                             � Maximum Order: 100,000

           853    Real Random Positive Comments - 50 Max                                                                         � Start Time: Instant
                                                                          47.25           5            1000                 � Speed per Day: 50 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 5
                                                                                                                                � Maximum Order: 50

           474    Instagram Auto Comments HQ                                                                                   � Start Time: 0-1 hour
                                                                          40.00           5             100                � Speed per Day: 100 Comments
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 5
                                                                                                                               � Maximum Order: 100

           2888   Instagram Emoji Comments                                                                                    � Start Time: 0-15 minutes
                                                                          47.25           5            1000                    � Speed per Day: 300
                                                                                                                               � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 5
                                                                                                                               � Maximum Order: 300



                               Instant                             Instagram Live




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           ID     Service                                       Rate per 1000   Min order   Max order             Description


           249    Instagram Live Likes                                                                         � Enter username only
                                                                     1.20           200          10000
                                                                                                                � Start Time: Instant
                                                                                                           � Speed per Hour: 10,000 Likes
                                                                                                           � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 200
                                                                                                            � Maximum Order: 10,000

           656    Instagram Live Likes S2                                                                      � Enter username only
                                                                     0.45           200          10000
                                                                                                                � Start Time: Instant
                                                                                                           � Speed per Hour: 10,000 Likes
                                                                                                           � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 200
                                                                                                            � Maximum Order: 10,000

           244    ♛ Instagram Live Views + Likes + Comments -                                                  � Enter username only
                  20k Max                                            9.00            20          20000
                                                                                                                � Start Time: Instant
                                                                                                           � Speed per Hour: 4,000 Views
                                                                                                           � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 20
                                                                                                            � Maximum Order: 20,000

           657    Instagram Live Video Random Emoji + Text                                                     � Enter username only
                  Comments                                          35.00            50          2000
                                                                                                               � Start Time: Instant
                                                                                                         � Speed per Hour: 2,000 Comments
                                                                                                          � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 50
                                                                                                             � Maximum Order: 2,000

           659    Instagram Live Video Male Random Emoji +                                                     � Enter username only
                  Text Comments                                     14.00            50          2000
                                                                                                               � Start Time: Instant
                                                                                                         � Speed per Hour: 2,000 Comments
                                                                                                          � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 50
                                                                                                             � Maximum Order: 2,000

           658    Instagram Live Video Female Random Emoji +                                                   � Enter username only
                  Text Comments                                     14.00            50          2000
                                                                                                               � Start Time: Instant
                                                                                                         � Speed per Hour: 2,000 Comments
                                                                                                          � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 50
                                                                                                             � Maximum Order: 2,000

           120    Instagram Live Video Custom Comments                                                         � Start Time: Instant
                                                                    20.00            10          1000    � Speed per Day: 1,000 Comments
                                                                                                          � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 10
                                                                                                             � Maximum Order: 1,000

           119    Instagram Live Video Random Comments                                                         � Start Time: Instant
                                                                    50.00            50          2000    � Speed per Day: 1,000 Comments
                                                                                                          � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 50
                                                                                                             � Maximum Order: 2,000

           2457   Instagram Live Random Emoji Comments                                                         � Enter username only
                                                                     6.50            50          2000
                                                                                                               � Start Time: Instant
                                                                                                         � Speed per Hour: 2,000 Comments
                                                                                                          � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 50
                                                                                                             � Maximum Order: 2,000

           2862   Live Viewers for 10 minutes + Heart Likes +                                                   � Start Time: Instant
                  Emoji Comments                                     1.40            10          10000       � 10 minutes Live Views
                                                                                                           � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 10
                                                                                                            � Maximum Order: 10,000

           2863   Live Viewers for 20 minutes + Heart Likes +                                                   � Start Time: Instant
                  Emoji Comments                                     2.80            10          10000       � 20 minutes Live Views
                                                                                                           � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 10
                                                                                                            � Maximum Order: 10,000




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           ID     Service                                       Rate per 1000   Min order   Max order           Description


           2864   Live Viewers for 30 minutes + Heart Likes +                                                 � Start Time: Instant
                  Emoji Comments                                     4.20            10          10000     � 30 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 10
                                                                                                          � Maximum Order: 10,000

           2865   Live Viewers for 40 minutes + Heart Likes +                                                 � Start Time: Instant
                  Emoji Comments                                     5.60            10          10000     � 40 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 10
                                                                                                          � Maximum Order: 10,000

           2866   Live Viewers for 50 minutes + Heart Likes +                                                 � Start Time: Instant
                  Emoji Comments                                     7.00            10          10000     � 50 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 10
                                                                                                          � Maximum Order: 10,000

           2867   Live Viewers for 60 minutes + Heart Likes +                                                 � Start Time: Instant
                  Emoji Comments                                     8.40            10          10000     � 60 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 10
                                                                                                          � Maximum Order: 10,000

           2924   Instagram Live Viewers For 60 Minutes                                                       � Start Time: Instant
                                                                    11.27            20          2000      � 60 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 20
                                                                                                           � Maximum Order: 2000

                                                                                                            � Enter username only

           2925   Instagram Live Viewers For 50 Minutes                                                       � Start Time: Instant
                                                                     9.45            20          2000      � 50 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 20
                                                                                                           � Maximum Order: 2000

                                                                                                            � Enter username only

           2926   Instagram Live Viewers For 40 Minutes                                                       � Start Time: Instant
                                                                     8.05            20          2000      � 40 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 20
                                                                                                           � Maximum Order: 2000

                                                                                                            � Enter username only

           2927   Instagram Live Viewers For 30 Minutes                                                       � Start Time: Instant
                                                                     6.55            20          2000      � 30 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 20
                                                                                                           � Maximum Order: 2000

                                                                                                            � Enter username only

           2928   Instagram Live Viewers For 20 Minutes                                                       � Start Time: Instant
                                                                     4.76            20          2000      � 20 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 20
                                                                                                           � Maximum Order: 2000

                                                                                                            � Enter username only

           2929   Instagram Live Viewers For 10 Minutes                                                       � Start Time: Instant
                                                                     3.08            20          2000      � 10 minutes Live Views
                                                                                                         � Lifetime non drop guarantee
                                                                                                             � Minimum Order: 20
                                                                                                           � Maximum Order: 2000

                                                                                                            � Enter username only

           2930   Instagram Live Video Views                                                                 � Start Time: Instant
                                                                     2.52           100           800       � No Refill/No Refund
                                                                                                            � Minimum Order: 100
                                                                                                            � Maximum Order: 800

                                                                                                            � Enter username only




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           ID       Service                                            Rate per 1000   Min order   Max order                                        Description



                                Instant                              Instagram TV

           719      Instagram TV Views S2                                                                                                      � Start Time: 0-1 hour
                                                                            0.07           3000         1000000                            � Speed per Hour: 50,000 Views
                                                                                                                                           � Lifetime non drop guarantee
                                                                                                                                              � Minimum Order: 1000
                                                                                                                                           � Maximum Order: 10,000,000

           343      Instagram TV Views                                                                                                         � Start Time: 0-1 hour
                                                                            0.15           100       100000000                             � Speed per Hour: 20,000 Views
                                                                                                                                           � Lifetime non drop guarantee
                                                                                                                                               � Minimum Order: 50
                                                                                                                                           � Maximum Order: 100,000,000

           1260     Instagram TV Views (Super Fast)                                                                                            � Start Time: 0-1 hour
                                                                            0.20           250          10000000                           � Speed per Hour: 50,000 Views
                                                                                                                                           � Lifetime non drop guarantee
                                                                                                                                              � Minimum Order: 250
                                                                                                                                           � Maximum Order: 10,000,000

           2458     Instagram TV Likes                                                                                                         � Start Time: 0-2 hour
                                                                            3.00           100           10000                              � Speed per Hour: 10,000 Likes
                                                                                                                                               � No Refill/No Refund
                                                                                                                                               � Minimum Order: 100
                                                                                                                                             � Maximum Order: 10,000



                                Instant                              ♛ Instagram Automatic Likes + Views

           64       80 Automatic Likes + Views for the next 30 days                                                                         0-24 hour initial activation time
                                                                            15.00           1              1                  Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                              Works on up to 2 posts a day
                                                                                                                                              Lifetime non drop guarantee

                                                                                                                   � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                         public

           65       150 Automatic Likes + Views for the next 30                                                                             0-24 hour initial activation time
                    days                                                    24.00           1              1                  Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                              Works on up to 2 posts a day
                                                                                                                                              Lifetime non drop guarantee

                                                                                                                   � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                         public

           66       300 Automatic Likes + Views for the next 30                                                                             0-24 hour initial activation time
                    days                                                    36.00           1              1                  Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                              Works on up to 2 posts a day
                                                                                                                                              Lifetime non drop guarantee

                                                                                                                   � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                         public

           81       600 Automatic Likes + Views for the next 30                                                                             0-24 hour initial activation time
                    days                                                    54.00           1              1                  Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                              Works on up to 2 posts a day
                                                                                                                                              Lifetime non drop guarantee

                                                                                                                   � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                         public

           82       1,500 Automatic Likes + Views for the next 30                                                                           0-24 hour initial activation time
                    days                                                    98.00           1              1                  Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                              Works on up to 2 posts a day
                                                                                                                                              Lifetime non drop guarantee

                                                                                                                   � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                         public

           67       2,200 Automatic Likes + Views for the next 30                                                                           0-24 hour initial activation time
                    days                                                   155.00           1              1                  Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                              Works on up to 2 posts a day
                                                                                                                                              Lifetime non drop guarantee

                                                                                                                   � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                         public




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           ID       Service                                           Rate per 1000   Min order   Max order                                    Description


           68       3,200 Automatic Likes + Views for the next 30                                                                      0-24 hour initial activation time
                    days                                                  185.00           1           1                 Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                         Works on up to 2 posts a day
                                                                                                                                         Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           69       5,500 Automatic Likes + Views for the next 30                                                                      0-24 hour initial activation time
                    days                                                  255.00           1           1                 Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                         Works on up to 2 posts a day
                                                                                                                                         Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           91       10,500 Automatic Likes + Views for the next 30                                                                     0-24 hour initial activation time
                    days                                                  380.00           1           1                 Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                         Works on up to 2 posts a day
                                                                                                                                         Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           865      25,000 Automatic Likes + Views for the next 30                                                                     0-24 hour initial activation time
                    days                                                  500.00           1           1                 Likes + Views start delivering within 0-15 minutes of posting
                                                                                                                                         Works on up to 2 posts a day
                                                                                                                                         Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public



                                Instant                             Instagram Automatic Views

           254      1,000 Instagram Auto Views for the next 30                                                                         0-24 hour initial activation time
                    days                                                   7.50            1           1                    Views start delivering within 0-15 minutes of posting
                                                                                                                                       Works on up to 20 posts a day
                                                                                                                                        Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           255      2,500 Instagram Auto Views for the next 30                                                                         0-24 hour initial activation time
                    days                                                   15.00           1           1                    Views start delivering within 0-15 minutes of posting
                                                                                                                                       Works on up to 20 posts a day
                                                                                                                                        Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           256      5,000 Instagram Auto Views for the next 30                                                                         0-24 hour initial activation time
                    days                                                   35.00           1           1                    Views start delivering within 0-15 minutes of posting
                                                                                                                                       Works on up to 20 posts a day
                                                                                                                                        Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           265      10,000 Instagram Auto Views for the next 30                                                                        0-24 hour initial activation time
                    days                                                   55.00           1           1                    Views start delivering within 0-15 minutes of posting
                                                                                                                                       Works on up to 20 posts a day
                                                                                                                                        Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public

           279      15,000 Instagram Auto Views for the next 30                                                                        0-24 hour initial activation time
                    days                                                   75.00           1           1                    Views start delivering within 0-15 minutes of posting
                                                                                                                                       Works on up to 20 posts a day
                                                                                                                                        Lifetime non drop guarantee

                                                                                                              � Please leave at least 10 minutes between posts & make sure the account remains
                                                                                                                                                    public



                                Instant                             TikTok Followers




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           ID     Service                          Rate per 1000   Min order   Max order                 Description


           1193   TikTok Followers                                                                    � Start Time: 0-1 hour
                                                        20.00           50            5000        � Speed per Day: 1,000-5,000
                                                                                                  � Lifetime non drop guarantee
                                                                                                      � Minimum Order: 50
                                                                                                   � Maximum Order: 350,000

           2885   ♛ HQ TikTok Followers                                                                � Start Time: Instant
                                                        8.40            50           10000          � Speed per Day: 10,000
                                                                                                  � Lifetime non drop guarantee
                                                                                                      � Minimum Order: 50
                                                                                                   � Maximum Order: 20,000

           802    TikTok Followers S2                                                                 � Start Time: 0-1 hour
                                                        5.00           100           100000          � Speed per Day: 5,000
                                                                                                  � Lifetime non drop guarantee
                                                                                                     � Minimum Order: 100
                                                                                                   � Maximum Order: 100,000

           2931   Real TikTok Followers                                                              � Start Time: 0-1 hour
                                                        10.80           50           10000     � Speed per Day: 300 - 400 Followers
                                                                                                    � 1 Year Refill guarantee
                                                                                                     � Minimum Order: 50
                                                                                                   � Maximum Order: 10,000



                                Instant          TikTok Likes

           2830   TikTok Likes S3                                                                    � Start Time: 0-1 hour
                                                        1.54           100            2500      � Speed per Day: 1000-2000 Likes
                                                                                                   � 30 Days Refill Guarantee
                                                                                                    � Minimum Order: 100
                                                                                                    � Maximum Order: 2500

           2884   ♛ HQ TikTok Likes + Views                                                            � Start Time: Instant
                                                        3.00            10           10000        � Speed per Day: 3,000-5,000
                                                                                                  � Lifetime non drop guarantee
                                                                                                      � Minimum Order: 10
                                                                                                    � Maximum Order: 5,000

           2691   TikTok Likes S2                                                                    � Start Time: 0-1 hour
                                                        4.90           100            3000           � Speed per Day: 3000
                                                                                                    � 30 Days Refill Guarantee
                                                                                                     � Minimum Order: 100
                                                                                                    � Maximum Order: 3000

           2932   Real TikTok Likes                                                                  � Start Time: 0-1 hour
                                                        10.80           50           10000       � Speed per Day: 300 - 400 Likes
                                                                                                    � 1 Year Refill guarantee
                                                                                                     � Minimum Order: 50
                                                                                                   � Maximum Order: 10,000

           1192   TikTok Likes                                                                        � Start Time: 0-1 hour
                                                        20.00           50           10000          � Speed per Day: 30,000
                                                                                                  � Lifetime non drop guarantee
                                                                                                      � Minimum Order: 50
                                                                                                   � Maximum Order: 350,000



                                Instant          TikTok Views And Comments

           1207   TikTok Video Views                                                                 � Start Time: 0-1 hour
                                                        0.10           100           500000     � Speed per Day: 100,000-500,000
                                                                                                 � Lifetime non drop guarantee
                                                                                                    � Minimum Order: 1,000
                                                                                                 � Maximum Order: 100,000,000

           2689   TikTok Video Views S2                                                              � Start Time: 0-1 hour
                                                        0.014          100      1000000000      � Speed per Day: 50,000-500,000
                                                                                                 � Lifetime non drop guarantee
                                                                                                   � Minimum Order: 5,000
                                                                                                � Maximum Order: 1,000,000,000

           2829   TikTok Video Views S3                                                               � Start Time: Instant
                                                        0.003          100          25000000      � Speed per Day: 5,000,000
                                                                                                 � Lifetime non drop guarantee
                                                                                                    � Minimum Order: 100
                                                                                                 � Maximum Order: 100,000,000




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           ID     Service                       Rate per 1000   Min order   Max order                                    Description


           803    TikTok Comments                                                                                   � Start Time: 0-2 hours
                                                    12.18            50          10000                           � Speed per Day: 3,000-5,000
                                                                                                                 � Lifetime non drop guarantee
                                                                                                                    � Minimum Order: 200
                                                                                                                  � Maximum Order: 50,000



                            Instant           ♻ TikTok Auto Growth | 10 Posts Max/Month

           2912   � Package #1                                                           � This will automatically boost your TikTok Posts for the next 10 posts you post
                                                    11.00           1000         1000    within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                       package will give you.

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                                 � Views Per Post: 1,000 - 1,200
                                                                                                                 � Likes Per Post: 100-125 Likes

                                                                                               � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020

           2913   � Package #2                                                           � This will automatically boost your TikTok Posts for the next 10 videos you post
                                                    33.00           1000         1000     within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                        package will give you.

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                                 � Views Per Post: 2,000 - 2,500
                                                                                                                � Likes Per Post: 225 - 250 Likes

                                                                                               � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020

           2914   � Package #3                                                           � This will automatically boost your TikTok Posts for the next 10 videos you post
                                                    66.00           1000         1000     within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                        package will give you.

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                                 � Views Per Post: 3,000 - 3,200
                                                                                                                � Likes Per Post: 300 - 350 Likes

                                                                                               � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020



                            Instant           ♻ TikTok Auto Growth | 30 Posts Max/Month

           2915   � Package #1                                                           � This will automatically boost your TikTok Posts for the next 30 posts you post
                                                    22.20           1000         1000    within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                       package will give you.

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                                 � Views Per Post: 1,000 - 1,200
                                                                                                                 � Likes Per Post: 100-125 Likes

                                                                                               � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020

           2916   � Package #2                                                           � This will automatically boost your TikTok Posts for the next 30 posts you post
                                                    66.60           1000         1000    within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                       package will give you.

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                                 � Views Per Post: 2,000 - 2,500
                                                                                                                � Likes Per Post: 225 - 250 Likes

                                                                                               � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020

           2917   � Package #3                                                           � This will automatically boost your TikTok Posts for the next 30 posts you post
                                                    133.20          1000         1000    within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                       package will give you.

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                                 � Views Per Post: 3,000 - 3,200
                                                                                                                � Likes Per Post: 300 - 350 Likes

                                                                                               � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020



                            Instant           ♻ TikTok Auto Growth | 60 Posts Max/Month




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           ID     Service                                     Rate per 1000   Min order   Max order                                     Description


           2918   � Package #1                                                                          � This will automatically boost your TikTok Posts for the next 60 posts you post
                                                                  30.50           1000         1000     within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                                      package will give you.

                                                                                                                            � Start Time: 0-15 minutes after posting
                                                                                                                                � Views Per Post: 1,000 - 1,200
                                                                                                                                � Likes Per Post: 100-125 Likes

                                                                                                              � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020

           2919   � Package #2                                                                          � This will automatically boost your TikTok Posts for the next 60 posts you post
                                                                  91.50           1000         1000     within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                                      package will give you.

                                                                                                                            � Start Time: 0-15 minutes after posting
                                                                                                                                � Views Per Post: 2,000 - 2,500
                                                                                                                               � Likes Per Post: 225 - 250 Likes

                                                                                                              � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020

           2920   � Package #3                                                                          � This will automatically boost your TikTok Posts for the next 60 posts you post
                                                                  183.00          1000         1000     within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                                      package will give you.

                                                                                                                            � Start Time: 0-15 minutes after posting
                                                                                                                                � Views Per Post: 3,000 - 3,200
                                                                                                                               � Likes Per Post: 300 - 350 Likes



                                                                                                              � Enter TikTok Link Format: https://www.tiktok.com/@cbynum2020



                              Instant                       � SEO service

           2358   � Increase Google Search Rankings - 3                                               � This service is performed in a 100% safe and manual procedure. We do NOT spam
                  Keywords �                                      100.00           1            1                                            links.

                                                                                                      � For this service, we manually create PBN (Private Blog Network) backlinks for your
                                                                                                        website. (Healthy White Hat SEO that boosts your Google rankings for up to 3
                                                                                                        Keywords). This service is guaranteed to boost your rankings or we refund your
                                                                                                        money. These links will have professionally written articles from our writers that
                                                                                                                              contain your website link + keywords.

                                                                                                                                   � Start Time: 0-48 hours
                                                                                                      � Results: Rankings take 2-3 weeks to effect but results are guaranteed. This service
                                                                                                                      should be ordered ONLY once per month, per URL.

                                                                                                                            � To order, please insert link as follows:

                                                                                                       Keyword1, Keyword2, Keyword3 - www.example.com - email(to receive your report
                                                                                                                                      upon delivery)

           2359   � Increase Google Search Rankings | .EDU                                            � This service is performed in a 100% safe and manual procedure. We do NOT spam
                  Backlinks �                                     30.00            1            1                                            links.

                                                                                                      � For this service, we manually create EDU backlinks for your website. EDU backlinks
                                                                                                      refer to links obtained on website domains with .EDU extension. ... This in turn makes
                                                                                                      people trust your site more as the same is conceived of your organization. Although
                                                                                                       Google fails to admit it, edu sites are very important and are therefore ranked quite
                                                                                                                                    highly in the search engines.

                                                                                                                                   � Start Time: 0-48 hours
                                                                                                      � Results: Rankings take 2-3 weeks to effect but results are guaranteed. This service
                                                                                                                      should be ordered ONLY once per month, per URL.

                                                                                                                            � To order, please insert link as follows:

                                                                                                       Keyword1, Keyword2, Keyword3 - www.example.com - email(to receive your report
                                                                                                                                      upon delivery)




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           ID     Service                                          Rate per 1000   Min order   Max order                                        Description


           2360   � Increase Google Search Rankings | .Wiki                                                  � This service is performed in a 100% safe and manual procedure. We do NOT spam
                  Backlinks �                                          30.00            1             1                                             links.

                                                                                                             � For this service, we manually create Wiki backlinks for your website. Google grants
                                                                                                              huge authority to these Wiki backlinks. Meaning if you buy Wiki backlinks, you get
                                                                                                             backlinks from unique articles with niche related content. And if getting a ton of high
                                                                                                               quality backlinks at an affordable price isn't too much of a steal already for you,
                                                                                                                   purchasing this service will increase search rankings for specific keywords.

                                                                                                                                          � Start Time: 0-48 hours
                                                                                                             � Results: Rankings take 2-3 weeks to effect but results are guaranteed. This service
                                                                                                                             should be ordered ONLY once per month, per URL.

                                                                                                                                   � To order, please insert link as follows:

                                                                                                              Keyword1, Keyword2, Keyword3 - www.example.com - email(to receive your report
                                                                                                                                             upon delivery)

           2361   � Increase Google Search Rankings |                                                        � This service is performed in a 100% safe and manual procedure. We do NOT spam
                  DOFOLLOW Backlinks �                                 30.00            1             1                                             links.

                                                                                                                � For this service, we manually create DOFOLLOW backlinks for your website.
                                                                                                               DOFOLLOW backlinks allow Google, or whatever search engine is being used, to
                                                                                                              follow them and reach your website. Basically, these are links that will pass on the
                                                                                                             SEO benefits of the website where it is built from to the hyperlinked website. ... This
                                                                                                                       will improve its ranking position significantly in search engines.

                                                                                                                                          � Start Time: 0-48 hours
                                                                                                             � Results: Rankings take 2-3 weeks to effect but results are guaranteed. This service
                                                                                                                             should be ordered ONLY once per month, per URL.

                                                                                                                                   � To order, please insert link as follows:

                                                                                                              Keyword1, Keyword2, Keyword3 - www.example.com - email(to receive your report
                                                                                                                                             upon delivery)



                              Instant                           Facebook Page Likes

           1025   ♛ Real Facebook Page Likes - 50k Max                                                                                     � Start Time: 0-6 hours
                                                                        9.00           500          50000                               � Speed per Day: 5,000-10,000
                                                                                                                                           � Refill Time: 30 Days
                                                                                                                                           � Minimum Order: 500
                                                                                                                                         � Maximum Order: 50,000

           2317   ♛ Instant Real Facebook Page Likes                                                                                     � Start Time: 0-30 minutes
                                                                       11.00           100          75000                             � Speed per Day: 3,000-5,000 Likes
                                                                                                                                           � Refill Time: 45 Days
                                                                                                                                           � Minimum Order: 500
                                                                                                                                         � Maximum Order: 75,000

           1347   Real Facebook Page Likes - Lifetime Guaranteed                                                                           � Start Time: 0-48 hours
                                                                       10.00            5            5000                                 � Speed per Day: 500 Likes
                                                                                                                                           � Lifetime Guaranteed
                                                                                                                                            � Minimum Order: 5
                                                                                                                                          � Maximum Order: 2,000



                              Instant                           Facebook Page Likes - Country Targeted

           2763   � USA Targeted Facebook Likes                                                                                           � Start Time: 0-24 hours
                                                                       84.00            50           4000                                � Speed per Day: 10-50 Likes
                                                                                                                                            � Refill Time: 30 Days
                                                                                                                                            � Minimum Order: 50
                                                                                                                                          � Maximum Order: 4,000

           2764   � USA Facebook Page Likes - 100% Real - Ads                                                                             � Start Time: 0-24 hours
                  Method                                               490.00          100          100000                             � Speed per Day: 100-200 Likes
                                                                                                                                           � Refill Time: 30 Days
                                                                                                                                          � Minimum Order: 100
                                                                                                                                        � Maximum Order: 100000

           2765   Gulf Facebook Likes - 100% Real - Ads Method                                                                            � Start Time: 0-24 hours
                                                                       252.00          200          100000                             � Speed per Day: 100-200 Likes
                                                                                                                                           � Refill Time: 30 Days
                                                                                                                                          � Minimum Order: 200
                                                                                                                                        � Maximum Order: 100,000

                                                                                                             �Likes are from GCC / Gulf Countries: Saudi Arabia, United Arabs of Emirates, Qatar,
                                                                                                                                        Kuwait, Bahrain, and Oman.




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           ID     Service                                        Rate per 1000   Min order   Max order                                       Description


           2766   Mixed America Facebook Likes 100% Real - Ads                                                                          � Start Time: 0-24 hours
                  Method                                             112.00          500           50000                             � Speed per Day: 100-200 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 500
                                                                                                                                       � Maximum Order: 50,000



                                                                                                            �Likes are from North & South America - USA & Canada are included, an average of
                                                                                                                                              20% (+/-)

           2767   �Europe Facebook Likes 100% Real - Ads                                                                                � Start Time: 0-24 hours
                  Method                                             308.00          500          200000                             � Speed per Day: 100-200 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                      � Maximum Order: 200000

           2768   VIP Countries Facebook Likes 100% Real - Ads                                                                          � Start Time: 0-24 hours
                  Method                                             420.00           50           10000                             � Speed per Day: 100-200 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                         � Minimum Order: 50
                                                                                                                                       � Maximum Order: 10000



                                                                                                            �100% real likes, ads method. Likes from USA, UK, FRANCE, CANADA, & AUSTRALIA.

           2769   Latin America Facebook Likes 100% Real - Ads                                                                          � Start Time: 0-24 hours
                  Method                                             63.00           500           50000                             � Speed per Day: 100-200 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 500
                                                                                                                                       � Maximum Order: 50000

           2770   �France Facebook Likes 100% Real - Ads                                                                                � Start Time: 0-24 hours
                  Method                                             112.00          1000         100000                             � Speed per Day: 100-200 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 500
                                                                                                                                      � Maximum Order: 100,000

           2771   East Asia Facebook Likes 100% Real - Ads                                                                              � Start Time: 0-24 hours
                  Method                                             77.00           500          100000                             � Speed per Day: 300-500 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 500
                                                                                                                                      � Maximum Order: 100000

                                                                                                               �Likes will be from Countries like: Thailand, Korea, Japan, China, Hong Kong,
                                                                                                                 Indonesia, Malaysia, Myanmar, Philippines, Singapore, Taiwan, Vietnam.

           2772   �Germany Facebook Likes 100% Real - Ads                                                                              � Start Time: 0-24 hours
                  Method                                             700.00          500          1000000                           � Speed per Day: 400-1000 Likes
                                                                                                                                        � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                     � Maximum Order: 1000000

           2773   �UK Facebook Likes 100% Real - Ads Method                                                                             � Start Time: 0-24 hours
                                                                     588.00          200          1000000                            � Speed per Day: 400-700 Likes
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                      � Maximum Order: 1000000

           2774   �Italy Facebook Likes 100% Real - Ads Method                                                                         � Start Time: 0-24 hours
                                                                     308.00          200          100000                            � Speed per Day: 400-1000 Likes
                                                                                                                                        � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                      � Maximum Order: 100000

           2775   � Israel Facebook Likes 100% Real - Ads                                                                              � Start Time: 0-24 hours
                  Method                                             420.00          200          100000                            � Speed per Day: 400-1000 Likes
                                                                                                                                        � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                      � Maximum Order: 100000

           2777   African French Speaking Facebook Likes 100%                                                                          � Start Time: 0-24 hours
                  Real - Ads Method                                  112.00          500          100000                            � Speed per Day: 400-1000 Likes
                                                                                                                                        � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                      � Maximum Order: 100000

                                                                                                               �From Countries: Burundi, Chad, Congo Republic of the, Equatorial Guinea,
                                                                                                              Madagascar, Morocco, Rwanda, Togo, Benin, Cameroon, Comoros, Côte d'Ivoire,
                                                                                                              Gabon, Mali, Niger, Senegal, Burkina Faso, Central African Republic, Democratic
                                                                                                                 Republic of the Congo, Djibouti, Guinea, Mauritius, Réunion, Seychelles.




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           ID      Service                                       Rate per 1000   Min order   Max order                                 Description


           2778    Real Arab Facebook Likes                                                                                       � Start Time: 24-48 hours
                                                                      84.00          100          3000                         � Speed per Day: 200-1000 Likes
                                                                                                                                   � No Refill/No Refund
                                                                                                                                   � Minimum Order: 100
                                                                                                                                  � Maximum Order: 3000



                                Instant                        Facebook Post Likes & Reactions

           2487    Facebook Post Likes - 9k Max - No Refill                                               *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                      3.65            50          9000
                                                                                                                                    � Start Time: Instant
                                                                                                                                 � Speed per Day: 500-1,000
                                                                                                                                   � No Refill/No Refund
                                                                                                                                   � Minimum Order: 50
                                                                                                                                  � Maximum Order: 9,000

           2720    Facebook Post Likes - 10k Max - No Refill                                                                        � Start Time: Instant
                                                                      4.00            20          10000                           � Speed per Day: 10,000
                                                                                                                                   � No Refill/No Refund
                                                                                                                                   � Minimum Order: 50
                                                                                                                                  � Maximum Order: 10,000

                                                                                                                            �Only Works On Facebook Page Posts

           9       Facebook Post Likes - 10k Max                                                                                    � Start Time: Instant
                                                                      4.60           100          15000                            � Speed per Day: 5,000
                                                                                                                                  � 60 Days Refill Guarantee
                                                                                                                                   � Minimum Order: 50
                                                                                                                                  � Maximum Order: 10,000

           2396    Facebook Post Likes - 5k Max                                                           *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                      5.50            50          5000
                                                                                                                                  � Start Time: 0-6 hours
                                                                                                                                 � Speed per Day: 500-1,000
                                                                                                                                 � 30 Days Refill Guarantee
                                                                                                                                  � Minimum Order: 100
                                                                                                                                  � Maximum Order: 5,000

           1275    Real Facebook Post Shares                                                                                      � Start Time: 0-24 hours
                                                                      13.00           30          1000                            � Speed per Day: 50-200
                                                                                                                                  � 30 Days refill guarantee
                                                                                                                                   � Minimum Order: 30
                                                                                                                                  � Maximum Order: 1,000

           2397    Facebook Post Likes - 5.5k Max - No Refill                                             *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                      2.60           100          5500
                                                                                                                                  � Start Time: 0-6 hours
                                                                                                                                 � Speed per Day: 500-1,000
                                                                                                                                   � No Refill/No Refund
                                                                                                                                  � Minimum Order: 100
                                                                                                                                  � Maximum Order: 5,000

           1889    Real Facebook Post Likes - 5k Max                                                                              � Start Time: 0-24 hours
                                                                      10.00           50          5000                         � Speed per Day: 100-500 Likes
                                                                                                                                  � Lifetime Guaranteed
                                                                                                                                   � Minimum Order: 50
                                                                                                                                 � Maximum Order: 5,000

           2387    Asian Facebook Post Likes(India,Pakistan                                               *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                   Bangladesh)                                        7.50           100          5000
                                                                                                                                  � Start Time: 0-12 hours
                                                                                                                                 � Speed per Day: 500-1,000
                                                                                                                                 � 30 Days Refill Guarantee
                                                                                                                                  � Minimum Order: 100
                                                                                                                                  � Maximum Order: 5,000

           520     Facebook Post Love Reactions �                                                         *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                      6.50            25          2000
                                                                                                                                   � Start Time: 0-1 hour
                                                                                                                                  � Speed per Day: 2,000
                                                                                                                                   � Lifetime Guaranteed
                                                                                                                                   � Minimum Order: 25
                                                                                                                                  � Maximum Order: 2,000

           2398    Facebook - Comment or Album Likes                                                                              � Start Time: 0-12 Hours
                                                                      9.00           100          8000                           � Speed per day: 1,000 Likes
                                                                                                                                  � 30 Days refill guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                  � Maximum Order: 8,000




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           ID     Service                               Rate per 1000   Min order   Max order                                  Description


           2382   Facebook Post Love Reactions S2 �                                               *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             5.70           100          5000
                                                                                                                          � Start Time: 0-6 hours
                                                                                                                         � Speed per Day: 500-1,000
                                                                                                                         � 30 Days Refill Guarantee
                                                                                                                          � Minimum Order: 100
                                                                                                                          � Maximum Order: 5,000

           524    Facebook Post Haha Reactions �                                                  *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             6.50            25          2000
                                                                                                                           � Start Time: 0-1 hour
                                                                                                                          � Speed per Day: 2,000
                                                                                                                           � Lifetime Guaranteed
                                                                                                                           � Minimum Order: 25
                                                                                                                          � Maximum Order: 2,000

           2383   Facebook Post Haha Reactions S2 �                                               *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             5.70           100          5000
                                                                                                                          � Start Time: 0-6 hours
                                                                                                                         � Speed per Day: 500-1,000
                                                                                                                         � 30 Days Refill Guarantee
                                                                                                                          � Minimum Order: 100
                                                                                                                          � Maximum Order: 5,000

           2384   Facebook Post Wow Reactions S2 �                                                *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             5.70           100          5000
                                                                                                                          � Start Time: 0-6 hours
                                                                                                                         � Speed per Day: 500-1,000
                                                                                                                         � 30 Days Refill Guarantee
                                                                                                                          � Minimum Order: 100
                                                                                                                          � Maximum Order: 5,000

           523    Facebook Post Sad Reactions �                                                   *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             6.50            25          2000
                                                                                                                           � Start Time: 0-1 hour
                                                                                                                          � Speed per Day: 2,000
                                                                                                                           � Lifetime Guaranteed
                                                                                                                           � Minimum Order: 25
                                                                                                                          � Maximum Order: 2,000

           2385   Facebook Post Sad Reactions S2 �                                                *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             5.70           100          5000
                                                                                                                          � Start Time: 0-6 hours
                                                                                                                         � Speed per Day: 500-1,000
                                                                                                                         � 30 Days Refill Guarantee
                                                                                                                          � Minimum Order: 100
                                                                                                                          � Maximum Order: 5,000

           522    Facebook Post Angry Reactions �                                                 *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             6.50            25          2000
                                                                                                                           � Start Time: 0-1 hour
                                                                                                                          � Speed per Day: 2,000
                                                                                                                           � Lifetime Guaranteed
                                                                                                                           � Minimum Order: 25
                                                                                                                          � Maximum Order: 2,000

           2386   Facebook Post Angry Reactions S2 �                                              *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                             5.70           100          5000
                                                                                                                          � Start Time: 0-6 hours
                                                                                                                         � Speed per Day: 500-1,000
                                                                                                                         � 30 Days Refill Guarantee
                                                                                                                          � Minimum Order: 100
                                                                                                                          � Maximum Order: 5,000

           585    Facebook Post Shares                                                                                    � Start Time: 0-6 hours
                                                             8.10            25       100000000                         � Speed per Day: 1,000-5,000
                                                                                                                         � 30 Days refill guarantee
                                                                                                                           � Minimum Order: 30
                                                                                                                         � Maximum Order: 1,000



                             Instant                  Facebook Comments

           1209   Facebook Comments - ♻                                                                                   � Start Time: 0-24 hours
                                                            40.00            20          500                              � Speed per Day: 10-100
                                                                                                                          � 30 Days refill guarantee
                                                                                                                           � Minimum Order: 10
                                                                                                                           � Maximum Order: 100




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           ID     Service                                    Rate per 1000   Min order   Max order                   Description


           2454   Male Facebook Custom Comments                                                                 � Start Time: 0-6 hours
                                                                  77.00           10           100              � Speed per Day: 10-100
                                                                                                                 � No Refill/No Refund
                                                                                                                 � Minimum Order: 10
                                                                                                                � Maximum Order: 100

           2455   Female Facebook Custom Comments                                                               � Start Time: 0-6 hours
                                                                  77.00           10           100              � Speed per Day: 10-100
                                                                                                                 � No Refill/No Refund
                                                                                                                 � Minimum Order: 10
                                                                                                                � Maximum Order: 100

           383    Arab Facebook Custom Comments - 500 Max                                                      � Start Time: 0-24 hours
                                                                  38.00           20           500          � Speed per Day: 100 Comments
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 20
                                                                                                                � Maximum Order: 500

           2450   � Indian Facebook Random Comments                                                             � Start Time: 0-6 hours
                                                                  56.00           10           30               � Speed per Day: 10-100
                                                                                                                 � No Refill/No Refund
                                                                                                                 � Minimum Order: 10
                                                                                                                � Maximum Order: 100

           2451   � Indian Facebook Custom Comments                                                             � Start Time: 0-6 hours
                                                                  84.00           10           30               � Speed per Day: 10-100
                                                                                                                 � No Refill/No Refund
                                                                                                                 � Minimum Order: 10
                                                                                                                � Maximum Order: 100

           2390   � Indian Facebook Custom Comments S2                                                           � Start Time: 0-6 hours
                                                                  60.00           10           100              � Speed per Day: 200-500
                                                                                                                � 30 Days refill guarantee
                                                                                                                 � Minimum Order: 10
                                                                                                                 � Maximum Order: 100

           2391   � Facebook Custom Male Indian Comments                                                         � Start Time: 0-6 hours
                                                                  75.00           10           100              � Speed per Day: 200-500
                                                                                                                 � Refill Time: 30 Days
                                                                                                                 � Minimum Order: 10
                                                                                                                 � Maximum Order: 100



                              Instant                      Facebook Events

           128    Facebook Event Interested                                                                       � Start Time: Instant
                                                                  7.00           100          25000             � Speed per Day: 1,000
                                                                                                             � Lifetime non drop guarantee
                                                                                                                  � Minimum Order: 5
                                                                                                               � Maximum Order: 2,000

           129    Facebook Event Join/Confirmed                                                                   � Start Time: Instant
                                                                  7.00           100          25000             � Speed per Day: 1,000
                                                                                                             � Lifetime non drop guarantee
                                                                                                                  � Minimum Order: 5
                                                                                                               � Maximum Order: 2,000

           640    Facebook Event Interested S2                                                                 � Start Time: 0-12 hours
                                                                  11.00           20          5000               � Speed per Day: 250
                                                                                                             � Lifetime non drop guarantee
                                                                                                                 � Minimum Order: 20
                                                                                                               � Maximum Order: 5,000

           641    Facebook Event Join/Confirmed S2                                                             � Start Time: 0-12 hours
                                                                  11.00           20          5000               � Speed per Day: 250
                                                                                                             � Lifetime non drop guarantee
                                                                                                                 � Minimum Order: 20
                                                                                                               � Maximum Order: 5,000



                              Instant                      Facebook Views & Live Video Videos

           932    Facebook Video Views                                                                            � Start Time: Instant
                                                                  0.20           500      1000000000   � Speed per Day: 100,000-300,000 Real Views
                                                                                                             � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 500
                                                                                                            � Maximum Order:1,000,000,000




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           ID     Service                                        Rate per 1000   Min order   Max order                           Description


           2839   Facebook - Video Views - 3 Second Watch Time                                                                � Start Time: Instant
                                                                      0.70           500          10000000          � Speed per Day: 5,000-100,000 Real Views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                            � Minimum Order: 500
                                                                                                                          � Maximum Order:1,000,000

           2840   Facebook - Video Views - 1 Minute Watch Time                                                                � Start Time: Instant
                                                                      0.98           500          10000000          � Speed per Day: 5,000-100,000 Real Views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                            � Minimum Order: 500
                                                                                                                          � Maximum Order:1,000,000

           406    Facebook Live Video Stream - 30 Minutes                                                                  � Start Time: 0-15 minutes
                                                                     32.30            50            2000                � 30 minutes watch time real views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 50
                                                                                                                            � Maximum Order:5,000

                                                                                                                 �Now you must order facebook Livestream Format:
                                                                                                                      https://www.facebook.com/user/videos/ID
                                                                                                               Facebook is updating, other formats may be corrupted:
                                                                                                                  m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                             If the format is wrong, order may cost you 3-5 minutes fee

           407    Facebook Live Video Stream - 60 Minutes                                                                  � Start Time: 0-15 minutes
                                                                     65.00            50            2000                � 60 minutes watch time real views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 50
                                                                                                                            � Maximum Order:5,000

                                                                                                                 �Now you must order facebook Livestream Format:
                                                                                                                      https://www.facebook.com/user/videos/ID
                                                                                                               Facebook is updating, other formats may be corrupted:
                                                                                                                  m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                             If the format is wrong, order may cost you 3-5 minutes fee

           408    Facebook Live Video Stream - 90 Minutes                                                                  � Start Time: 0-15 minutes
                                                                     97.00            50            2000                � 90 minutes watch time real views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 50
                                                                                                                            � Maximum Order:5,000

                                                                                                                 �Now you must order facebook Livestream Format:
                                                                                                                      https://www.facebook.com/user/videos/ID
                                                                                                               Facebook is updating, other formats may be corrupted:
                                                                                                                  m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                             If the format is wrong, order may cost you 3-5 minutes fee

           409    Facebook Live Video Stream - 120 Minutes                                                                 � Start Time: 0-15 minutes
                                                                     129.00           50            2000               � 120 minutes watch time real views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 50
                                                                                                                            � Maximum Order:5,000

                                                                                                                 �Now you must order facebook Livestream Format:
                                                                                                                      https://www.facebook.com/user/videos/ID
                                                                                                               Facebook is updating, other formats may be corrupted:
                                                                                                                  m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                             If the format is wrong, order may cost you 3-5 minutes fee

           410    Facebook Live Video Stream - 150 Minutes                                                                 � Start Time: 0-15 minutes
                                                                     162.00           50            2000               � 150 minutes watch time real views
                                                                                                                         � Lifetime non drop guarantee
                                                                                                                             � Minimum Order: 50
                                                                                                                            � Maximum Order:5,000

                                                                                                                 �Now you must order facebook Livestream Format:
                                                                                                                      https://www.facebook.com/user/videos/ID
                                                                                                               Facebook is updating, other formats may be corrupted:
                                                                                                                  m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                             If the format is wrong, order may cost you 3-5 minutes fee




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           ID     Service                                     Rate per 1000   Min order   Max order                                  Description


           411    Facebook Live Video Stream - 180 Minutes                                                                     � Start Time: 0-15 minutes
                                                                  193.00           50          2000                        � 180 minutes watch time real views
                                                                                                                             � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 50
                                                                                                                                � Maximum Order:5,000

                                                                                                                     �Now you must order facebook Livestream Format:
                                                                                                                          https://www.facebook.com/user/videos/ID
                                                                                                                   Facebook is updating, other formats may be corrupted:
                                                                                                                      m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                                 If the format is wrong, order may cost you 3-5 minutes fee

           412    Facebook Live Video Stream - 240 Minutes                                                                     � Start Time: 0-15 minutes
                                                                  259.00           50          2000                        � 240 minutes watch time real views
                                                                                                                             � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 50
                                                                                                                                � Maximum Order:5,000

                                                                                                                     �Now you must order facebook Livestream Format:
                                                                                                                          https://www.facebook.com/user/videos/ID
                                                                                                                   Facebook is updating, other formats may be corrupted:
                                                                                                                      m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                                 If the format is wrong, order may cost you 3-5 minutes fee

           413    Facebook Live Video Stream - 300 Minutes                                                                     � Start Time: 0-15 minutes
                                                                  259.00           50          2000                        � 300 minutes watch time real views
                                                                                                                             � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 50
                                                                                                                                � Maximum Order:5,000

                                                                                                                     �Now you must order facebook Livestream Format:
                                                                                                                          https://www.facebook.com/user/videos/ID
                                                                                                                   Facebook is updating, other formats may be corrupted:
                                                                                                                      m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                                 If the format is wrong, order may cost you 3-5 minutes fee

           2414   Facebook Live Video Stream - 600 Minutes                                                                     � Start Time: 0-15 minutes
                                                                  300.00           50          1000                        � 600 minutes watch time real views
                                                                                                                             � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 50
                                                                                                                                � Maximum Order:5,000

                                                                                                                     �Now you must order facebook Livestream Format:
                                                                                                                          https://www.facebook.com/user/videos/ID
                                                                                                                   Facebook is updating, other formats may be corrupted:
                                                                                                                      m.facebook.com or facebook.com/watch/live/?v=id
                                                                                                                 If the format is wrong, order may cost you 3-5 minutes fee



                              Instant                       Facebook - Other Services

           2389   Facebook Group Members                                                                *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                   5.70           100          10000
                                                                                                                                 � Start Time: 0-1 hour
                                                                                                                                 � Speed per Day: 1,000
                                                                                                                                � 30 Days Refill Guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 10,000

           2376   Facebook Page Followers                                                               *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                   5.50           100          2000
                                                                                                                                 � Start Time: 0-1 hour
                                                                                                                                 � Speed per Day: 1,000
                                                                                                                                � 30 Days Refill Guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 10,000

           2377   Facebook Profile Followers                                                            *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                   5.50           100          3000
                                                                                                                                 � Start Time: 0-1 hour
                                                                                                                                 � Speed per Day: 1,000
                                                                                                                                � 30 Days Refill Guarantee
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 10,000

           106    Facebook Website Likes                                                                                        � Start Time: 0-24 hours
                                                                   6.00           100       100000000                        � Speed per Day: 50,000-100,000
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000




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           ID     Service                                          Rate per 1000   Min order   Max order                                Description


           1208   Facebook 5 Star Reviews/Ratings - Random or                                                                       � Start Time: 0-12 hours
                  Custom Text - ♻                                      90.00            20          600                             � Speed per Day: 50-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                     � Minimum Order: 20
                                                                                                                                    � Maximum Order: 600

                                                                                                                   � To enter custom text, upload it to https://pastebin.com/
                                                                                                                    Then enter the FB link + Pastebin link in the same field

           439    Facebook 5 Star Reviews/Ratings - Random                                                                          � Start Time: 0-12 hours
                  Text                                                 120.00           40          500                             � Speed per Day: 50-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                     � Minimum Order: 40
                                                                                                                                    � Maximum Order: 500

           962    Facebook 5 Star Reviews/Ratings - Custom Text                                                                     � Start Time: 0-12 hours
                                                                       140.00           40          500                             � Speed per Day: 50-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                     � Minimum Order: 40
                                                                                                                                    � Maximum Order: 500

                                                                                                                   � To enter custom text, upload it to https://pastebin.com/
                                                                                                                    Then enter the FB link + Pastebin link in the same field

           195    Facebook Profile Friend Requests                                                         *Do not use m.facebook links, only www.facebook links are accepted, thanks!
                                                                       14.00           100          5000
                                                                                                                                    � Start Time: 0-6 hours
                                                                                                                                   � Speed per Day: 100-500
                                                                                                                                   � 30 Days Refill Guarantee
                                                                                                                                    � Minimum Order: 100
                                                                                                                                   � Maximum Order: 3,000



                              Instant                            � USA Facebook Services

           2757   �USA Facebook Post Likes - Profile + Page                                                                        � Start Time: 0-24 hours
                                                                       70.00           100          5000                          � Speed per Day: 500-2,000
                                                                                                                                  � 30 Days Refill Guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                   � Maximum Order: 5000

           2758   �USA Facebook Page Visits and CheckIns                                                                           � Start Time: 0-24 hours
                                                                       112.00           50          2000                          � Speed per Day: 500-2,000
                                                                                                                                  � 30 Days Refill Guarantee
                                                                                                                                    � Minimum Order: 50
                                                                                                                                   � Maximum Order: 2000

           2759   �USA Facebook Recommends - Custom Texts                                                                          � Start Time: 0-24 hours
                  Accepted                                             210.00           10          500                            � Speed per Day: 50-200
                                                                                                                                   � 30 Days Refill Guarantee
                                                                                                                                    � Minimum Order: 10
                                                                                                                                    � Maximum Order: 500

           2760   �USA Facebook Recommends - Custom Texts                                                                          � Start Time: 0-24 hours
                  Accepted                                             350.00           5           500                            � Speed per Day: 50-200
                                                                                                                                   � 30 Days Refill Guarantee
                                                                                                                                     � Minimum Order: 5
                                                                                                                                    � Maximum Order: 500

           2761   �USA Facebook Event Join Interested                                                                              � Start Time: 0-24 hours
                                                                       42.00           100          5000                          � Speed per Day: 200-1000
                                                                                                                                  � 30 Days Refill Guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                   � Maximum Order: 5000

           2762   �USA Facebook Event Join Going - Confirmed                                                                       � Start Time: 0-24 hours
                                                                       42.00           100          5000                          � Speed per Day: 200-1000
                                                                                                                                  � 30 Days Refill Guarantee
                                                                                                                                   � Minimum Order: 100
                                                                                                                                   � Maximum Order: 5000

           2519   �USA Facebook Group Members                                                                                      � Start Time: 0-12 hours
                                                                       49.00           100          2000                          � Speed per Day: 500-2,000
                                                                                                                                    � No Refill/No Refund
                                                                                                                                   � Minimum Order: 100
                                                                                                                                   � Maximum Order: 1,000

                                                                                                                                � The group must be public
                                                                                                                     �You need to manually accept the first 5 members first




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           ID     Service                                    Rate per 1000   Min order   Max order                         Description


           2520   �USA Facebook Recommends - Custom Text                                                               � Start Time: 0-24 hours
                                                                 98.00            50           1000                    � Speed per Day: 50-200
                                                                                                                        � Refill Time: 30 Days
                                                                                                                        � Minimum Order: 50
                                                                                                                       � Maximum Order: 500

                                                                                                       � To enter custom text, upload it to https://pastebin.com/
                                                                                                        Then enter the FB link + Pastebin link in the same field



                                Instant                   Twitter Followers

           2835   Twitter Followers - 1k Max                                                                            � Start Time: 0-1 Hour
                                                                  3.75            20           1000                    � Speed per Day: 1,000
                                                                                                                        � No Refill/No Refund
                                                                                                                        � Minimum Order: 20
                                                                                                                       � Maximum Order: 1,000

           2750   Real Twitter Followers - 7k Max                                                                        � Start Time: Instant
                                                                  5.32            10           2000                   � Speed per Day: 100 - 500
                                                                                                                        � Refill Time: 30 Days
                                                                                                                        � Minimum Order: 10
                                                                                                                       � Maximum Order: 7,000

           2834   Real Twitter Followers - 500 Max                                                                      � Start Time: 0-1 Hour
                                                                 6.705           500           500                      � Speed per Day: 500
                                                                                                                        � No Refill/No Refund
                                                                                                                        � Minimum Order: 500
                                                                                                                        � Maximum Order: 500

           847    Twitter Followers - High Quality                                                                      � Start Time: Instant
                                                                 12.00            50           4000                    � Speed per Day: 1,000
                                                                                                                        � Refill Time: 30 Days
                                                                                                                        � Minimum Order: 50
                                                                                                                       � Maximum Order: 4,000

           2521   Real Twitter Followers - No Refill                                                                 � Start Time: 0-24 hours
                                                                 21.00           100           4000              � Speed per Day: 100-200 Followers
                                                                                                                      � No Refill/No Refund
                                                                                                                       � Minimum Order: 20
                                                                                                                     � Maximum Order: 3,000



                                Instant                   Twitter Likes & Retweets

           2809   Real Twitter Retweets - No Refill                                                                    � Start Time: 0-12 hours
                                                                 7.425            50           6000                    � Speed per Day: 20-40
                                                                                                                        � No Refill/No Refund
                                                                                                                        � Minimum Order: 50
                                                                                                                       � Maximum Order: 6,000

           2832   Real Twitter Likes - 500 Max                                                                          � Start Time: 0-1 Hour
                                                                 1.125            10           2000                     � Speed per Day: 500
                                                                                                                        � No Refill/No Refund
                                                                                                                         � Minimum Order: 5
                                                                                                                        � Maximum Order: 500

           2833   Real Twitter Likes - 1k Max                                                                           � Start Time: Instant
                                                                 1.875            10           3000                    � Speed per Day: 1,000
                                                                                                                        � No Refill/No Refund
                                                                                                                       � Minimum Order: 100
                                                                                                                       � Maximum Order: 1,000

           2810   Real Twitter Likes - No Refill                                                                       � Start Time: 0-12 hours
                                                                 7.425            50           6000                    � Speed per Day: 20-40
                                                                                                                        � No Refill/No Refund
                                                                                                                        � Minimum Order: 50
                                                                                                                       � Maximum Order: 6,000



                                Instant                   Twitter - Other Services

           394    Twitter Impressions - �                                                                                � Start Time: Instant
                                                                  1.30           100          100000                 � Speed per Day: 100,000
                                                                                                                    � Lifetime non drop guarantee
                                                                                                                       � Minimum Order: 100
                                                                                                                     � Maximum Order: 100,000




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           ID     Service                                    Rate per 1000   Min order   Max order                                Description


           459    Twitter Live Stream Views                                                                                     � Start Time: Instant
                                                                  7.00           100            1000                          � Speed per Day: 1,000
                                                                                                                           � Lifetime non drop guarantee
                                                                                                                              � Minimum Order: 100
                                                                                                                             � Maximum Order: 1,000

           2524   Twitter Comments                                                                                            � Start Time: 0-24 hours
                                                                 336.00           5             100                           � Speed per Day: 30-100
                                                                                                                               � No Refill/No Refund
                                                                                                                               � Minimum Order: 5
                                                                                                                              � Maximum Order: 100

           2448   Twitter Random USA Comments                                                                                 � Start Time: 0-12 hours
                                                                 42.00            10            100                           � Speed per Day: 30-100
                                                                                                                               � No Refill/No Refund
                                                                                                                               � Minimum Order: 10
                                                                                                                              � Maximum Order: 100

           2449   Twitter Custom USA Comments                                                                                 � Start Time: 0-12 hours
                                                                 56.00            10            100                           � Speed per Day: 30-100
                                                                                                                               � No Refill/No Refund
                                                                                                                               � Minimum Order: 10
                                                                                                                              � Maximum Order: 100

                                                                                                         � Comments Including Many ("#") or Repeated Words Are Not Accepted

           393    Twitter Views                                                                                               � Start Time: 0-1 hours
                                                                  0.60           100          1000000                        � Speed per Day: 100-800
                                                                                                                              � No Refill/No Refund
                                                                                                                              � Minimum Order: 100
                                                                                                                             � Maximum Order: 100,000

           2751   Twitter Hashtag Clicks                                                                                      � Start Time: 0-6 hours
                                                                  0.42           100          10000000                      � Speed per Day: 1,000-5,000
                                                                                                                               � No Refill/No Refund
                                                                                                                              � Minimum Order: 100
                                                                                                                            � Maximum Order: 10,000,000



                                 Instant                   ♛ YouTube Views

           1644   Youtube Views - No Refill/No Refund                                                                        � Start Time: 0-3 hours
                                                                  0.90           200       100000000                   � Speed per Day: 40,000-100,000 Views
                                                                                                                              � No Refill/No Refund
                                                                                                                             � Minimum Order: 100
                                                                                                                          � Maximum Order: 100,000,000

           326    ♛ YouTube Desktop Views - 50-100k/day -                                                                        � Start Time: Instant
                  Lifetime Guaranteed                             1.60           500       100000000                   � Speed per Day: 10,000-50,000 Views
                                                                                                                              � Lifetime refill guarantee
                                                                                                                               � Minimum Order: 500
                                                                                                                           � Maximum Order: 100,000,000
                                                                                                                      Retention: 3-5 minutes random watch time

           2718   YouTube Views - 10-50k/day - Lifetime                                                                         � Start Time: 0-3 hours
                  Guaranteed                                      1.65           1000     1000000000                    � Speed per Day: 10,000-50,000 Views
                                                                                                                              � Lifetime refill guarantee
                                                                                                                               � Minimum Order: 1,000
                                                                                                                           � Maximum Order: 100,000,000
                                                                                                                     Retention: 10-60 seconds random watch time

           2318   YouTube Views - 100-300k/day - Lifetime                                                                      � Start Time: 0-3 hours
                  Guaranteed                                      0.90           500       100000000                  � Speed per Day: 100,000-300,000 Views
                                                                                                                              � Lifetime refill guarantee
                                                                                                                               � Minimum Order: 500
                                                                                                                           � Maximum Order: 100,000,000
                                                                                                                      Retention: 1-6 minutes random watch time

           1637   YouTube Views - 100k/day - Lifetime                                                                           � Start Time: 0-6 hours
                  Guaranteed                                      1.95           1000         1000000                  � Speed per Day: 50,000-100,000 Views
                                                                                                                              � Lifetime refill guarantee
                                                                                                                               � Minimum Order: 1,000
                                                                                                                           � Maximum Order: 100,000,000
                                                                                                                     Retention: 40-60 seconds random watch time




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           ID     Service                                      Rate per 1000   Min order   Max order                                      Description


           80     ♛ YouTube Views from Ads - 500k-2m/day -                                                                          � Start Time: 0-48 hours
                  Lifetime Guaranteed                               1.90          50000      200000000                       � Speed per Day: 500,000-2,000,000 Views
                                                                                                                                   � Lifetime refill guarantee
                                                                                                                                   � Minimum Order: 50,000
                                                                                                                                � Maximum Order: 2,000,000,000

                                                                                                                                 The video must be under 6 minutes

           738    ♛ YouTube High Retention Views - Lifetime                                                                             � Start Time: 0-3 hours
                  Guaranteed                                        2.10           500      1000000000                         � Speed per Day: 4,000-10,000 Views
                                                                                                                                      � Lifetime refill guarantee
                                                                                                                                        � Minimum Order: 100
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                         Retention: 5-50 Minutes random watch time(if a video is under 10 minutes retention
                                                                                                                                  will be between 2 and 6 minutes)

           2413   ♛♛ YouTube Real Active Views + Engagements                                                                            • 500-3000 Views Per Day
                                                                    3.25           500          500000                                 • RAV™ - Real Active Views*
                                                                                                                       • 100% Real Human Active YouTube Watch time Views
                                                                                                                                            • Random Retention
                                                                                                                                              • INSTANT START
                                                                                                                            • Stable Views with 90 Days Refill Guarantee**
                                                                                                                                            • Watch Page Views
                                                                                                                                • 100% Unique Real Active Users Traffic
                                                                                                                                 • Traffic Sources: Direct Advertisement
                                                                                                                     • World-Wide Views Added in a NON-STOP Natural Pattern
                                                                                                                          • Must be Unrestricted & Open for ALL countries
                                                                                                                                                • OK for VEVO

                                                                                                                    https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

                                                                                                               * views may include real user engagements - your video may get some daily
                                                                                                                               likes/dislikes, comments, shares, subscribers
                                                                                                                         all made by real YouTube users that we do not control!
                                                                                                         ** If views added from external non-organic sources your guarantee may be revoked!

           2734   Real Active Live Stream Views                                                                                       • RAV™ - Real Active Views**
                                                                    3.90           1000         100000                                        • INSTANT START
                                                                                                                             • 100% Real Human YouTube Users Viewers!
                                                                                                                           • Windows Desktop & Mobile Watch Page Views
                                                                                                                                • 100% Unique Traffic can be monetize!
                                                                                                                                           • World-Wide Viewers
                                                                                                                           • Must be Unrestricted & Open for ALL countries
                                                                                                                                            • Random Retention
                                                                                                                    • Avg Concurrent and watch-time based on livestream content
                                                                                                                                       • Over-Delivery Guaranteed
                                                                                                                   • views can be delivered to an embed disabled livestream videos
                                                                                                                                 • Traffic Sources: Direct Advertisement



                                                                                                             *Service on Beta - that means service offered as is with no refill guarantee!
                                                                                                            ** views may include real user engagements - your video may get some daily
                                                                                                                              likes/dislikes, comments, shares, subscribers
                                                                                                                        all made by real YouTube users that we do not control!
                                                                                                           *** livestream views will register as playbacks on the livestream stats (YouTube
                                                                                                                 Studio) but may not register in full on the 'regular' offline video stats.
                                                                                                         we can't grantee the total watch-time or amount of concurrent viewers only total of
                                                                                                                             unique views that sent during the campaign.



                                                                                                                   https://i.gyazo.com/254bce6afe96bd5149fd290c06bbec94.png
                                                                                                                   https://i.gyazo.com/9f78659c94df658ba6b56344ae540bf2.png
                                                                                                                   https://i.gyazo.com/610ea2c7078ae94d3a439969f0e93d15.png




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           ID     Service                                        Rate per 1000   Min order   Max order                                         Description


           2514   YouTube Premier Waiting Views                                                                                  RAV™ - Real Active Pre-Premiere Views**
                                                                      4.20           5000         5000                                          • INSTANT START
                                                                                                                        • 100% Real Human YouTube Users Pre-Premiere Viewers!
                                                                                                                             • Windows Desktop & Mobile Watch Page Views
                                                                                                                                  • 100% Unique Traffic can be monetize!
                                                                                                                                             • World-Wide Viewers
                                                                                                                             • Must be Unrestricted & Open for ALL countries
                                                                                                                                              • Random Retention
                                                                                                                    • Avg Concurrent and watch-time based on Pre-Premiere content
                                                                                                                                • Cancel any Time with Full/Partial Refund
                                                                                                                                         • Over-Delivery Guaranteed
                                                                                                                       • views can be send to embed disabled Pre-Premiere videos
                                                                                                                                   • Traffic Sources: Direct Advertisement

                                                                                                              *Service on Beta - that means service offered as is with no refill guarantee!
                                                                                                             ** views may include real user engagements - your video may get some daily
                                                                                                                              likes/dislikes, comments, shares, subscribers
                                                                                                                        all made by real YouTube users that we do not control!
                                                                                                         *** note that ONLY some of our Pre-Premiere Waiting visitors will turn into viewers if
                                                                                                         the premiere broadcast will start during the campaign time-frame. (some visitors will
                                                                                                            wait but leave the watch-page before the video turn into live, those will not get
                                                                                                                           registered as livestream viewers or YouTube views)



                              Instant                          YouTube Views to enable channel monetization(4,000 hours)

           2841   YouTube Watchtime Views - Direct source |                                                         - Make videos unlisted when ordering (Avoid mixing natural views).
                  Watch Times 25 - 30 Minutes                         5.775          100          2000   - After the views are complete, you can make the video public again. 2 days later, the
                                                                                                          watch time will update in the conditions for monetization. You need to balance the
                                                                                                                              number of views you need to buy enough to 4000h.
                                                                                                                          - Use videos longer than 30 minutes to get the best effect.
                                                                                                                                - Watch time : 25 - 30 minutes (avg ~ 28 minutes)
                                                                                                                     - If you use video length 1 hours + : 1000 views = 450 - 500 hours
                                                                                                                           - Please input quantity x100 (Number is a multiple of 100)
                                                                                                                                            - Refill Available : 25 Days
                                                                                                            - Tip: you can use multiple videos longer than 30 minutes in the same channel to
                                                                                                                                  order can shorten the time to complete 4000h.
                                                                                                         ----------------------------------------------------------------------------------------------
                                                                                                           - "The system does not have a separate counter, so based on the number of views
                                                                                                          starting and ending on the video to count views, so in the process of running views
                                                                                                                          with natural views and the system will not be responsible."
                                                                                                                                 - "Do not order multiple services on one video."

           2842   YouTube Watchtime Views - Facebook source |                                                       - Make videos unlisted when ordering (Avoid mixing natural views).
                  Watch Times 25 - 30 Minutes                         5.775          100          2000   - After the views are complete, you can make the video public again. 2 days later, the
                                                                                                          watch time will update in the conditions for monetization. You need to balance the
                                                                                                                              number of views you need to buy enough to 4000h.
                                                                                                                          - Use videos longer than 30 minutes to get the best effect.
                                                                                                                                - Watch time : 25 - 30 minutes (avg ~ 28 minutes)
                                                                                                                     - If you use video length 1 hours + : 1000 views = 450 - 500 hours
                                                                                                                           - Please input quantity x100 (Number is a multiple of 100)
                                                                                                                                            - Refill Available : 25 Days
                                                                                                            - Tip: you can use multiple videos longer than 30 minutes in the same channel to
                                                                                                                                  order can shorten the time to complete 4000h.
                                                                                                         ----------------------------------------------------------------------------------------------
                                                                                                           - "The system does not have a separate counter, so based on the number of views
                                                                                                          starting and ending on the video to count views, so in the process of running views
                                                                                                                          with natural views and the system will not be responsible."
                                                                                                                                 - "Do not order multiple services on one video."

           2754   YouTube Watchtime Views - Facebook source |                                                       - Make videos unlisted when ordering (Avoid mixing natural views).
                  Watch Times 50 - 60 Minutes                         10.80          100          5000   - After the views are complete, you can make the video public again. 2 days later, the
                                                                                                                          watch time will update in the conditions for monetization.
                                                                                                                            - Use videos longer than 1 hours to get the best effect.
                                                                                                          - Watch time : 50 - 60 minutes (avg ~ 55 minutes) . You need to balance the number
                                                                                                                                  of views you need to buy enough to 4000h.
                                                                                                                          - Please input quantity x100 (Number is a multiple of 100)
                                                                                                                    - If you use video length 1 hours + : 1000 views = 800 - 1000 hours
                                                                                                          - Example: Using 4 videos in the same channel. Each video longer than 1 hour, order
                                                                                                                              1000 views. It only takes 2 days to complete 4000h.
                                                                                                                                           - Refill Available : 25 Days
                                                                                                         ----------------------------------------------------------------------------------------------
                                                                                                            - "The system does not have a separate counter, so based on the number of views
                                                                                                           starting and ending on the video to count views, so in the process of running views
                                                                                                                          with natural views and the system will not be responsible."
                                                                                                                               - "Do not order multiple services on one video."




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           ID     Service                                      Rate per 1000   Min order   Max order                                             Description


           2753   YouTube Watchtime Views - Direct source |                                                           - Make videos unlisted when ordering (Avoid mixing natural views).
                  Watch Times 50 - 60 Minutes                      10.80           100            5000       - After the views are complete, make the video public again. 2 days later, the watch
                                                                                                                                time will update in the conditions for monetization.
                                                                                                                              - Use videos longer than 1 hours to get the best effect.
                                                                                                            - Watch time : 50 - 60 minutes (avg ~ 55 minutes) . You need to balance the number
                                                                                                                                     of views you need to buy enough to 4000h.
                                                                                                                            - Please input quantity x100 (Number is a multiple of 100)
                                                                                                                      - If you use video length 1 hours + : 1000 views = 800 - 1000 hours
                                                                                                            - Example: Using 4 videos in the same channel. Each video longer than 1 hour, order
                                                                                                                                1000 views. It only takes 2 days to complete 4000h.
                                                                                                                                              - Refill Available : 25 Days
                                                                                                           ----------------------------------------------------------------------------------------------
                                                                                                              - "The system does not have a separate counter, so based on the number of views
                                                                                                             starting and ending on the video to count views, so in the process of running views
                                                                                                                            with natural views and the system will not be responsible."
                                                                                                                                  - "Do not order multiple services on one video."

           2752   YouTube Watchtime Views - Direct source |                                                          - Make videos unlisted when ordering (Avoid mixing natural views).
                  Watch Times 90 - 120 Minutes                     21.50           100            3000      - After the views are complete, make the video public again. 2 days later, the watch
                                                                                                                               time will update in the conditions for monetization.
                                                                                                                             - Use videos longer than 2 hours to get the best effect.
                                                                                                             - Time per view: 90 - 120 minutes (average 110 minutes). You need to balance the
                                                                                                                               number of views you need to buy enough to 4000h.
                                                                                                                     - If you use video length 2 hours +: 1000 views = 1500 - 2000 hours
                                                                                                                           - Please input quantity x100 (Number is a multiple of 100)
                                                                                                           Tip: You can use multiple videos longer than 2 hour in the same channel to order can
                                                                                                                                      shorten the time to complete 4000h.
                                                                                                                                             - Refill Available : 25 Days
                                                                                                                                         - Speed per day: 400 - 500 views
                                                                                                           ----------------------------------------------------------------------------------------------
                                                                                                             - "The system does not have a separate counter, so based on the number of views
                                                                                                            starting and ending on the video to count views, so in the process of running views
                                                                                                                           with natural views and the system will not be responsible."
                                                                                                                                 - "Do not order multiple services on one video."
                                                                                                              - Example: Using 2 videos in the same channel. Each video order more than 1000
                                                                                                                                  views. It only takes 2 days to complete 4000h.



                              Instant                        YouTube Views - Country Targeted

           2634   � Argentina Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                    2.50           1000          500000                       � Speed per Day: 20,000-200,000 Views
                                                                                                                                       � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 1000
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                            � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                              enabled)
                                                                                                           � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                          on the order size
                                                                                                                                         � Works for Vevo

           314    � Australia Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                    2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                       � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 1000
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                            � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                              enabled)
                                                                                                           � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                          on the order size
                                                                                                                                         � Works for Vevo

           1475   � Belgium Targeted YouTube Views - ♻                                                                                � Start Time: 0-24 hours
                                                                    2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                       � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 1000
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                            � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                              enabled)
                                                                                                           � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                          on the order size
                                                                                                                                         � Works for Vevo




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           ID     Service                                Rate per 1000   Min order   Max order                                       Description


           102    � Brazil Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                              2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 1000
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo

           300    � Canada Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                              2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 1000
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo

           101    � Egypt Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                              2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 1000
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo

           97     � France Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                              2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 1000
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo

           96     � Germany Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                              2.50           500          10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 500
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo

           2861   � Greek Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                              2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 1000
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo




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           ID     Service                                  Rate per 1000   Min order   Max order                                       Description


           313    � Hong Kong Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           1039   � India Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           306    � Israel Targeted YouTube Views - ♻                                                                             � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           95     � Italy Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                2.50           500          10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           311    � Japan Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           1571   � Morocco Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo




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           ID     Service                                     Rate per 1000   Min order   Max order                                       Description


           111    � Pakistan Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                   2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 1000
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo

           98     � Poland Targeted YouTube Views - ♻                                                                                � Start Time: 0-24 hours
                                                                   2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 1000
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo

           1591   � Portugal Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                   2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 1000
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo

           93     � Russia Targeted YouTube Views - ♻                                                                                � Start Time: 0-24 hours
                                                                   2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 1000
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo

           307    � Saudi Arabia Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                                   2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 1000
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo

           1048   � Sweden Targeted YouTube Views - ♻                                                                                � Start Time: 0-24 hours
                                                                   2.50           1000         10000000                        � Speed per Day: 2,000-20,000 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 1000
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 2-5 minutes watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo




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           ID       Service                                Rate per 1000   Min order   Max order                                       Description


           103      � Spain Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           310      � Taiwan Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           99       � Turkey Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           100      � UK Targeted YouTube Views - ♻                                                                               � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo

           92       � USA Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                2.50           1000         10000000                      � Speed per Day: 20,000-200,000 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 1000
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo



                               Instant                   YouTube Views - Country Targeted - Embedded Ads Views




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           ID     Service                                   Rate per 1000   Min order   Max order                                      Description


           2632   � Albania Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2633   � Algeria Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2665   � Pakistan Targeted YouTube Views - ♻                                                                              • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2635   � Bangladesh Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load




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           ID     Service                                  Rate per 1000   Min order   Max order                                      Description


           2636   � Bolivia Targeted YouTube Views - ♻                                                                              • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2637   �Bosnia & Herzegovina Targeted YouTube                                                                            • 200-1000* Views Per Day
                  Views - ♻                                     3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2638   � Brazil Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2639   � Bulgaria Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load




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                                                                                       https://instant-fans.com/services



           ID     Service                                 Rate per 1000   Min order   Max order                                      Description


           2640   �Cambodia Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load

           2641   � China Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load

           2642   � Colombia Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load

           2643   � Croatia Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load




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                                                                                       https://instant-fans.com/services



           ID     Service                                      Rate per 1000   Min order   Max order                                      Description


           2644   �Czech Republic Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                    3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                               • 100% Unique Real Human YouTube Views
                                                                                                                                              • INSTANT START
                                                                                                                                            • Random Retention
                                                                                                                      • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                         • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                    • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                           • OK for VEVO Videos
                                                                                                                                • Cancel any Time with Full/Partial Refund
                                                                                                                          • views can be send to embed enabled videos ONLY

                                                                                                                   https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                           * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                         unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                              limited traffic during the selected time period
                                                                                                         ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                                 * daily speeds vary by country and load

           2645   � Ecuador Targeted YouTube Views - ♻                                                                                  • 200-1000* Views Per Day
                                                                    3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                               • 100% Unique Real Human YouTube Views
                                                                                                                                              • INSTANT START
                                                                                                                                            • Random Retention
                                                                                                                      • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                         • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                    • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                           • OK for VEVO Videos
                                                                                                                                • Cancel any Time with Full/Partial Refund
                                                                                                                          • views can be send to embed enabled videos ONLY

                                                                                                                   https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                           * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                         unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                              limited traffic during the selected time period
                                                                                                         ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                                 * daily speeds vary by country and load

           2646   � Egypt Targeted YouTube Views - ♻                                                                                    • 200-1000* Views Per Day
                                                                    3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                               • 100% Unique Real Human YouTube Views
                                                                                                                                              • INSTANT START
                                                                                                                                            • Random Retention
                                                                                                                      • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                         • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                    • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                           • OK for VEVO Videos
                                                                                                                                • Cancel any Time with Full/Partial Refund
                                                                                                                          • views can be send to embed enabled videos ONLY

                                                                                                                   https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                           * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                         unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                              limited traffic during the selected time period
                                                                                                         ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                                 * daily speeds vary by country and load

           2647   � Greece Targeted YouTube Views - ♻                                                                                   • 200-1000* Views Per Day
                                                                    3.50           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                               • 100% Unique Real Human YouTube Views
                                                                                                                                              • INSTANT START
                                                                                                                                            • Random Retention
                                                                                                                      • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                         • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                    • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                           • OK for VEVO Videos
                                                                                                                                • Cancel any Time with Full/Partial Refund
                                                                                                                          • views can be send to embed enabled videos ONLY

                                                                                                                   https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                           * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                         unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                              limited traffic during the selected time period
                                                                                                         ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                                 * daily speeds vary by country and load




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           ID     Service                                  Rate per 1000   Min order   Max order                                      Description


           2648   � Hong Kong Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2649   � Hungarian Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2650   � India Targeted YouTube Views - ♻                                                                                • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2651   � Indonesia Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load




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                                                                                        https://instant-fans.com/services



           ID     Service                               Rate per 1000   Min order   Max order                                      Description


           2652   � Iraq Targeted YouTube Views - ♻                                                                              • 200-1000* Views Per Day
                                                             3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                        • 100% Unique Real Human YouTube Views
                                                                                                                                       • INSTANT START
                                                                                                                                     • Random Retention
                                                                                                               • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                  • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                             • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                    • OK for VEVO Videos
                                                                                                                         • Cancel any Time with Full/Partial Refund
                                                                                                                   • views can be send to embed enabled videos ONLY

                                                                                                            https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                    * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                  unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                       limited traffic during the selected time period
                                                                                                  ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                          * daily speeds vary by country and load

           2653   � Israel Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                             3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                        • 100% Unique Real Human YouTube Views
                                                                                                                                       • INSTANT START
                                                                                                                                     • Random Retention
                                                                                                               • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                  • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                             • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                    • OK for VEVO Videos
                                                                                                                         • Cancel any Time with Full/Partial Refund
                                                                                                                   • views can be send to embed enabled videos ONLY

                                                                                                            https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                    * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                  unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                       limited traffic during the selected time period
                                                                                                  ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                          * daily speeds vary by country and load

           2654   � Italy Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                             3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                        • 100% Unique Real Human YouTube Views
                                                                                                                                       • INSTANT START
                                                                                                                                     • Random Retention
                                                                                                               • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                  • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                             • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                    • OK for VEVO Videos
                                                                                                                         • Cancel any Time with Full/Partial Refund
                                                                                                                   • views can be send to embed enabled videos ONLY

                                                                                                            https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                    * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                  unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                       limited traffic during the selected time period
                                                                                                  ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                          * daily speeds vary by country and load

           2655   � Japan Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                             3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                        • 100% Unique Real Human YouTube Views
                                                                                                                                       • INSTANT START
                                                                                                                                     • Random Retention
                                                                                                               • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                  • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                             • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                    • OK for VEVO Videos
                                                                                                                         • Cancel any Time with Full/Partial Refund
                                                                                                                   • views can be send to embed enabled videos ONLY

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                                                                                                    * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                  unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                       limited traffic during the selected time period
                                                                                                  ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                          * daily speeds vary by country and load




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           ID     Service                                   Rate per 1000   Min order   Max order                                      Description


           2656   � Jordan Targeted YouTube Views - ♻                                                                                • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2657   � Kuwait Targeted YouTube Views - ♻                                                                                • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2658   � Lebanon Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2659   � Lithuanian Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load




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                                                                                       https://instant-fans.com/services



           ID     Service                                 Rate per 1000   Min order   Max order                                      Description


           2660   � Malaysia Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load

           2661   � Mexico Targeted YouTube Views - ♻                                                                              • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load

           2662   � Mongolia Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load

           2663   � Morocco Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                               3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                          • 100% Unique Real Human YouTube Views
                                                                                                                                         • INSTANT START
                                                                                                                                       • Random Retention
                                                                                                                 • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                    • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                               • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                      • OK for VEVO Videos
                                                                                                                           • Cancel any Time with Full/Partial Refund
                                                                                                                     • views can be send to embed enabled videos ONLY

                                                                                                              https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                      * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                    unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                         limited traffic during the selected time period
                                                                                                    ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                            * daily speeds vary by country and load




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           ID     Service                                    Rate per 1000   Min order   Max order                                      Description


           2664   � Myanmar Targeted YouTube Views - ♻                                                                                • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load

           2666   � Peru Targeted YouTube Views - ♻                                                                                   • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load

           2667   � Philippines Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load

           2668   � Poland Targeted YouTube Views - ♻                                                                                 • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load




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           ID     Service                                  Rate per 1000   Min order   Max order                                      Description


           2669   � Portugal Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2670   � Macedonia Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                3.00           500          500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2671   � Romania Targeted YouTube Views - ♻                                                                              • 200-1000* Views Per Day
                                                                3.00           500          500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2672   � Russia Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load




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           ID     Service                                  Rate per 1000   Min order   Max order                                      Description


           2673   � Serbia Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2674   � Singapore Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2675   � Slovakia Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2676   � Slovenia Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load




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           ID     Service                                    Rate per 1000   Min order   Max order                                      Description


           2631   �South Korea Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load

           2677   �South Africa Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load

           2678   � Spain Targeted YouTube Views - ♻                                                                                  • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load

           2679   �Sri Lanka Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                  3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                             • 100% Unique Real Human YouTube Views
                                                                                                                                            • INSTANT START
                                                                                                                                          • Random Retention
                                                                                                                    • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                       • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                  • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                         • OK for VEVO Videos
                                                                                                                              • Cancel any Time with Full/Partial Refund
                                                                                                                        • views can be send to embed enabled videos ONLY

                                                                                                                 https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                         * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                       unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                            limited traffic during the selected time period
                                                                                                       ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                               * daily speeds vary by country and load




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           ID     Service                                  Rate per 1000   Min order   Max order                                      Description


           2680   �Syrian Arab Republic Targeted YouTube                                                                            • 200-1000* Views Per Day
                  Views - ♻                                     3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2681   � Taiwan Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2682   � Taiwan Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load

           2683   � Tunisia Targeted YouTube Views - ♻                                                                              • 200-1000* Views Per Day
                                                                3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                           • 100% Unique Real Human YouTube Views
                                                                                                                                          • INSTANT START
                                                                                                                                        • Random Retention
                                                                                                                  • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                     • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                       • OK for VEVO Videos
                                                                                                                            • Cancel any Time with Full/Partial Refund
                                                                                                                      • views can be send to embed enabled videos ONLY

                                                                                                               https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                       * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                     unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                          limited traffic during the selected time period
                                                                                                     ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                             * daily speeds vary by country and load




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           ID     Service                                Rate per 1000   Min order   Max order                                      Description


           2630   � Turkey Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                              3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                         • 100% Unique Real Human YouTube Views
                                                                                                                                        • INSTANT START
                                                                                                                                      • Random Retention
                                                                                                                • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                   • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                              • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                     • OK for VEVO Videos
                                                                                                                          • Cancel any Time with Full/Partial Refund
                                                                                                                    • views can be send to embed enabled videos ONLY

                                                                                                             https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                     * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                   unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                        limited traffic during the selected time period
                                                                                                   ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                           * daily speeds vary by country and load

           2629   � UK Targeted YouTube Views - ♻                                                                                 • 200-1000* Views Per Day
                                                              3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                         • 100% Unique Real Human YouTube Views
                                                                                                                                        • INSTANT START
                                                                                                                                      • Random Retention
                                                                                                                • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                   • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                              • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                     • OK for VEVO Videos
                                                                                                                          • Cancel any Time with Full/Partial Refund
                                                                                                                    • views can be send to embed enabled videos ONLY

                                                                                                             https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                     * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                   unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                        limited traffic during the selected time period
                                                                                                   ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                           * daily speeds vary by country and load

           2684   � Ukraine Targeted YouTube Views - ♻                                                                            • 200-1000* Views Per Day
                                                              3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                         • 100% Unique Real Human YouTube Views
                                                                                                                                        • INSTANT START
                                                                                                                                      • Random Retention
                                                                                                                • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                   • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                              • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                     • OK for VEVO Videos
                                                                                                                          • Cancel any Time with Full/Partial Refund
                                                                                                                    • views can be send to embed enabled videos ONLY

                                                                                                             https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                     * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                   unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                        limited traffic during the selected time period
                                                                                                   ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                           * daily speeds vary by country and load

           2628   � USA Targeted YouTube Views - ♻                                                                                • 200-1000* Views Per Day
                                                              3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                         • 100% Unique Real Human YouTube Views
                                                                                                                                        • INSTANT START
                                                                                                                                      • Random Retention
                                                                                                                • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                   • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                              • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                     • OK for VEVO Videos
                                                                                                                          • Cancel any Time with Full/Partial Refund
                                                                                                                    • views can be send to embed enabled videos ONLY

                                                                                                             https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                     * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                   unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                        limited traffic during the selected time period
                                                                                                   ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                           * daily speeds vary by country and load




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           ID     Service                                   Rate per 1000   Min order   Max order                                      Description


           2685   � Venezuela Targeted YouTube Views - ♻                                                                             • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load

           2686   � Vietnam Targeted YouTube Views - ♻                                                                               • 200-1000* Views Per Day
                                                                 3.00           1000         500000                       • GEO Targeted EAV™ - Embedded Ads Views*
                                                                                                                            • 100% Unique Real Human YouTube Views
                                                                                                                                           • INSTANT START
                                                                                                                                         • Random Retention
                                                                                                                   • Stable NON-DROP Views with 90 Days Refill Guarantee**
                                                                                                                      • Traffic Sources: Direct Embedded Ads Advertisement
                                                                                                                 • Video Must be Public Unrestricted & Open for ALL countries
                                                                                                                                        • OK for VEVO Videos
                                                                                                                             • Cancel any Time with Full/Partial Refund
                                                                                                                       • views can be send to embed enabled videos ONLY

                                                                                                                https://i.gyazo.com/02bb90632387b7598d3e1357507aa87d.png

                                                                                                        * according to YouTube, You won’t see any geography data in Realtime reports or
                                                                                                      unlisted videos, You may not see geography data if your public video or channel has
                                                                                                                           limited traffic during the selected time period
                                                                                                      ** If views added from external non-organic sources your guarantee may be revoked!
                                                                                                                              * daily speeds vary by country and load



                             Instant                      YouTube Views - Country Targeted - Real Active Views

           2580   � Algeria Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                   � Minimum Order: 5
                                                                                                                                             00
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2581   � Argentina Targeted YouTube Views - ♻                                                                         � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                   Rate per 1000   Min order   Max order                                     Description


           2582   � Bangladesh Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2583   � Bolivia Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2584   � Brazil Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2585   � Chile Targeted YouTube Views - ♻                                                                             � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2586   � Colombia Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                      Rate per 1000   Min order   Max order                                     Description


           2590   � Egypt Targeted YouTube Views - ♻                                                                                � Start Time: 0-24 hours
                                                                    3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                     � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 100
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                          � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                            enabled)
                                                                                                         � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                        on the order size
                                                                                                                                       � Works for Vevo
                                                                                                            � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                     premiered in the past)
                                                                                                                 � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2602   � Kuwait Targeted YouTube Views - ♻                                                                               � Start Time: 0-24 hours
                                                                    3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                     � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 100
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                          � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                            enabled)
                                                                                                         � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                        on the order size
                                                                                                                                       � Works for Vevo
                                                                                                            � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                     premiered in the past)
                                                                                                                 � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2621   �United Arab Emirates Targeted YouTube                                                                            � Start Time: 0-24 hours
                  Views - ♻                                         3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                     � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 100
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                          � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                            enabled)
                                                                                                         � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                        on the order size
                                                                                                                                       � Works for Vevo
                                                                                                            � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                     premiered in the past)
                                                                                                                 � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2587   � Croatia Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                    3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                     � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 500
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                          � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                            enabled)
                                                                                                         � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                        on the order size
                                                                                                                                       � Works for Vevo
                                                                                                            � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                     premiered in the past)
                                                                                                                 � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2588   �Dominican Republic Targeted YouTube Views                                                                        � Start Time: 0-24 hours
                  -♻                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                     � Refill Time: Lifetime
                                                                                                                                     � Minimum Order: 500
                                                                                                                                 � Maximum Order: 100,000,000
                                                                                                                                   � 100% Real Human Views
                                                                                                                                   � 0-60 Seconds watch time
                                                                                                          � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                            enabled)
                                                                                                         � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                        on the order size
                                                                                                                                       � Works for Vevo
                                                                                                            � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                     premiered in the past)
                                                                                                                 � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                  Rate per 1000   Min order   Max order                                     Description


           2589   � Ecuador Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2591   � France Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2713   � Greece Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2592   � Guatemala Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2593   � India Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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                                                                                        https://instant-fans.com/services



           ID     Service                                  Rate per 1000   Min order   Max order                                     Description


           2594   � Indonesia Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2595   � Iraq Targeted YouTube Views - ♻                                                                             � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2596   � Israel Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 100
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2597   � Italy Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 100
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2598   � Jamaica Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                                3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                 � Refill Time: Lifetime
                                                                                                                                 � Minimum Order: 500
                                                                                                                             � Maximum Order: 100,000,000
                                                                                                                               � 100% Real Human Views
                                                                                                                               � 0-60 Seconds watch time
                                                                                                      � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                        enabled)
                                                                                                     � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                    on the order size
                                                                                                                                   � Works for Vevo
                                                                                                        � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                 premiered in the past)
                                                                                                             � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                   Rate per 1000   Min order   Max order                                     Description


           2599   � Japan Targeted YouTube Views - ♻                                                                             � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2600   � Jordan Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2601   �South Korea Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 500
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2603   � Lebanon Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 100
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2604   � Libya Targeted YouTube Views - ♻                                                                             � Start Time: 0-24 hours
                                                                 3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                  � Refill Time: Lifetime
                                                                                                                                  � Minimum Order: 100
                                                                                                                              � Maximum Order: 100,000,000
                                                                                                                                � 100% Real Human Views
                                                                                                                                � 0-60 Seconds watch time
                                                                                                       � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                         enabled)
                                                                                                      � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                     on the order size
                                                                                                                                    � Works for Vevo
                                                                                                         � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                  premiered in the past)
                                                                                                              � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                 Rate per 1000   Min order   Max order                                     Description


           2605   � Mexico Targeted YouTube Views - ♻                                                                          � Start Time: 0-24 hours
                                                               3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 500
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                     � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                       enabled)
                                                                                                    � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                   on the order size
                                                                                                                                  � Works for Vevo
                                                                                                       � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                premiered in the past)
                                                                                                            � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2606   � Morocco Targeted YouTube Views - ♻                                                                         � Start Time: 0-24 hours
                                                               3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 500
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                     � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                       enabled)
                                                                                                    � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                   on the order size
                                                                                                                                  � Works for Vevo
                                                                                                       � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                premiered in the past)
                                                                                                            � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2607   � Myanmar Targeted YouTube Views - ♻                                                                         � Start Time: 0-24 hours
                                                               3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 500
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                     � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                       enabled)
                                                                                                    � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                   on the order size
                                                                                                                                  � Works for Vevo
                                                                                                       � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                premiered in the past)
                                                                                                            � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2608   � Nepal Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                               3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 500
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                     � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                       enabled)
                                                                                                    � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                   on the order size
                                                                                                                                  � Works for Vevo
                                                                                                       � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                premiered in the past)
                                                                                                            � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2609   � Pakistan Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                               3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                � Refill Time: Lifetime
                                                                                                                                � Minimum Order: 500
                                                                                                                            � Maximum Order: 100,000,000
                                                                                                                              � 100% Real Human Views
                                                                                                                              � 0-60 Seconds watch time
                                                                                                     � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                       enabled)
                                                                                                    � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                   on the order size
                                                                                                                                  � Works for Vevo
                                                                                                       � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                premiered in the past)
                                                                                                            � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                    Rate per 1000   Min order   Max order                                     Description


           2610   � Peru Targeted YouTube Views - ♻                                                                               � Start Time: 0-24 hours
                                                                  3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                   � Minimum Order: 500
                                                                                                                               � Maximum Order: 100,000,000
                                                                                                                                 � 100% Real Human Views
                                                                                                                                 � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo
                                                                                                          � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                   premiered in the past)
                                                                                                               � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2611   � Philippines Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                                  3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                   � Minimum Order: 500
                                                                                                                               � Maximum Order: 100,000,000
                                                                                                                                 � 100% Real Human Views
                                                                                                                                 � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo
                                                                                                          � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                   premiered in the past)
                                                                                                               � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2612   � Romania Targeted YouTube Views - ♻                                                                            � Start Time: 0-24 hours
                                                                  3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                   � Minimum Order: 500
                                                                                                                               � Maximum Order: 100,000,000
                                                                                                                                 � 100% Real Human Views
                                                                                                                                 � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo
                                                                                                          � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                   premiered in the past)
                                                                                                               � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2613   �Saudi Arabia Targeted YouTube Views - ♻                                                                        � Start Time: 0-24 hours
                                                                  3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                   � Minimum Order: 500
                                                                                                                               � Maximum Order: 100,000,000
                                                                                                                                 � 100% Real Human Views
                                                                                                                                 � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo
                                                                                                          � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                   premiered in the past)
                                                                                                               � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2614   � Serbia Targeted YouTube Views - ♻                                                                             � Start Time: 0-24 hours
                                                                  3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                   � Refill Time: Lifetime
                                                                                                                                   � Minimum Order: 500
                                                                                                                               � Maximum Order: 100,000,000
                                                                                                                                 � 100% Real Human Views
                                                                                                                                 � 0-60 Seconds watch time
                                                                                                        � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                          enabled)
                                                                                                       � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                      on the order size
                                                                                                                                     � Works for Vevo
                                                                                                          � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                   premiered in the past)
                                                                                                               � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                       Rate per 1000   Min order   Max order                                     Description


           2615   �South Africa Targeted YouTube Views - ♻                                                                           � Start Time: 0-24 hours
                                                                     3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 500
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo
                                                                                                             � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                      premiered in the past)
                                                                                                                  � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2616   �Sri Lanka Targeted YouTube Views - ♻                                                                              � Start Time: 0-24 hours
                                                                     3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 500
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo
                                                                                                             � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                      premiered in the past)
                                                                                                                  � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2617   �Syrian Arab Republic Targeted YouTube                                                                             � Start Time: 0-24 hours
                  Views - ♻                                          3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 500
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo
                                                                                                             � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                      premiered in the past)
                                                                                                                  � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2618   �Trinidad & Tobago Targeted YouTube Views -                                                                        � Start Time: 0-24 hours
                  ♻                                                  3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 500
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo
                                                                                                             � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                      premiered in the past)
                                                                                                                  � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2619   � Tunisia Targeted YouTube Views - ♻                                                                               � Start Time: 0-24 hours
                                                                     3.50           500          100000                          � Speed per Day: 300-500 Views
                                                                                                                                      � Refill Time: Lifetime
                                                                                                                                      � Minimum Order: 500
                                                                                                                                  � Maximum Order: 100,000,000
                                                                                                                                    � 100% Real Human Views
                                                                                                                                    � 0-60 Seconds watch time
                                                                                                           � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                             enabled)
                                                                                                          � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                         on the order size
                                                                                                                                        � Works for Vevo
                                                                                                             � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                      premiered in the past)
                                                                                                                  � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png




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           ID     Service                                         Rate per 1000   Min order   Max order                                      Description


           2620   � Turkey Targeted YouTube Views - ♻                                                                                   � Start Time: 0-24 hours
                                                                       3.50           500          100000                           � Speed per Day: 300-500 Views
                                                                                                                                         � Refill Time: Lifetime
                                                                                                                                         � Minimum Order: 500
                                                                                                                                     � Maximum Order: 100,000,000
                                                                                                                                       � 100% Real Human Views
                                                                                                                                       � 0-60 Seconds watch time
                                                                                                              � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                                enabled)
                                                                                                             � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                            on the order size
                                                                                                                                           � Works for Vevo
                                                                                                                � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                         premiered in the past)
                                                                                                                     � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2622   � Venezuela Targeted YouTube Views - ♻                                                                                � Start Time: 0-24 hours
                                                                       3.50           500          100000                           � Speed per Day: 300-500 Views
                                                                                                                                         � Refill Time: Lifetime
                                                                                                                                         � Minimum Order: 500
                                                                                                                                     � Maximum Order: 100,000,000
                                                                                                                                       � 100% Real Human Views
                                                                                                                                       � 0-60 Seconds watch time
                                                                                                              � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                                enabled)
                                                                                                             � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                            on the order size
                                                                                                                                           � Works for Vevo
                                                                                                                � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                         premiered in the past)
                                                                                                                     � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png

           2623   � Vietnam Targeted YouTube Views - ♻                                                                                  � Start Time: 0-24 hours
                                                                       3.50           500          100000                           � Speed per Day: 300-500 Views
                                                                                                                                         � Refill Time: Lifetime
                                                                                                                                         � Minimum Order: 500
                                                                                                                                     � Maximum Order: 100,000,000
                                                                                                                                       � 100% Real Human Views
                                                                                                                                       � 0-60 Seconds watch time
                                                                                                              � Windows desktop watch page & embedded views(video embedding must be
                                                                                                                                                enabled)
                                                                                                             � Worldwide viewers added in a non-stop natural pattern, incremental speed based
                                                                                                                                            on the order size
                                                                                                                                           � Works for Vevo
                                                                                                                � Works for Embed disabled videos including videos that live-streamed or
                                                                                                                                         premiered in the past)
                                                                                                                     � https://i.gyazo.com/6af33572f743ebd608a669869f0ff7c8.png



                              Instant                           YouTube Subscribers

           123    � Real USA YouTube Subscribers - 1.5k Max                                                                              � Start Time: Instant
                                                                      22.50            5            1500                           � Speed per Day: 20-50 Subscribers
                                                                                                                                        � Refill Time: 30 Days
                                                                                                                                         � Minimum Order: 5
                                                                                                                                       � Maximum Order: 1,500

           2571   Real Fast YouTube Subscribers - 5k Max                                                                                 � Start Time: Instant
                                                                      21.70           100           5000                           � Speed per Day: 50-70 Subscribers
                                                                                                                                        � Refill Time: 30 Days
                                                                                                                                        � Minimum Order: 200
                                                                                                                                       � Maximum Order: 5,000

           125    Real YouTube Subscribers - 5k Max                                                                                    � Start Time: 0-12 hours
                                                                      30.00            20           5000                           � Speed per Day: 30-50 Subscribers
                                                                                                                                       � 1 Year Refill Guarantee
                                                                                                                                        � Minimum Order: 20
                                                                                                                                       � Maximum Order: 5,000

           302    Ultrafast YouTube Subscribers - 1m Max                                                                                 � Start Time: Instant
                                                                      21.00           100          1000000                       � Speed per Day: 2,000-5,000 Followers
                                                                                                                                        � Refill Time: 60 Days
                                                                                                                                       � Minimum Order: 100
                                                                                                                                     � Maximum Order: 1,000,000

           124    � Fast Real USA YouTube Subscribers - 2k Max                                                                           � Start Time: Instant
                                                                      29.00            5            2000                            � Speed per Day: 200 Subscribers
                                                                                                                                         � Refill Time: 30 Days
                                                                                                                                         � Minimum Order: 5
                                                                                                                                       � Maximum Order: 2,000




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           ID     Service                                Rate per 1000   Min order   Max order                                        Description



                             Instant                   YouTube Comments

           1661   YouTube Random Comments                                                                                       � Start Time: 0-6 Hours
                                                             22.50            10           500                               � Speed per day: 100 Comments
                                                                                                                             � Lifetime Non Drop Guarantee
                                                                                                                                  � Minimum Order: 5
                                                                                                                                � Maximum Order: 300

                                                                                                                            � Comments cannot contain links
                                                                                                                          � Duplicate comments are not allowed

           2579   YouTube Random Comments - 15k Max                                                                             � Start Time: Instant
                                                             15.00            10          15000                         � Speed per Day: 1,000-2,000 Comments
                                                                                                                              � 30 Days Refill Guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                              � Maximum Order: 15,000

           1662   YouTube Custom Comments                                                                                       � Start Time: 0-6 Hours
                                                             26.60            10           500                               � Speed per day: 100 Comments
                                                                                                                             � Lifetime Non Drop Guarantee
                                                                                                                                  � Minimum Order: 10
                                                                                                                                � Maximum Order: 300

                                                                                                                            � Comments cannot contain links
                                                                                                                          � Duplicate comments are not allowed

           2483   YouTube Custom Comments S2                                                                                     � Start Time: 0-1 Hour
                                                              8.40            10           5000                              � Speed per day: 100 Comments
                                                                                                                                � 30 Days refill guarantee
                                                                                                                                 � Minimum Order: 10
                                                                                                                                � Maximum Order: 5,000

                                                                                                                            � Comments cannot contain links
                                                                                                                          � Duplicate comments are not allowed

           2485   Youtube Comment Likes - 100k Max                                                                               � Start Time: Instant
                                                              4.32            10          100000                              � Speed per day: 20,000 Likes
                                                                                                                               � 30 Days Refill Guarantee
                                                                                                                                 � Minimum Order: 10
                                                                                                                               � Maximum Order: 100,000

           2486   Youtube Comment Likes - 50k Max                                                                               � Start Time: 0-6 Hours
                                                              6.75            10          50000                               � Speed per day: 100 Likes
                                                                                                                             � Lifetime Non Drop Guarantee
                                                                                                                                  � Minimum Order: 10
                                                                                                                               � Maximum Order: 50,000

           1887   � Youtube USA Comment Likes                                                                                     � Start Time: Instant
                                                             15.00            5            1500                                � Speed per Day: 30-50 Likes
                                                                                                                                � 30 Days refill guarantee
                                                                                                                                  � Minimum Order: 5
                                                                                                                                � Maximum Order: 1,500

                                                                                                              � To get the comment link, click on the time of the comment

                                                                                                                                           Notes:

                                                                                                   1. If you add the same link before another order for the same link is completed, your
                                                                                                                      new order will start after your first order complete.
                                                                                                      2. You will see start count as 0 for some orders on our panel. It is not mistake. It
                                                                                                   means, your customer added an order from you or from another reseller before. Our
                                                                                                   system will set start count after this order start. We are doing this because we avoid
                                                                                                      wrong start count in this way. Our system won’t send subscribers or likes for the
                                                                                                                                   channel in the same time.

           966    � YouTube USA Random Comments High                                                                             � Start Time: 0-6 hours
                  Quality                                    39.00            10           500                               � Speed per Day: 100 Comments
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 10
                                                                                                                                 � Maximum Order: 500

           968    � YouTube Brazilian Random Comments                                                                            � Start Time: 0-6 hours
                                                             33.00            10           100                               � Speed per Day: 100 Comments
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 10
                                                                                                                                 � Maximum Order: 100




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           ID     Service                                   Rate per 1000   Min order   Max order                                    Description


           969    � YouTube Brazilian Custom Comments HQ                                                                        � Start Time: 0-6 hours
                                                                43.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                                � No Refill/No Refund
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           970    � YouTube Female USA Random Comments                                                                          � Start Time: 0-6 hours
                                                                30.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           971    � YouTube Female USA Custom Comments                                                                          � Start Time: 0-6 hours
                                                                43.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           972    � YouTube Indian Random Comments                                                                              � Start Time: 0-6 hours
                                                                34.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           973    � YouTube Indian Custom Comments                                                                              � Start Time: 0-6 hours
                                                                43.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                                � No Refill/No Refund
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           974    � YouTube Russian Random Comments                                                                             � Start Time: 0-6 hours
                                                                33.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           975    � YouTube Russian Custom Comments                                                                             � Start Time: 0-6 hours
                                                                43.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           976    � YouTube Japanese Random Comments                                                                            � Start Time: 0-6 hours
                                                                34.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           977    � YouTube Japanese Custom Comments                                                                            � Start Time: 0-6 hours
                                                                43.00            10          100                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 100

           978    � YouTube USA Custom Comment Replies                                                                          � Start Time: 0-6 hours
                                                                49.00            10          300                            � Speed per Day: 100 Comments
                                                                                                                            � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                                � Maximum Order: 300

           2889   � Brazil Youtube Custom Comments [REAL]                                                              � BRAZIL YOUTUBE CUSTOM COMMENTS
                                                                33.75            5           1000
                                                                                                                                ▪Start Time: 15 min (usually)
                                                                                                                    ▪If server oveload, it can take more. Maximum 6h

                                                                                                                                     ⚠ Not allowed:



                                                                                                                       - Praise or criticism of products and services
                                                                                                                                   - Offensive comments
                                                                                                                                     - Illegal Comments
                                                                                                                                    - Political comments
                                                                                                                                           - Mentions
                                                                                                                                           - Hashtags

                                                                                                           � Make sure the video has no restrictions on receiving comments
                                                                                                    � Max per order is 100 but you can order how many times you want after one order
                                                                                                                                        complete.




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           ID     Service                             Rate per 1000   Min order   Max order                   Description


           2890   Real Youtube Custom Comments                                                           � Start Time: 0-6 hours
                                                          33.75            5            1000              � Speed per Day: 300
                                                                                                          � Refill Time: 30 Days
                                                                                                          � Minimum Order: 5
                                                                                                         � Maximum Order: 1000

                                                                                                                 � Not allowed:
                                                                                                - Praise or criticism of products and services
                                                                                                            - Offensive comments
                                                                                                              - Illegal Comments
                                                                                                             - Political comments
                                                                                                                    - Mentions
                                                                                                                    - Hashtags



                               Instant              YouTube Likes & Shares

           827    YouTube Likes - 1.5k Max                                                                � Start Time: Instant
                                                          15.00            5            1500             � Speed per Day: 30-50
                                                                                                          � Refill Time: 30 Days
                                                                                                          � Minimum Order: 5
                                                                                                         � Maximum Order: 1,500

           2493   YouTube Likes - 20k Max                                                                 � Start Time: Instant
                                                          14.00            20          20000            � Speed per Day: 100-500
                                                                                                         � Refill Time: 30 Days
                                                                                                         � Minimum Order: 20
                                                                                                        � Maximum Order: 20,000

           1323   Youtube Likes - 5k Max - � ♻                                                           � Start Time: 0-12 hours
                                                           8.00            5            5000             � Speed per Day: 10-50
                                                                                                          � Refill Time: 30 Days
                                                                                                          � Minimum Order: 5
                                                                                                         � Maximum Order: 5,000

           2484   Fast Youtube Likes                                                                     � Start Time: 0-12 hours
                                                           9.45            20          600000           � Speed per Day: 100-500
                                                                                                          � Refill Time: 30 Days
                                                                                                          � Minimum Order: 20
                                                                                                        � Maximum Order: 600,000

           2705   Fast Youtube Likes - No Refilll                                                        � Start Time: 0-4 hours
                                                           5.00            50          20000           � Speed per Day: 1,000-2,000
                                                                                                          � No Refill/No Refund
                                                                                                         � Minimum Order: 100
                                                                                                        � Maximum Order: 20,000

           2821   Slow YouTube Shares                                                                    � Start Time: 0-2 hours
                                                           1.35            50          10000           � Speed per Day: 100 Shares
                                                                                                      � 90 Days auto-refill Guarantee
                                                                                                         � Minimum Order: 100
                                                                                                        � Maximum Order: 10,000

           2822   Normal YouTube Shares                                                                  � Start Time: 0-2 hours
                                                           1.35           100          10000           � Speed per Day: 250 Shares
                                                                                                      � 90 Days auto-refill Guarantee
                                                                                                         � Minimum Order: 100
                                                                                                        � Maximum Order: 10,000

           2823   Fast YouTube Shares                                                                    � Start Time: 0-2 hours
                                                           1.35           500          75000           � Speed per Day: 750 Shares
                                                                                                      � 90 Days auto-refill Guarantee
                                                                                                         � Minimum Order: 500
                                                                                                        � Maximum Order: 75,000

           2922   Real YouTube Likes                                                                       � Start Time: Instant
                                                          30.00            20          50000        � Speed per Day: 150-300 Likes
                                                                                                   � Refill Time: 1 Year Refill Guarantee
                                                                                                          � Minimum Order: 20
                                                                                                       � Maximum Order: 50000



                               Instant              �Russian YouTube Services

           2740   �Russian Youtube Likes - 50k Max                                                        � Start Time: Instant
                                                           7.00            10          50000            � Speed per Day: 100-200
                                                                                                         � Refill Time: 30 Days
                                                                                                         � Minimum Order: 10
                                                                                                        � Maximum Order: 50,000




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           ID     Service                                     Rate per 1000   Min order   Max order                                      Description


           2741   �Russian Youtube Subscribers - 50k Max                                                                             � Start Time: Instant
                                                                   9.10            10          50000                               � Speed per Day: 100-200
                                                                                                                                    � Refill Time: 30 Days
                                                                                                                                    � Minimum Order: 10
                                                                                                                                   � Maximum Order: 50,000

           2742   �Russian Youtube Comment Likes - 5k Max                                                                             � Start Time: Instant
                                                                  10.00            10          5000                                 � Speed per Day: 100-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                     � Minimum Order: 10
                                                                                                                                    � Maximum Order: 5,000

           2743   �Russian HQ Youtube Custom Comments - 5k                                                                            � Start Time: Instant
                  Max                                             42.50            5           5000                                 � Speed per Day: 100-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                      � Minimum Order: 5
                                                                                                                                    � Maximum Order: 5,000

           2744   �Russian Youtube Custom Comments - 5k Max                                                                           � Start Time: Instant
                                                                  29.00            5           5000                                 � Speed per Day: 100-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                      � Minimum Order: 5
                                                                                                                                    � Maximum Order: 5,000

           2745   �Russian HQ Youtube Random Comments - 5k                                                                            � Start Time: Instant
                  Max                                             29.624           5           2000                                 � Speed per Day: 100-200
                                                                                                                                     � Refill Time: 30 Days
                                                                                                                                      � Minimum Order: 5
                                                                                                                                    � Maximum Order: 2,000



                             Instant                        ♻ YouTube Auto Growth | 5 CAP Video Max/Month

           2894   � Package #1                                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                                  22.95           1000         1000    boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                                         amount of videos we will promote. If the cap is 5, we will only promote the next 5
                                                                                                       videos you post. After your 5th upload from initial order, you will need to come back
                                                                                                         and re-order. Each package will have different ranges of engagement. Choose the
                                                                                                        best package that fits your needs and insert the link to your YouTube Channel Link
                                                                                                        and hit submit. After order is sent, our team will place your order and you are good
                                                                                                         to upload your next video! If any questions or concerns arise, please use our LIVE
                                                                                                                 chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                                            � Start Time: 0-15 minutes after posting
                                                                                                                             � Views Per Video: 800 - 1,000 Views
                                                                                                                                � Likes Per Video: 25 - 50 Likes
                                                                                                                                    ⤴ Shares Per Video: 50+

                                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                                vqG6YYM4xkgETfuAEoBow

           2895   � Package #2                                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                                  47.60           1000         1000    boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                                         amount of videos we will promote. If the cap is 5, we will only promote the next 5
                                                                                                       videos you post. After your 5th upload from initial order, you will need to come back
                                                                                                         and re-order. Each package will have different ranges of engagement. Choose the
                                                                                                        best package that fits your needs and insert the link to your YouTube Channel Link
                                                                                                        and hit submit. After order is sent, our team will place your order and you are good
                                                                                                         to upload your next video! If any questions or concerns arise, please use our LIVE
                                                                                                                 chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                                            � Start Time: 0-15 Minutes after posting
                                                                                                                            � Views Per Video: 1,500 - 2,500 Views
                                                                                                                               � Likes Per Video: 75 - 100 Likes
                                                                                                                           � Comments Per Video: 10 - 15 Comments
                                                                                                                              ⤴ Shares Per Video: 50 - 100 Shares



                                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                                vqG6YYM4xkgETfuAEoBow




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           ID     Service                       Rate per 1000   Min order   Max order                                     Description


           2896   � Package #3                                                            � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    86.90           1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                          amount of videos we will promote. If the cap is 5, we will only promote the next 5
                                                                                        videos you post. After your 5th upload from initial order, you will need to come back
                                                                                          and re-order. Each package will have different ranges of engagement. Choose the
                                                                                         best package that fits your needs and insert the link to your YouTube Channel Link
                                                                                         and hit submit. After order is sent, our team will place your order and you are good
                                                                                          to upload your next video! If any questions or concerns arise, please use our LIVE
                                                                                                  chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0 - 15 Minutes after posting
                                                                                                             � Views Per Video: 3,500 - 5,000 Views
                                                                                                               � Likes Per Video: 100 - 150 Likes
                                                                                                            � Comments Per Video: 20 - 30 Comments
                                                                                                              ⤴ Shares Per Video: 100 - 150 Shares

                                                                                            � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                 vqG6YYM4xkgETfuAEoBow

           2897   � Package #4                                                            � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    189.85          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                          amount of videos we will promote. If the cap is 5, we will only promote the next 5
                                                                                        videos you post. After your 5th upload from initial order, you will need to come back
                                                                                          and re-order. Each package will have different ranges of engagement. Choose the
                                                                                         best package that fits your needs and insert the link to your YouTube Channel Link
                                                                                         and hit submit. After order is sent, our team will place your order and you are good
                                                                                          to upload your next video! If any questions or concerns arise, please use our LIVE
                                                                                                  chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0-15 Minutes after posting
                                                                                                            � Views Per Video: 5,000 - 10,000 Views
                                                                                                               � Likes Per Video: 250 - 500 Likes
                                                                                                           � Comments Per Video: 50 - 100 Comments
                                                                                                              ⤴ Shares Per Video: 150 - 200 Shares

                                                                                            � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                 vqG6YYM4xkgETfuAEoBow

           2898   � Package #5                                                            � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    454.80          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                          amount of videos we will promote. If the cap is 5, we will only promote the next 5
                                                                                        videos you post. After your 5th upload from initial order, you will need to come back
                                                                                          and re-order. Each package will have different ranges of engagement. Choose the
                                                                                         best package that fits your needs and insert the link to your YouTube Channel Link
                                                                                         and hit submit. After order is sent, our team will place your order and you are good
                                                                                          to upload your next video! If any questions or concerns arise, please use our LIVE
                                                                                                  chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0 - 15 Minutes after posting
                                                                                                            � Views Per Video: 10,000 - 25,000 Views
                                                                                                               � Likes Per Video: 750 - 1,000 Likes
                                                                                                           � Comments Per Video: 150 - 200 Comments
                                                                                                              ⤴ Shares Per Video: 200 - 250 Shares

                                                                                            � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                 vqG6YYM4xkgETfuAEoBow

           2899   � Package #6                                                            � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    950.65          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                          amount of videos we will promote. If the cap is 5, we will only promote the next 5
                                                                                        videos you post. After your 5th upload from initial order, you will need to come back
                                                                                          and re-order. Each package will have different ranges of engagement. Choose the
                                                                                         best package that fits your needs and insert the link to your YouTube Channel Link
                                                                                         and hit submit. After order is sent, our team will place your order and you are good
                                                                                          to upload your next video! If any questions or concerns arise, please use our LIVE
                                                                                                  chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0 - 15 Minutes after posting
                                                                                                            � Views Per Video: 25,000 - 50,000 Views
                                                                                                              � Likes Per Video: 1,500 - 2,500 Likes
                                                                                                           � Comments Per Video: 250 - 500 Comments
                                                                                                              ⤴ Shares Per Video: 250 - 300 Shares

                                                                                            � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                 vqG6YYM4xkgETfuAEoBow



                            Instant           ♻ YouTube Auto Growth | 10 CAP Video Max/Month




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           ID     Service                       Rate per 1000   Min order   Max order                                     Description


           2900   � Package #1                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    45.90           1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 10, we will only promote the next 10
                                                                                          videos you post. After your 10th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                              � Views Per Video: 800 - 1,000 Views
                                                                                                                 � Likes Per Video: 25 - 50 Likes
                                                                                                                     ⤴ Shares Per Video: 50+

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow

           2901   � Package #2                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    95.20           1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 10, we will only promote the next 10
                                                                                          videos you post. After your 10th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                             � Start Time: 0-15 Minutes after posting
                                                                                                             � Views Per Video: 1,500 - 2,500 Views
                                                                                                                � Likes Per Video: 75 - 100 Likes
                                                                                                            � Comments Per Video: 10 - 15 Comments
                                                                                                               ⤴ Shares Per Video: 50 - 100 Shares

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow

           2902   � Package #3                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    173.80          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 10, we will only promote the next 10
                                                                                          videos you post. After your 10th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0 - 15 Minutes after posting
                                                                                                             � Views Per Video: 3,500 - 5,000 Views
                                                                                                               � Likes Per Video: 100 - 150 Likes
                                                                                                            � Comments Per Video: 20 - 30 Comments
                                                                                                              ⤴ Shares Per Video: 100 - 150 Shares

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow

           2903   � Package #4                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    379.70          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 10, we will only promote the next 10
                                                                                          videos you post. After your 10th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0-15 Minutes after posting
                                                                                                            � Views Per Video: 5,000 - 10,000 Views
                                                                                                               � Likes Per Video: 250 - 500 Likes
                                                                                                           � Comments Per Video: 50 - 100 Comments
                                                                                                              ⤴ Shares Per Video: 150 - 200 Shares

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow




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           ID     Service                       Rate per 1000   Min order   Max order                                     Description


           2904   � Package #5                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    900.90          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 10, we will only promote the next 10
                                                                                          videos you post. After your 10th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0 - 15 Minutes after posting
                                                                                                            � Views Per Video: 10,000 - 25,000 Views
                                                                                                               � Likes Per Video: 750 - 1,000 Likes
                                                                                                           � Comments Per Video: 150 - 200 Comments
                                                                                                              ⤴ Shares Per Video: 200 - 250 Shares

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow

           2905   � Package #6                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                   1901.30          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 10, we will only promote the next 10
                                                                                          videos you post. After your 10th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                            � Start Time: 0 - 15 Minutes after posting
                                                                                                            � Views Per Video: 25,000 - 50,000 Views
                                                                                                              � Likes Per Video: 1,500 - 2,500 Likes
                                                                                                           � Comments Per Video: 250 - 500 Comments
                                                                                                              ⤴ Shares Per Video: 250 - 300 Shares

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow



                            Instant           ♻ YouTube Auto Growth | 15 CAP Video Max/Month

           2906   � Package #1                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    68.85           1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 15, we will only promote the next 15
                                                                                          videos you post. After your 15th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                             � Start Time: 0-15 minutes after posting
                                                                                                              � Views Per Video: 800 - 1,000 Views
                                                                                                                 � Likes Per Video: 25 - 50 Likes
                                                                                                                     ⤴ Shares Per Video: 50+

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow

           2907   � Package #2                                                           � YouTube Auto Growth is a Max Cap Package. This means, we will automatically
                                                    142.80          1000         1000   boost your YouTube videos with whichever package you choose. The cap is, the max
                                                                                        amount of videos we will promote. If the cap is 15, we will only promote the next 15
                                                                                          videos you post. After your 15th upload from initial order, you will need to come
                                                                                        back and re-order. Each package will have different ranges of engagement. Choose
                                                                                         the best package that fits your needs and insert the link to your YouTube Channel
                                                                                         Link and hit submit. After order is sent, our team will place your order and you are
                                                                                         good to upload your next video! If any questions or concerns arise, please use our
                                                                                               LIVE chat or Ticket Support System. Thanks and Welcome to the team!

                                                                                                             � Start Time: 0-15 Minutes after posting
                                                                                                             � Views Per Video: 1,500 - 2,500 Views
                                                                                                                � Likes Per Video: 75 - 100 Likes
                                                                                                            � Comments Per Video: 10 - 15 Comments
                                                                                                               ⤴ Shares Per Video: 50 - 100 Shares

                                                                                           � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                vqG6YYM4xkgETfuAEoBow




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           ID     Service                         Rate per 1000   Min order   Max order                                      Description


           2908   � Package #3                                                               � This will automatically boost your YouTube Channel for the next 15 videos you
                                                       260.07         1000          1000    post within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                            package will give you.

                                                                                                               � Start Time: 0 - 15 Minutes after posting
                                                                                                                � Views Per Video: 3,500 - 5,000 Views
                                                                                                                  � Likes Per Video: 100 - 150 Likes
                                                                                                               � Comments Per Video: 20 - 30 Comments
                                                                                                                 ⤴ Shares Per Video: 100 - 150 Shares

                                                                                               � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                    vqG6YYM4xkgETfuAEoBow

           2909   � Package #4                                                               � This will automatically boost your YouTube Channel for the next 15 videos you
                                                       569.55         1000          1000    post within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                            package will give you.

                                                                                                                � Start Time: 0-15 Minutes after posting
                                                                                                                � Views Per Video: 5,000 - 10,000 Views
                                                                                                                   � Likes Per Video: 250 - 500 Likes
                                                                                                               � Comments Per Video: 50 - 100 Comments
                                                                                                                  ⤴ Shares Per Video: 150 - 200 Shares

                                                                                               � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                    vqG6YYM4xkgETfuAEoBow

           2910   � Package #5                                                               � This will automatically boost your YouTube Channel for the next 15 videos you
                                                      1364.40         1000          1000    post within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                            package will give you.

                                                                                                               � Start Time: 0 - 15 Minutes after posting
                                                                                                               � Views Per Video: 10,000 - 25,000 Views
                                                                                                                  � Likes Per Video: 750 - 1,000 Likes
                                                                                                              � Comments Per Video: 150 - 200 Comments
                                                                                                                 ⤴ Shares Per Video: 200 - 250 Shares

                                                                                               � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                    vqG6YYM4xkgETfuAEoBow

           2911   � Package #6                                                               � This will automatically boost your YouTube Channel for the next 15 videos you
                                                      2851.95         1000          1000    post within 30 days! Insert the link of your channel and read below to see what this
                                                                                                                            package will give you.

                                                                                                               � Start Time: 0 - 15 Minutes after posting
                                                                                                               � Views Per Video: 25,000 - 50,000 Views
                                                                                                                 � Likes Per Video: 1,500 - 2,500 Likes
                                                                                                              � Comments Per Video: 250 - 500 Comments
                                                                                                                 ⤴ Shares Per Video: 250 - 300 Shares

                                                                                               � YouTube Channel LINK EXAMPLE: https://www.youtube.com/channel/UC-
                                                                                                                    vqG6YYM4xkgETfuAEoBow



                                 Instant        Datpiff

           1317   DatPiff Plays                                                                                        � Start Time: 0-24 hours
                                                        0.70          5000         500000                           � Speed per Day: 100-1000 Plays
                                                                                                                        � No Refill/No Refund
                                                                                                                       � Minimum Order: 5000
                                                                                                                      � Maximum Order: 500000

                                                                                            �Recommended mixing with DatPiff Profile Views to make your stats look better.

           1318   DatPiff Profile Views                                                                                � Start Time: 0-24 hours
                                                        0.70          2500         500000                           � Speed per Day: 100-1000 Plays
                                                                                                                        � No Refill/No Refund
                                                                                                                       � Minimum Order: 2500
                                                                                                                      � Maximum Order: 500,000

                                                                                            �Recommended mixing with DatPiff Profile Views to make your stats look better.



                                 Instant        Google Map Citations Service




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           ID     Service                                  Rate per 1000   Min order   Max order                                      Description


           2800   Package 1 - 100 Google Map Citations                                                                    • We will create 100 Point Map Listing.
                                                                  16.80        1000          1000                           • Increase Social Buzz in Local Area
                                                                                                                                  • NAP from Google Maps
                                                                                                                          • Best for Local SEO and Maps rankings

                                                                                                                            �What are Google Maps Citations?

                                                                                                       These are the citations that are created when various Google Users save your
                                                                                                        business details. It works like underlining a line in a page. We underline the
                                                                                                     important thing. Similarly, Google considers that your business is important that's
                                                                                                                    why people are saving it. Hence you get CITATION!

           2801   Package 2 - 300 Google Map Citations                                                                    • We will create 300 Point Map Listing.
                                                                  42.00        1000          1000                           • Increase Social Buzz in Local Area
                                                                                                                                  • NAP from Google Maps
                                                                                                                          • Best for Local SEO and Maps rankings

                                                                                                                            �What are Google Maps Citations?

                                                                                                       These are the citations that are created when various Google Users save your
                                                                                                       business details. It works like underlining a line on a page. We underline the
                                                                                                     important thing. Similarly, Google considers that your business is important that's
                                                                                                                    why people are saving it. Hence you get CITATION!

           2802   Package 3 - 500 Google Map Citations                                                                    • We will create 500 Point Map Listing.
                                                                  70.00        1000          1000                           • Increase Social Buzz in Local Area
                                                                                                                                  • NAP from Google Maps
                                                                                                                          • Best for Local SEO and Maps rankings

                                                                                                                            �What are Google Maps Citations?

                                                                                                       These are the citations that are created when various Google Users save your
                                                                                                       business details. It works like underlining a line on a page. We underline the
                                                                                                     important thing. Similarly, Google considers that your business is important that's
                                                                                                                    why people are saving it. Hence you get CITATION!

           2803   Package 4 - 1000 Google Map Citations                                                                   • We will create 1000 Point Map Listing.
                                                                 126.00        1000          1000                           • Increase Social Buzz in Local Area
                                                                                                                                  • NAP from Google Maps
                                                                                                                          • Best for Local SEO and Maps rankings

                                                                                                                            �What are Google Maps Citations?

                                                                                                       These are the citations that are created when various Google Users save your
                                                                                                       business details. It works like underlining a line on a page. We underline the
                                                                                                     important thing. Similarly, Google considers that your business is important that's
                                                                                                                    why people are saving it. Hence you get CITATION!



                              Instant                    HotNewHipHop

           1322   HotNewHipHop Plays                                                                                             � Start Time: 0-24 hours
                                                                  1.50         5000         500000                              � Speed per Day: 200-1000
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 5000
                                                                                                                                � Maximum Order: 500000



                              Instant                    IMDB

           283    IMDB Views                                                                                                    � Start Time: 0-72 hours
                                                                  24.00        500          100000                         � Speed per Day: 100-500 Real Votes
                                                                                                                             � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 500
                                                                                                                               � Maximum Order: 100,000

           2783   IMDB Reviews                                                                                                  � Start Time: 0-48 hours
                                                                 3500.00        1            500                                 � Speed per Day: 5-20
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 1
                                                                                                                                 � Maximum Order: 500

           2784   IMDB Starmeter - Rank in Top 100                                                                              � Start Time: 0-72 hours
                                                                 7000.00       1000          1000                              � Speed per Day: 100-500
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 1000
                                                                                                                                � Maximum Order: 1000




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           ID     Service                                     Rate per 1000   Min order   Max order                 Description


           2785   IMDB Starmeter - Rank in Top 10                                                             � Start Time: 0-72 hours
                                                                 11200.00         1000           1000        � Speed per Day: 100-500
                                                                                                            � Lifetime non drop guarantee
                                                                                                              � Minimum Order: 1000
                                                                                                              � Maximum Order: 1000

           2786   IMDB Up Starmeter                                                                            � Start Time: 0-8 hours
                                                                   28.00          500           50000     � Speed per Day: 7 days to complete
                                                                                                                � Refill Time: 30 Days
                                                                                                               � Minimum Order: 500
                                                                                                              � Maximum Order: 50000

           2921   IMDB Votes                                                                                   � Start Time: 0-72 hours
                                                                  202.50          100            5000     � Speed per Day: 100-500 Real Votes
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                               � Maximum Order: 5,000



                               Instant                      LinkedIn

           230    LinkedIn Followers                                                                          � Start Time: 0-12 hours
                                                                   40.00          200           10000        � Speed per Day: 300-500
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 200
                                                                                                             � Maximum Order: 10,000

           2847   � USA LinkedIn Followers                                                                     � Start Time: 0-2 Hours
                                                                   18.00          100           100000    � Speed per Day: 300-500 Followers
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                             � Maximum Order: 100,000

           2845   LinkedIn Company Page Followers                                                              � Start Time: 0-2 Hours
                                                                   15.00          100          10000000   � Speed per Day: 300-500 Followers
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                             � Maximum Order: 500,0000

           2846   LinkedIn Profile Page Followers                                                              � Start Time: 0-2 Hours
                                                                   16.50          100      1000000000     � Speed per Day: 300-500 Followers
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                             � Maximum Order: 500,0000

           1869   � USA LinkedIn Profiles Followers                                                            � Start Time: 0-24 Hour
                                                                   11.90          100          1000000          � Speed per Day : 300
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 25
                                                                                                               � Maximum Order: 300

           1872   � USA LinkedIn Profiles Followers S2                                                         � Start Time: 0-24 Hour
                                                                   14.00          100           50000           � Speed per Day : 300
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 25
                                                                                                            � Maximum Order: 50,000,000

           2844   � USA LinkedIn Profiles Follower S3                                                          � Start Time: 0-2 Hours
                                                                   12.00          100            1000       � Speed per Day: 350 Followers
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                               � Maximum Order: 1000

           1868   � USA LinkedIn Company Page Followers                                                        � Start Time: 0-24 Hour
                                                                   14.00          100           50000           � Speed per Day : 300
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 25
                                                                                                               � Maximum Order: 300

           1873   � USA LinkedIn Company Page Followers S2                                                     � Start Time: 0-24 Hour
                                                                   11.20          100          1000000          � Speed per Day : 300
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                            � Maximum Order: 5,000,000

           2843   � USA LinkedIn Company Page Followers S3                                                     � Start Time: 0-12 Hours
                                                                   10.50          100            1000       � Speed per Day: 400 Followers
                                                                                                            � Lifetime non drop guarantee
                                                                                                               � Minimum Order: 100
                                                                                                               � Maximum Order: 1000




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           ID     Service                                      Rate per 1000   Min order   Max order                Description


           1870   Worldwide LinkedIn Profiles Followers                                                         � Start Time: 0-24 Hour
                                                                    11.90          100          1000000          � Speed per Day : 300
                                                                                                             � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 100
                                                                                                             � Maximum Order: 10,000,000

           1871   Worldwide LinkedIn Company Page Followers                                                     � Start Time: 0-24 Hour
                                                                    11.20          100          1000000          � Speed per Day : 300
                                                                                                             � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 100
                                                                                                             � Maximum Order: 10,000,000

           1882   � USA LinkedIn Connections                                                                    � Start Time: 0-24 Hour
                                                                   210.00           10             30           � Speed per Day: 300
                                                                                                                � Refill Time: 30 Days
                                                                                                                � Minimum Order: 100
                                                                                                                � Maximum Order: 300



                               Instant                       LinkedIn Other Services

           2848   LinkedIn Post Likes - Mixed                                                                   � Start Time: 0-2 Hours
                                                                    45.00           30           10000       � Speed per Day: 300-500 Likes
                                                                                                             � Lifetime non drop guarantee
                                                                                                                 � Minimum Order: 30
                                                                                                               � Maximum Order: 10,000

           2849   � USA LinkedIn Post Likes S1                                                                  � Start Time: 0-2 Hours
                                                                    48.00           30           10000       � Speed per Day: 50 - 100 Likes
                                                                                                             � Lifetime non drop guarantee
                                                                                                                 � Minimum Order: 30
                                                                                                               � Maximum Order: 10,000

           2850   � USA LinkedIn Post Love Reaction                                                             � Start Time: 0-2 Hours
                                                                    48.00           50           10000     � Speed per Day: 50 - 100 Reaction
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 50
                                                                                                              � Maximum Order: 10,000

           2851   � USA LinkedIn Post Curious Reaction                                                          � Start Time: 0-2 Hours
                                                                    48.00           50           10000     � Speed per Day: 50 - 100 Reaction
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 50
                                                                                                              � Maximum Order: 10,000

           2852   � USA LinkedIn Post Insightful Reaction                                                       � Start Time: 0-2 Hours
                                                                    48.00           50           10000     � Speed per Day: 50 - 100 Reaction
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 50
                                                                                                              � Maximum Order: 10,000

           2853   � USA LinkedIn Post Celebrate Reaction                                                        � Start Time: 0-2 Hours
                                                                    48.00           50            5000     � Speed per Day: 50 - 100 Reaction
                                                                                                            � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 50
                                                                                                              � Maximum Order: 10,000

           2854   LinkedIn Photo - Video Post Views                                                             � Start Time: 0-2 Hours
                                                                    6.00           500          10000000   � Speed per Day: 1000 - 2000 Views
                                                                                                             � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 500
                                                                                                              � Maximum Order: 1,000,000

           2855   LinkedIn Post Share                                                                           � Start Time: 0-2 Hours
                                                                    45.00          100           50000      � Speed per Day: 300-500 Shares
                                                                                                             � Lifetime non drop guarantee
                                                                                                                � Minimum Order: 100
                                                                                                               � Maximum Order: 10,000

           1874   � USA LinkedIn Post Likes S2                                                                  � Start Time: 0-24 Hour
                                                                    44.00           25           10000           � Speed per Day : 300
                                                                                                             � Lifetime non drop guarantee
                                                                                                                 � Minimum Order: 25
                                                                                                                � Maximum Order: 300

           2857   � USA LinkedIn Random Comments                                                                � Start Time: 0-2 Hours
                                                                   105.00           25            5000      � Speed per Day: 100-500 Shares
                                                                                                             � Lifetime non drop guarantee
                                                                                                                 � Minimum Order: 25
                                                                                                               � Maximum Order: 5000




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           ID       Service                           Rate per 1000   Min order   Max order                Description


           1876     � USA LinkedIn Celebrate                                                           � Start Time: 0-24 Hour
                                                          42.00            25          10000            � Speed per Day : 300
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 25
                                                                                                       � Maximum Order: 300

           1877     � USA LinkedIn Love                                                                � Start Time: 0-24 Hour
                                                          42.00            25          10000            � Speed per Day : 300
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 25
                                                                                                       � Maximum Order: 300

           1878     � USA LinkedIn Insightful                                                          � Start Time: 0-24 Hour
                                                          42.00            25          10000            � Speed per Day : 300
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 25
                                                                                                       � Maximum Order: 300

           1879     � USA LinkedIn Curious                                                             � Start Time: 0-24 Hour
                                                          42.00            25          10000            � Speed per Day : 300
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 25
                                                                                                       � Maximum Order: 300

           1880     LinkedIn Recommendations                                                           � Start Time: 0-24 Hour
                                                          630.00           10            30             � Speed per Day : 100
                                                                                                    � Lifetime non drop guarantee
                                                                                                         � Minimum Order: 5
                                                                                                       � Maximum Order: 300

           1884     � USA LinkedIn Comments                                                            � Start Time: 0-24 Hour
                                                          112.00           25          10000            � Speed per Day : 300
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 20
                                                                                                       � Maximum Order: 300

           1886     � USA LinkedIn Shares                                                              � Start Time: 0-7 Hours
                                                          42.00            25          10000            � Speed per Day : 300
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 50
                                                                                                       � Maximum Order: 300



                                  Instant          Pinterest

           72       Real Pinterest Followers                                                          � Start Time: 0-24 hours
                                                          12.00            50           5000         � Speed per Day: 100-500
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 20
                                                                                                     � Maximum Order: 100,000

           73       Pinterest Repin                                                                   � Start Time: 0-24 hours
                                                          15.00           100          10000         � Speed per Day: 100-500
                                                                                                    � Lifetime non drop guarantee
                                                                                                       � Minimum Order: 100
                                                                                                     � Maximum Order: 10,000

           2573     Pinterest - Pin Likes                                                               � Start Time: 0-1 hour
                                                           3.50            20          100000       � Speed per Day: 5,000-10,000
                                                                                                    � Lifetime non drop guarantee
                                                                                                        � Minimum Order: 20
                                                                                                     � Maximum Order: 100,000

           2779     Pinterest Followers                                                                 � Start Time: Instant
                                                           8.40            50          50000    � Speed per Day: 1,000-5,000 Followers
                                                                                                       � Refill Time: 30 Days
                                                                                                       � Minimum Order: 50
                                                                                                     � Maximum Order: 50,000

           2780     Pinterest Followers                                                                � Start Time: Instant
                                                          16.80           100           2000     � Speed per Day: 150-200 Followers
                                                                                                       � Refill Time: 30 Days
                                                                                                      � Minimum Order: 100
                                                                                                     � Maximum Order: 2000

           2781     Pinterest Likes                                                                     � Start Time: Instant
                                                           6.30            50          50000      � Speed per Day: 1,000-5,000 Likes
                                                                                                       � Refill Time: 30 Days
                                                                                                       � Minimum Order: 50
                                                                                                     � Maximum Order: 50,000




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           ID     Service                                  Rate per 1000    Min order   Max order                                  Description


           2782   Pinterest Repins                                                                                              � Start Time: Instant
                                                                  7.00           50          50000                        � Speed per Day: 1,000-5,000 Repins
                                                                                                                                � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 50
                                                                                                                              � Maximum Order: 50,000



                                Instant                  Quora

           1171   Quora Followers                                                                                              � Start Time: 0-1 hours
                                                                  21.00          50          5000                              � Speed per Day: 1,000
                                                                                                                                � Refill Time: 10 Days
                                                                                                                                � Minimum Order: 50
                                                                                                                               � Maximum Order: 1,000

           1172   Quora Upvotes                                                                                                � Start Time: 0-1 hours
                                                                  21.00          50          5000                              � Speed per Day: 1,000
                                                                                                                                � Refill Time: 10 Days
                                                                                                                                � Minimum Order: 50
                                                                                                                               � Maximum Order: 1,000

           2526   Quora Shares                                                                                                 � Start Time: 0-24 hours
                                                                  15.40          50          5000                              � Speed per Day: 1,000
                                                                                                                                � Refill Time: 15 Days
                                                                                                                                � Minimum Order: 50
                                                                                                                               � Maximum Order: 5,000

           2525   Quora Question + Answer (Answer 20-40                                                                        � Start Time: 0-24 hours
                  words)                                       4200.00           1            20                                � Speed per Day: 10
                                                                                                                                � Refill Time: 15 Days
                                                                                                                                � Minimum Order: 1
                                                                                                                               � Maximum Order: 20

                                                                                                     �Send Question which need to be asked? and also send the answer which need to
                                                                                                                          be posted in "Ticket" with Order ID.



                                Instant                  Reddit Services

           2797   Reddit Members                                                                                               � Start Time: 0-24 hours
                                                                140.00           50          1000                              � Speed per Day: 100-500
                                                                                                                                � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 50
                                                                                                                               � Maximum Order: 1000

           2799   Reddit Custom Comments                                                                                       � Start Time: 0-24 hours
                                                                140.00           20           100                              � Speed per Day: 20-100
                                                                                                                                � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 20
                                                                                                                               � Maximum Order: 100



                                Instant                  Reverbnation

           1319   Reverbnation Plays                                                                                           � Start Time: 0-24 hours
                                                                  0.70          5000         50000                          � Speed per Day: 1000 - 10,000
                                                                                                                                � Refill Time: 30 Days
                                                                                                                               � Minimum Order: 5000
                                                                                                                              � Maximum Order: 50000

           1320   Reverbnation Video Views                                                                                     � Start Time: 0-24 hours
                                                                  0.70          5000         50000                          � Speed per Day: 1000 - 10,000
                                                                                                                                � Refill Time: 30 Days
                                                                                                                               � Minimum Order: 5000
                                                                                                                              � Maximum Order: 50000



                                Instant                  Rottentomatoes Services

           2787   Rottentomatoes Votes                                                                                        � Start Time: 0-24 hours
                                                                112.00          100          5000                         � Speed per Day: 1000 - 2000 Votes
                                                                                                                                � Refill Time: 30 Days
                                                                                                                               � Minimum Order: 100
                                                                                                                              � Maximum Order: 5000




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           ID     Service                                            Rate per 1000   Min order   Max order                                        Description


           2788   Rottentomatoes Views                                                                                                      � Start Time: 0-24 hours
                                                                         21.00           100          100000                           � Speed per Day: 1000 - 10000 Views
                                                                                                                                             � Refill Time: 30 Days
                                                                                                                                             � Minimum Order: 100
                                                                                                                                           � Maximum Order: 100,000

           2789   Rottentomatoes Reviews                                                                                                    � Start Time: 0-24 hours
                                                                        4200.00           1             500                              � Speed per Day: 20-200 Reviews
                                                                                                                                             � Refill Time: 30 Days
                                                                                                                                             � Minimum Order: 100
                                                                                                                                             � Maximum Order: 500



                               Instant                          Soundcloud

           291    Soundcloud Plays - �                                                                                                       � Start Time: 3-4 hours
                                                                          0.28           100          100000                             � Speed per Day: 50,000-100,000
                                                                                                                                             � Refill Time: 30 Days
                                                                                                                                             � Minimum Order: 100
                                                                                                                                           � Maximum Order: 100,000

                                                                                                                    � For drip feed please make sure the interval is at least 120 between runs

           209    Fast Soundcloud Followers                                                                                                  � Start Time: 0-1 hour
                                                                          2.50           100           50000                              � Speed per Day: 5,000-10,000
                                                                                                                                             � Refill Time: 30 Days
                                                                                                                                             � Minimum Order: 100
                                                                                                                                           � Maximum Order: 50,000

           716    Soundcloud Likes                                                                                                          � Start Time: 0-12 hours
                                                                          1.50            20           25000                                 � Speed per Day: 3,000
                                                                                                                                             � No Refill/No Refund
                                                                                                                                             � Minimum Order: 20
                                                                                                                                            � Maximum Order: 25,000

           2933   Real Soundcloud Followers                                                                                                 � Start Time: 0-1 hour
                                                                          6.75            50           5000                            � Speed per Day: 150-300 Followers
                                                                                                                                             � Refill Time: 90 Days
                                                                                                                                             � Minimum Order: 50
                                                                                                                                           � Maximum Order: 5000

           2934   Real Soundcloud Likes                                                                                                       � Start Time: 0-1 hour
                                                                          6.75            50           5000                               � Speed per Day: 150-300 Likes
                                                                                                                                              � Refill Time: 90 Days
                                                                                                                                              � Minimum Order: 50
                                                                                                                                             � Maximum Order: 5000



                               Instant                          Spotify

           146    Spotify Artist Followers                                                                                                  � Start Time: 0-24 hours
                                                                          5.50           500          100000                               � Speed per Day: 10-10,000
                                                                                                                                          � Lifetime non drop guarantee
                                                                                                                                             � Minimum Order: 500
                                                                                                                                           � Maximum Order: 100,000

           427    Spotify Playlist Followers                                                                                                � Start Time: 0-24 hours
                                                                          4.00           500          100000                               � Speed per Day: 10-10,000
                                                                                                                                          � Lifetime non drop guarantee
                                                                                                                                             � Minimum Order: 500
                                                                                                                                           � Maximum Order: 100,000

           231    Spotify Plays/Streams (Enter Tracks not album) -                                                                               � Enter track link
                  Multiples of 1,000                                      5.00           1000         1000000
                                                                                                                                           � Start Time: 0-24 hours
                                                                                                                                    � Speed per Day for Small Orders: 10-100
                                                                                                                                    � Speed per Day for Big Orders: 500-1,000
                                                                                                                                             � Refill Time: 60 Days
                                                                                                                                           � Minimum Order: 5,000
                                                                                                                                         � Maximum Order: 1,000,000

                                                                                                                � Special bulk pricing for orders of 100,000 or more, contact us via tickets for more




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           ID     Service                                Rate per 1000   Min order   Max order                                        Description


           426    Spotify Custom Playlist Plays                                                           � Enter Playlist link(The play list needs to have a minimum of 5 songs)
                                                              3.00           1000         1000000
                                                                                                                                � Start Time: 0-24 hours
                                                                                                                                � Speed per Day: 10-100
                                                                                                                                 � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 5,000
                                                                                                                               � Maximum Order: 1,000,000

                                                                                                    �You can add as many songs you want in the playlist. The plays will be split evenly
                                                                                                                  among them. ex 20k order on 10 songs = 2k per song
                                                                                                    � Special bulk pricing for orders of 100,000 or more, contact us via tickets for more

           2574   Spotify Podcast Plays                                                                                         � Start Time: 0-12 hours
                                                              2.80           500          100000                              � Speed per Day: 3,000-5,000
                                                                                                                              � Lifetime non drop guarantee
                                                                                                                                � Minimum Order: 1,000
                                                                                                                              � Maximum Order: 1,000,000

                                                                                                                              ⚠ Spotify Podcast Link only
                                                                                                            �Podcast plays from TIER 1 countries only! USA/CA/EU/AU/NZ/UK.
                                                                                                                                 �60-90 second plays



                               Instant                 Telegram

           1196   Telegram Group Members                                                                                         � Start Time: 0-8 hours
                                                              3.90           1000          10000                                 � Speed per Day: 10,000
                                                                                                                                  � No Refill/No Refund
                                                                                                                                 � Minimum Order: 1,000
                                                                                                                                 � Maximum Order: 6,000

           1195   Telegram Likes                                                                                                 � Start Time: 0-8 hours
                                                             10.80           100           50000                                � Speed per Day: 10,000
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 10,000

           2693   Telegram Post Views - 1 Post                                                                                   � Start Time: 0-1 hour
                                                              0.50           100          200000                                 � Speed per Day: 200K
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 200000

           347    Telegram Post Views - Last 5 posts                                                                             � Start Time: 0-1 hour
                                                              0.85           100          150000                                � Speed per Day: 10,000
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 35,000

           431    Telegram Post Views - Last 10 posts                                                                            � Start Time: 0-12 hours
                                                              1.15           100           50000                               � Speed per Day: 2,000-5,000
                                                                                                                                  � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 50,000

           432    Telegram Post Views - Last 20 posts                                                                            � Start Time: 0-12 hours
                                                              2.16           100           50000                               � Speed per Day: 2,000-5,000
                                                                                                                                  � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                                � Maximum Order: 50,000

           2510   Telegram Post Views - Last 50 posts                                                                            � Start Time: 0-24 hours
                                                              5.60            50           4000                                 � Speed per Day: 500-2000
                                                                                                                                  � No Refill/No Refund
                                                                                                                                  � Minimum Order: 50
                                                                                                                                 � Maximum Order: 4,000

                                                                                                                            Link example: https://t.me/example3

           2694   Telegram Post Views - Last 50 posts                                                                            � Start Time: 0-1 hour
                                                              3.40           100          150000                               � Speed per Day: 2000-5000
                                                                                                                                 � No Refill/No Refund
                                                                                                                                 � Minimum Order: 100
                                                                                                                               � Maximum Order: 150000




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           ID     Service                                        Rate per 1000   Min order   Max order                              Description


           2701   Telegram Channel Group Members - Public                                                                       � Start Time: 0-24 hours
                                                                         1.58        100           5000                         � Speed per Day: 5000
                                                                                                                                � No Refill/No Refund
                                                                                                                                � Minimum Order: 100
                                                                                                                                � Maximum Order: 5000

                                                                                                            �Link: Telegram channel - group link. Ex: t.me/joinchat/example



                                Instant                        Tumblr

           2790   Real Tumblr Followers                                                                                        � Start Time: 0-24 hours
                                                                     12.60            50           5000                        � Speed per Day: 1,000
                                                                                                                               � 1 Year refill guarantee
                                                                                                                                � Minimum Order: 50
                                                                                                                               � Maximum Order: 5,000

           2791   Real Tumblr Likes                                                                                             Start Time: 0-24 hours
                                                                     12.60            50           5000                        � Speed per Day: 1,000
                                                                                                                               � 1 Year refill guarantee
                                                                                                                                � Minimum Order: 50
                                                                                                                               � Maximum Order: 5,000

           2792   Tumblr Followers                                                                                              Start Time: 0-24 hours
                                                                     16.80           100           5000                        � Speed per Day: 1,000
                                                                                                                                � Refill Time: 30 Days
                                                                                                                               � Minimum Order: 100
                                                                                                                               � Maximum Order: 5,000

           2793   Tumblr Likes                                                                                                   Start Time: 0-24 hours
                                                                     16.80           100           2000                         � Speed per Day: 1,000
                                                                                                                                 � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 100
                                                                                                                                � Maximum Order: 2000

           2794   Tumblr Reblog                                                                                                  Start Time: 0-24 hours
                                                                     16.80           100           2000                         � Speed per Day: 1,000
                                                                                                                                 � Refill Time: 30 Days
                                                                                                                                � Minimum Order: 100
                                                                                                                                � Maximum Order: 2000



                                Instant                        Twitch

           1106   Low Quality Twitch Followers - No Refill                                                                     � Start Time: 0-48 hours
                                                                         5.00        100           1000                        � Speed per Day: 1,000
                                                                                                                                � No Refill/No Refund
                                                                                                                               � Minimum Order: 100
                                                                                                                               � Maximum Order: 1,000

           1212   Low Quality Twitch Followers - No Refill S2                                                                   � Start Time: Instant
                                                                         6.00        100          300000                      � Speed per Day: 300,000
                                                                                                                                � No Refill/No Refund
                                                                                                                               � Minimum Order: 1,000
                                                                                                                              � Maximum Order: 300,000

           1083   Instant Twitch Followers                                                                                       � Start Time: Instant
                                                                     30.00            50          10000                     � Lifetime non Drop Guarantee
                                                                                                                                � Minimum Order: 50
                                                                                                                              � Maximum Order: 1,000

                                                                                                              �LINK EXAMPLE: https://www.twitch.tv/username1231321!

           1084   Twitch Followers Drip Feed 1- 2 hours                                                                        � Start Time: 0-24 hours
                                                                     30.00            10          10000                     � Lifetime non Drop Guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                             � Maximum Order: 10,000

                                                                                                               �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                           Full delivery is spread out over the delivery speed that you choose.

           1085   Twitch Followers Drip Feed 2-6 hours                                                                         � Start Time: 0-24 hours
                                                                     30.00            10          10000                     � Lifetime non Drop Guarantee
                                                                                                                                � Minimum Order: 10
                                                                                                                             � Maximum Order: 10,000

                                                                                                               �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                           Full delivery is spread out over the delivery speed that you choose.




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           ID     Service                                  Rate per 1000   Min order   Max order                             Description


           1086   Twitch Followers Drip Feed 6-12 Hours                                                                 � Start Time: 0-24 hours
                                                               30.00            10          10000                    � Lifetime non Drop Guarantee
                                                                                                                         � Minimum Order: 10
                                                                                                                      � Maximum Order: 10,000

                                                                                                        �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                    Full delivery is spread out over the delivery speed that you choose.

           1087   Twitch Followers Drip Feed 12-24 Hours                                                                � Start Time: 0-24 hours
                                                               30.00            10          10000                    � Lifetime non Drop Guarantee
                                                                                                                         � Minimum Order: 10
                                                                                                                      � Maximum Order: 10,000

                                                                                                        �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                    Full delivery is spread out over the delivery speed that you choose.

           1088   Twitch Followers Drip Feed 24-36 Hours                                                                � Start Time: 0-24 hours
                                                               30.00            10          10000                    � Lifetime non Drop Guarantee
                                                                                                                         � Minimum Order: 10
                                                                                                                      � Maximum Order: 10,000

                                                                                                        �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                    Full delivery is spread out over the delivery speed that you choose.

           1089   Twitch Followers Drip Feed 25-50 Hours                                                                � Start Time: 0-24 hours
                                                               30.00            10          10000                    � Lifetime non Drop Guarantee
                                                                                                                         � Minimum Order: 10
                                                                                                                      � Maximum Order: 10,000

                                                                                                        �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                    Full delivery is spread out over the delivery speed that you choose.

           1090   Twitch Followers Drip Feed 3-5 Days                                                                   � Start Time: 0-24 hours
                                                               30.00            10          10000                    � Lifetime non Drop Guarantee
                                                                                                                         � Minimum Order: 10
                                                                                                                      � Maximum Order: 10,000

                                                                                                        �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                    Full delivery is spread out over the delivery speed that you choose.

           1091   Twitch Followers Drip Feed 5-7 Days                                                                   � Start Time: 0-24 hours
                                                               30.00            10          10000                    � Lifetime non Drop Guarantee
                                                                                                                         � Minimum Order: 10
                                                                                                                      � Maximum Order: 10,000

                                                                                                        �LINK EXAMPLE: https://www.twitch.tv/username1231321!
                                                                                                    Full delivery is spread out over the delivery speed that you choose.

           1324   Twitch Followers                                                                                      � Start Time: 0-24 hours
                                                                2.50           100          50000                      � Speed per Day: 500-1000
                                                                                                                        � No Refill/No Refund
                                                                                                                        � Minimum Order: 100
                                                                                                                       � Maximum Order: 50000

           1325   Twitch Followers                                                                                  � Link: Twitch channel username!
                                                                5.50            50          50000
                                                                                                                         � Start Time: 0-8 hours
                                                                                                                         � Speed per Day: 5,000
                                                                                                                         � No Refill/No Refund
                                                                                                                         � Minimum Order: 50
                                                                                                                        � Maximum Order: 50,000

           1326   Twitch Followers 20K - NON DROP ♻                                                                 � Link: Twitch channel username!
                                                                9.00            50          20000
                                                                                                                        � Start Time: 0-8 hours
                                                                                                                        � Speed per Day: 5,000
                                                                                                                     � Lifetime non drop guarantee
                                                                                                                         � Minimum Order: 50
                                                                                                                      � Maximum Order: 20,000

           2494   HQ Twitch Followers                                                                                 �LINK EXAMPLE: twitch12345
                                                                6.50           500          20000
                                                                                                                        � Start Time: 0-24 hours
                                                                                                                         � Speed per Day: 5,000
                                                                                                                         � Refill Time: 10 Days
                                                                                                                         � Minimum Order: 50
                                                                                                                        � Maximum Order: 20,000




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           ID     Service                             Rate per 1000   Min order    Max order                                     Description


           2495   Twitch Channel Views 200K Max                                                                             � Start Time: 0-12 hours
                                                           0.65           2000        200000                                � Speed per Day: 5,000
                                                                                                                            � No Refill/No Refund
                                                                                                                            � Minimum Order: 500
                                                                                                                           � Maximum Order: 200,000

                                                                                                            �LINK EXAMPLE: https://www.twitch.tv/username1231321

           2496   Twitch Channel Views - 10,000                                                                             � Start Time: 0-24 hours
                                                           7.80            1             1                                  � Speed per Day: 10,000
                                                                                                                            � No Refill/No Refund
                                                                                                                             � Minimum Order: 1
                                                                                                                             � Maximum Order: 1

                                                                                                            �LINK EXAMPLE: https://www.twitch.tv/username1231321

           2497   Twitch Channel Views - 20,000                                                                             � Start Time: 0-24 hours
                                                           7.80            1             1                                  � Speed per Day: 10,000
                                                                                                                            � No Refill/No Refund
                                                                                                                             � Minimum Order: 1
                                                                                                                             � Maximum Order: 1

                                                                                                            �LINK EXAMPLE: https://www.twitch.tv/username1231321

           2498   Twitch Channel Views - 500,000                                                                           � Start Time: 0-72 hours
                                                           39.00           1             1                                � Speed per Day: 200k-300k
                                                                                                                            � No Refill/No Refund
                                                                                                                             � Minimum Order: 1
                                                                                                                             � Maximum Order: 1

                                                                                                            �LINK EXAMPLE: https://www.twitch.tv/username1231321

           2500   Twitch Prime Subscribers                                                                                  � Start Time: 12-72 hours
                                                          1872.00          10           1000                                � Speed per Day: 5,000
                                                                                                                             � No Refill/No Refund
                                                                                                                             � Minimum Order: 10
                                                                                                                            � Maximum Order: 1000

                                                                                                          �LINK EXAMPLE: https://www.twitch.tv/username1231321
                                                                                                  � Twitch pay you ~2.49$ per Prime Subs !!! (TIN Required to get full revenue)
                                                                                                                      � Everything is manual work here
                                                                                                                   � Your channel must be Twitch Affiliated
                                                                                                                         � Subs will also follow you
                                                                                                      -Payouts are NOT guaranteed. By purchasing you agree to the risks
                                                                                                               -We are not responsible for any banned accounts.
                                                                                                                  -We are only responsible for subs delivery

                                                                                                               � Your channel must look really good and legit.
                                                                                                         � You need to stream 3-6 times a week (1-2 hours per stream)
                                                                                                              � You need channel views, live viewers if possible

           2501   Twitch TIN - Tax Information                                                                              � Start Time: 48-72 hours
                                                           10.40           1             1                                   � No Refill/No Refund
                                                                                                                              � Minimum Order: 1
                                                                                                                              � Maximum Order: 1
                                                                                                                        � Use your EMAIL IN LINK FIELD
                                                                                                                 � (Tax information) so you get most out of subs



                              Instant               Twitch Clip Views

           1053   Twitch Clip Views - 100 per hour                                                                           � Start Time: 0-24 hours
                                                           1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                            � Lifetime Refill Guarantee
                                                                                                                              � Minimum Order: 250
                                                                                                                           � Maximum Order: 1,000,000
                                                                                                       • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                        • Drip feed delivery over a period of time, speed decided per hour

                                                                                               You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                 to be accepted!




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           ID     Service                            Rate per 1000   Min order    Max order                                    Description


           1054   Twitch Clip Views - 200 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!

           1055   Twitch Clip Views - 300 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!

           1056   Twitch Clip Views - 400 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!

           1057   Twitch Clip Views - 500 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!

           1058   Twitch Clip Views - 600 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!

           1059   Twitch Clip Views - 700 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!

           1060   Twitch Clip Views - 800 per hour                                                                          � Start Time: 0-24 hours
                                                          1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                           � Lifetime Refill Guarantee
                                                                                                                             � Minimum Order: 250
                                                                                                                          � Maximum Order: 1,000,000
                                                                                                      • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                       • Drip feed delivery over a period of time, speed decided per hour

                                                                                              You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                to be accepted!




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           ID     Service                                    Rate per 1000   Min order    Max order                                    Description


           1061   Twitch Clip Views - 900 per hour                                                                                  � Start Time: 0-24 hours
                                                                  1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 250
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                      You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                        to be accepted!

           1062   Twitch Clip Views - 1000 per hour                                                                                 � Start Time: 0-24 hours
                                                                  1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 250
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                      You must use your direct channel link, for example www.twitch.tv/ninja for the order
                                                                                                                                        to be accepted!



                              Instant                      Twitch Video(VOD) Views

           1063   Twitch Video (VOD) Views - 100 per hour                                                                           � Start Time: 0-24 hours
                                                                  1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 100
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                         You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                        /1234567890 for the order to be accepted!

           1064   Twitch Video (VOD) Views - 200 per hour                                                                           � Start Time: 0-24 hours
                                                                  1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 100
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                         You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                        /1234567890 for the order to be accepted!

           1065   Twitch Video (VOD) Views - 300 per hour                                                                           � Start Time: 0-24 hours
                                                                  1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 100
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                         You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                        /1234567890 for the order to be accepted!

           1066   Twitch Video (VOD) Views - 400 per hour                                                                           � Start Time: 0-24 hours
                                                                  1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 100
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                         You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                        /1234567890 for the order to be accepted!

           1067   Twitch Video (VOD) Views - 500 per hour                                                                           � Start Time: 0-24 hours
                                                                  1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                   � Lifetime Refill Guarantee
                                                                                                                                     � Minimum Order: 100
                                                                                                                                  � Maximum Order: 1,000,000
                                                                                                              • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                               • Drip feed delivery over a period of time, speed decided per hour

                                                                                                         You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                        /1234567890 for the order to be accepted!




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           ID     Service                                      Rate per 1000   Min order    Max order                                     Description


           1068   Twitch Video (VOD) Views - 600 per hour                                                                             � Start Time: 0-24 hours
                                                                    1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 100
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                            You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                           /1234567890 for the order to be accepted!

           1069   Twitch Video (VOD) Views - 700 per hour                                                                             � Start Time: 0-24 hours
                                                                    1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 100
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                            You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                           /1234567890 for the order to be accepted!

           1070   Twitch Video (VOD) Views - 800 per hour                                                                             � Start Time: 0-24 hours
                                                                    1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 100
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                            You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                           /1234567890 for the order to be accepted!

           1071   Twitch Video (VOD) Views - 900 per hour                                                                             � Start Time: 0-24 hours
                                                                    1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 100
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                            You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                           /1234567890 for the order to be accepted!

           1072   Twitch Video (VOD) Views - 1000 per hour                                                                            � Start Time: 0-24 hours
                                                                    1.60           100        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 100
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                            You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                           /1234567890 for the order to be accepted!

           1079   Twitch Channel Total Views - 700 per hour                                                                           � Start Time: 0-24 hours
                                                                    1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 100
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                            You must use past broadcast video link such as https://www.twitch.tv/videos
                                                                                                                           /1234567890 for the order to be accepted!



                              Instant                        Twitch Channel Total Views

           1073   Twitch Channel Total Views - 100 per hour                                                                           � Start Time: 0-24 hours
                                                                    1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                     � Lifetime Refill Guarantee
                                                                                                                                       � Minimum Order: 250
                                                                                                                                    � Maximum Order: 1,000,000
                                                                                                                • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                 • Drip feed delivery over a period of time, speed decided per hour

                                                                                                        You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                          to be accepted!




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           ID     Service                                     Rate per 1000   Min order    Max order                                     Description


           1074   Twitch Channel Total Views - 200 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!

           1075   Twitch Channel Total Views - 300 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!

           1076   Twitch Channel Total Views - 400 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!

           1077   Twitch Channel Total Views - 500 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!

           1078   Twitch Channel Total Views - 600 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!

           1080   Twitch Channel Total Views - 800 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!

           1081   Twitch Channel Total Views - 900 per hour                                                                          � Start Time: 0-24 hours
                                                                   1.60           250        1000000                             � Speed per Day: 10,000-20,000
                                                                                                                                    � Lifetime Refill Guarantee
                                                                                                                                      � Minimum Order: 250
                                                                                                                                   � Maximum Order: 1,000,000
                                                                                                               • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                • Drip feed delivery over a period of time, speed decided per hour

                                                                                                       You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                         to be accepted!




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           ID     Service                                            Rate per 1000   Min order    Max order                                       Description


           1082   Twitch Channel Total Views - 1000 per hour                                                                                  � Start Time: 0-24 hours
                                                                          1.60           250        1000000                               � Speed per Day: 10,000-20,000
                                                                                                                                             � Lifetime Refill Guarantee
                                                                                                                                               � Minimum Order: 250
                                                                                                                                            � Maximum Order: 1,000,000
                                                                                                                        • Twitch Channel Total Offline Views (NOT the same as live viewers)
                                                                                                                         • Drip feed delivery over a period of time, speed decided per hour

                                                                                                               You must use your direct channel link, for example, www.twitch.tv/ninja for the order
                                                                                                                                                 to be accepted!

           1107   Twitch Channel Views                                                                                                       � Start Time: 0-36 hours
                                                                          6.00           1000        100000                                  � Speed per Day: 5,000
                                                                                                                                              � Refill Time: 30 Days
                                                                                                                                             � Minimum Order: 1,000
                                                                                                                                            � Maximum Order: 100,000



                               Instant                          Vimeo

           1349   Vimeo- Followers
                                                                         24.00           100         100000



           2698   Vimeo - Collections
                                                                          9.80           100           10000




                               Instant                          Website Traffic

           729    Real International Website Visitors                                                          � Please use bit.ly links to track the number of clicks, any other link types will not be
                                                                          0.75           1000       10000000                     properly tracked and will be ineligible for refunds

                                                                                                                                             � Start Time: 0-24 hours
                                                                                                                                           � Speed per Day: 1,000-2,000
                                                                                                                                             � Minimum Order: 1,000
                                                                                                                                           � Maximum Order: 10,000,000



                               Instant                          Website Traffic (Monthy Packages)

           2804   100 Daily Real Traffic for 30 Days - Worldwide +                                                                            � Start Time: 0-24 hours
                  Country Targeted Possible                               7.00           1000          1000                                    � Speed per Day: 100
                                                                                                                                              � Minimum Order: 1,000
                                                                                                                                              � Maximum Order: 1000

                                                                                                                                �Send the below details in a ticket with Order ID:
                                                                                                                                                  1. Website URL
                                                                                                                                                  2. Description.
                                                                                                                          3. Country Targeted Traffic or Worldwide (Mention the country)

           2805   200 Daily Real Traffic for 30 Days - Worldwide +                                                                            � Start Time: 0-24 hours
                  Country Targeted Possible                              14.00           1000          1000                                    � Speed per Day: 200
                                                                                                                                              � Minimum Order: 1,000
                                                                                                                                              � Maximum Order: 1000

                                                                                                                                �Send the below details in a ticket with Order ID:
                                                                                                                                                  1. Website URL
                                                                                                                                                  2. Description.
                                                                                                                          3. Country Targeted Traffic or Worldwide (Mention the country)

           2806   500 Daily Real Traffic for 30 Days - Worldwide +                                                                            � Start Time: 0-24 hours
                  Country Targeted Possible                              28.00           1000          1000                                    � Speed per Day: 500
                                                                                                                                              � Minimum Order: 1,000
                                                                                                                                              � Maximum Order: 1000

                                                                                                                                �Send the below details in a ticket with Order ID:
                                                                                                                                                  1. Website URL
                                                                                                                                                  2. Description.
                                                                                                                          3. Country Targeted Traffic or Worldwide (Mention the country)




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           ID     Service                                            Rate per 1000    Min order    Max order                           Description


           2807   1000 Daily Real Traffic for 30 Days - Worldwide                                                                 � Start Time: 0-24 hours
                  + Country Targeted Possible                             56.00           1000          1000                      � Speed per Day: 1000
                                                                                                                                  � Minimum Order: 1,000
                                                                                                                                  � Maximum Order: 1000

                                                                                                                      �Send the below details in a ticket with Order ID:
                                                                                                                                        1. Website URL
                                                                                                                                        2. Description.
                                                                                                                3. Country Targeted Traffic or Worldwide (Mention the country)

           2808   2000 Daily Real Traffic for 30 Days - Worldwide                                                                 � Start Time: 0-24 hours
                  + Country Targeted Possible                             112.00          1000          1000                      � Speed per Day: 2000
                                                                                                                                  � Minimum Order: 1,000
                                                                                                                                  � Maximum Order: 1000

                                                                                                                      �Send the below details in a ticket with Order ID:
                                                                                                                                        1. Website URL
                                                                                                                                        2. Description.
                                                                                                                3. Country Targeted Traffic or Worldwide (Mention the country)



                               Instant                             WorldStarHipHop

           1321   WorldStarHipHop Plays                                                                                          � Start Time: 0-24 hours
                                                                           1.50           5000          50000                   � Speed per Day: 5,000 Plays
                                                                                                                                   � Refill Time: 30 Days
                                                                                                                                 � Minimum Order: 5000
                                                                                                                                 � Maximum Order: 50,000



                               Instant                             Testing Servers

           257    Private server 11
                                                                          99.00           100           1000



           2477   Private Server 6                                                                                                � Start Time: 0-1 Hour
                                                                          99.00            50           50000                  � Speed per Hour: 5,000 Likes
                                                                                                                               � Lifetime non drop guarantee
                                                                                                                                   � Minimum Order: 50
                                                                                                                                � Maximum Order: 10,000

           2923   Private Server 57
                                                                          100.00           25           50000



           236    Private server 12
                                                                          99.00            50           20000



           2870   Private Server 15
                                                                          99.00           100        10000000



           485    Private server 22
                                                                          10.00           100           11000



           1024   Private Server 33
                                                                          99.00           100           20000



           494    Private server 31
                                                                          99.00           100        1000000



           1680   Private Server 7
                                                                          99.00            10           5000



           250    Private server 9
                                                                          99.00           100           30000



           2813   21
                                                                          10.00           1000          1000



           2505   Private Server 5
                                                                          99.00           100           10000




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           ID     Service                   Rate per 1000   Min order    Max order      Description


           2814   22
                                                10.00           1000          1000



           2708   1-5
                                                10.00           1000          1000



           2815   23
                                                10.00           1000          1000



           2714   2-5
                                                10.00           1000          1000



           2816   24
                                                10.00           1000          1000



           2817   25
                                                10.00           1000          1000



           2715   3-5
                                                10.00           1000          1000



           2818   27
                                                10.00           1000          1000



           2716   4-5
                                                10.00           1000          1000



           2819   28
                                                10.00           1000          1000



           2717   5-5
                                                10.00           1000          1000



           2820   29
                                                10.00           1000          1000



           2719   6-5
                                                10.00           1000          1000



           2721   1 - 10
                                                10.00           1000          1000



           2722   2 - 10
                                                10.00           1000          1000



           2723   3 - 10
                                                10.00           1000          1000



           2724   4 - 10
                                                10.00           1000          1000



           2725   5 - 10
                                                10.00           1000          1000



           2726   6 - 10
                                                10.00           1000          1000



           2727   1 - 15
                                                10.00           1000          1000



           2728   2 - 15
                                                10.00           1000          1000




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               ID       Service                       Rate per 1000   Min order    Max order               Description


               2729     3 - 15
                                                          10.00           1000          1000



               2730     4 - 15
                                                          10.00           1000          1000



               2731     5 - 15
                                                          10.00           1000          1000



               2732     6 - 15
                                                          10.00           1000          1000



               2811     Private Server 13
                                                          10.00            50           25000



               2812     19
                                                          10.00           1000          1000



               2837     Private Server 10
                                                          99.00           100           10000



               2838     API Test
                                                           0.00            1         1000000



               2871     Private Server 16
                                                          99.00           100        1000000




                                                  Usefull Link                      Services               Newsletter
           '        L   ~t~!~~tt -~~.~~
                                                  ► Sign in (/)                     ► Facebook Service     Send us a newsletter to get
           Grow your social worth                                                                          update
                                                  ► Services (/services)            ► Twitter Service
           with Instant Fans SMM
                                                  ► API (/api)                      ► Instagram Service
           Panel. Enhance your social
                                                  ► Blog (/blog)                    ► Youtube Service        Your email address
           media influence on
                                                  ► Sign up (/signup)               ► Linkedin Service
           Instagram, YouTube, Tik
                                                                                    ► Soundcloud Service
           Tok, and more! Resellers,
                                                                                    ► SnapChat Service
           use us to keep your
           customers happy.




           All Rights Reserved to Instant Fans©




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                        EXHIBIT 5



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                                                                                                                fl   Sign in   $   Services   j.ill API   [1) B1og      ~    S,gn up




  0- -                   Instant            -- - - ••                API Docs
                                                                                                                ----
                                                                                                                  -
   HTTP Method                         •- ----------------------------------------------------- --- -- --                                                                     POST


   API URL
                                                  ----
                             - --- -- ---------------~---------------------------- -                                                               https://instant-f ans.com/api/v2


   Response format                                   - --- --------------------------------- ----- --- -- -- -- -·- --- --- -                                                 JSON


   Service list


   Paramete rs      - -----------------------------~----------------------------- •                                                                                     Description


   key          • --------·----------------------------------------------------- -                                                                                    YourAPI key


   action               - --------------------------------------------------------------- -                                                                                 services

   Example response
                                  (


                        " se-:-vice     1,      11
                                                     :


                        ' name ' :
                         1      1
                                    " Fol:owers 11 ,
                        n type " : "Default                     11
                                                                     ,

                        11
                          category": " first Category",
                        11
                          rate '1 : 11 0 . 90 ",
                        " min '1 : " 50 11 ,
                        " max " : " 10000 "
          l,
          (
                        " service ": 2 ,
                        11                      11
                             name '1                 Cornmer.ts 11 t
                                                                                                                ----
                                       :


                        " type ": " Custom Comments ",
                        ' category ":
                         1
                                            " Secor.d Category " ,
                                                                                                                  -
                        ... rate '': ' 8 ",
                                      1



                        " min '': " 10",
                        " max": 1500 ,,    11




                                                                                 ----
   Add order

     Default                   __j
   Parameters                     • ----------------------------------------------------------- •                                                                       Description


   ke y         • -------------------------------------------------------------- •                                                                                    Your API ke y


   action           • ------------------------------------------------------------------ • add
   service          e --------------------------------------------------------------e Service I0
   link         •            - - - - - - - - .. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ... - - - •          link to page


   qua ntity                  • --------------------------------------------------------- •                                                                        Needed qua ntity


   runs (optional)                         • ------------------------------------------------------- •                                                               Runs to deliver


   inte rval (optional)                                  • --------------------------------------------------- -                                               Interval in minutes

   Example response


          " o=der " : 23501
                                  (
                                                                                                                     -

   Order status

   Param e ters                   • ----------------------------------------------------------- •                                                                       D escription


   ke y         .            - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - --        .      Your API key


   action               e ----------------------------------------------------------------•                                                                                   st at us


   order            •          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - •              Order ID

   Exa mple response


          '' cha:ge '': " 0 . 27819 '',
          '' start_cour?.t " : " 3572 " ,
          " stat•,.;s " : " Pa=t:a_ ",
          11
               ?:"ema:.:-:s " :            " i57 " ,
          ••c~==e~cy '': '' US~''




   Multiple orders status

   Paramet e rs                   • ----------------------------------------------------------- •                                                                       Description


   key          • -------------------------------------------------------------- •                                                                                    Your API key


   action           • -------------------------------------~-------------------------- •                                                                                      st atus


   orders               • --------------------------------------------------- •                                                                     Order IDs separated by comma

   Example response
                                                                                 -----
          " l ": (
                " cha::-ge " : " 0 . 27819 " ,
                " start_count " : " 3572 ",
                " status ": " !?artial",
                " rema1~s ": " l)J N,
                        " c~r=ency '': " USD''

          '' 10":             (
                        " error " : " Incorrect order ID''
          ),
          11
               100":
                        '' charge '': '' l . ~4219 '',
                        '' start_cc,unt ": " 234 ",
                        " status '': " In p=ogress '',
                        " r enains ": " 10",
                        " c•.;rrency ": " LtSD"




   User balance


   Parame ters                    - ----------------------------------------------------------- •                                                                       Description


   key          - -------------------------------------------------------------- -                                                                                    Your API key


   action               - --------------------------------------~------------------------
                                                                -                         -                                                                                 balance

   Example response
                                  (
          " balance ": " 100 . 84292 ",
          " currency ": " IJSD"
                                                                                 ---
                                                                                   -
     Example of PHP code




Page URL: https://instant-fans.com/api



                                                                                                         110
